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                                                                      2021 May-28 PM 06:41
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA




                      EXHIBIT A
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

IN RE BLUE CROSS BLUE SHIELD         :
ANTITRUST LITIGATION                 : Master File 2:13-cv-20000-RDP
MDL 2406                             :
                                     :
                                     :
                                     : This document relates to
                                     : Subscriber Track cases


            JOINT DECLARATION OF CO-LEAD COUNSEL
  IN SUPPORT OF SUBSCRIBER COUNSEL’S MOTION FOR APPROVAL OF
              THEIR FEE AND EXPENSE APPLICATION
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David Boies and Michael D. Hausfeld declare:

       1.      David Boies is an attorney licensed to practice law, and is Chairman of the law firm

Boies Schiller Flexner LLP, whose resume is attached as Exhibit A.

       2.      Michael Hausfeld is an attorney licensed to practice law, and is Chairman of the

law firm Hausfeld LLP, whose resume is attached as Exhibit B.

       3.      We have personal knowledge of the facts set forth herein, and if called and sworn

as witnesses would so testify.

       4.      We respectfully submit this Declaration in support of Subscriber Counsel’s

Memorandum of Law in Support of Motion for Approval of Their Fee and Expense Application.

The legal authorities supporting the requested fees and expenses are set forth in the Memorandum

of Law accompanying the Fee Motion. Since the inception of this case, our efforts were focused

on advancing the litigation to bring about the most successful outcome for the class, whether

through settlement or trial, and this Declaration attempts to summarize the totality of that work

done by counsel for the Subscriber Plaintiffs.

       5.      In its April 16, 2013 Case Management Order No. 2, the Court appointed the two

of us Interim Co-Lead Counsel for the putative Subscriber Plaintiff Class in the pending actions

(ECF No. 61). Prior to the Court’s leadership order, we were actively involved in investigating,

preparing, and presenting the claims asserted in these actions on behalf of Subscriber Plaintiffs

including filing the first case in this action. Subsequent to the Court’s Order we have been actively

involved in prosecuting and resolving those claims. From April 26, 2013 through August 15, 2020,

the two of us personally devoted more than 5,500 hours to prosecuting and resolving these claims.

       6.      We (David Boies and Michael Hausfeld) directed the strategy of this litigation. We

developed the theory of the case, personally researched and analyzed the claims, made the decision



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to bring the first complaint, and chose to devote substantial firm resources to the case. We oversaw

the motion to dismiss briefing and argued the motion to dismiss, resulting in a favorable decision

for the Subscriber Class. We argued at each substantive motion hearing—including at summary

judgment on the filed rate doctrine and on the standard of review—and we made two full days of

presentation to the Court at Economics Day I and II. In fact, we participated in more than 30

hearings and status conferences in front of the Court, nearly all of which required in-person

attendance in Birmingham, AL. We took and defended some of the key depositions in the case,

including eliciting 30(b)(6) testimony from BCBSA and taking the only expert deposition of

Defendants’ expert, Dr. Kevin Murphy. We were the principal counsel responsible for working

with the Subscriber Plaintiffs’ testifying expert Dr. Ariel Pakes. We attended every in-person and

telephonic mediation session and were the primary architects of the settlement agreement (ECF

No. 2610-2, hereinafter the “Settlement” or “Settlement Agreement”), particularly the injunctive

relief. We also successfully led the presentation arguing for preliminary approval of the Settlement

and will do the same for final approval. In sum, we directed this hard-fought litigation to a

successful resolution, and in doing so we fulfilled the duties and expectations laid out in the Court’s

order appointing us as Co-Lead Counsel.

       7.       Further, we oversaw the litigation and settlement of this action in an efficient and

streamlined manner to make sure duplicate work was avoided, with the goal of effective

collaboration. We worked closely with hundreds of talented lawyers to use their skills and

experience efficiently to prosecute this intensive case.

       8.      Like other counsel for Subscriber Plaintiffs involved in this case, we took on this

representation on a purely contingent basis. By pursuing this litigation and devoting the significant




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resources that this litigation required as set forth below, our firms necessarily had to forego

developing and working on other cases available to us.

        9.      We believe that the proposed Settlement achieved in this case is exceptional and is

the product of arduous and protracted litigation, spanning over eight years, which is detailed below.

This Declaration sets forth in detail how Subscriber Plaintiffs were able to overcome extraordinary

hurdles and great risk to achieve this outstanding result on behalf of the Class.

                                             Background

        10.     The Subscriber Actions 1 are the result of an extensive investigation of competitive

conditions in healthcare insurance markets undertaken by our firms and other counsel for

Subscriber Plaintiffs (together, “Subscriber Counsel”) in 2011 and 2012. No government

investigation preceded the filing of this civil action. It is the direct result of private enforcement of

the antitrust laws, and the work of private attorneys’ investigation. That investigation convinced

Subscriber Counsel of seven propositions:

                (i)     The dominant supplier of health insurance nationally and in a number of

                state and regional markets was the Blue Cross Blue Shield system (“BCBS”).

                (ii)    BCBS was a combination of several dozen independent insurance

                companies, a number of which were individually among the largest suppliers of

                health insurance in the country, and operating through Blue Cross Blue Shield

                Association (“BCBSA”).




1
  Unless otherwise defined in this Declaration, capitalized terms have the meaning ascribed to
them in the Settlement Agreement.
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       (iii)   The independent insurance companies who comprised BCBS agreed to

       cooperate in competing with non-BCBS health insurance companies and to restrain

       competition with each other.

       (iv)    As part of their alleged agreement not to compete with each other, the BCBS

       companies agreed to divide the country into Exclusive Service Areas (“ESAs”),

       agreed which company or companies could compete in each ESA, and agreed that

       other BCBS companies would not enter or compete in such ESAs using a Blue

       Cross/Blue Shield trademark without the permission of a BCBS company to whom

       the ESA had been assigned.

       (v)     As part of their agreement not to compete with each other, the BCBS

       companies also agreed that, for large accounts with employees in multiple ESAs

       (“National Accounts”), only the BCBS company in whose ESA the National

       Account had its headquarters would be allowed to bid for that National Account’s

       business.

       (vi)    Originally, the restraint on competition among and between BCBS

       companies only related to insurance policies offered under a Blue Cross/Blue

       Shield trademark. However, in or about 2005, the BCBS companies agreed to

       effectively diminish competition between them even with respect to health

       insurance policies offered under non-Blue trademarks.

       (vii)   We concluded that there was evidence that these restraints on competition,

       together with related ancillary restraints, substantially and unreasonably divided

       markets, restricted entry, reduced competition, and deprived consumers of the

       better products and lower prices that competition fosters.



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       11.     Subscriber Counsel believed that the aggregate of agreements of the BCBS

companies to restrict competition violated Section 1 of the Sherman Antitrust Act, including under

United States Supreme Court cases United States v. Sealy, Inc., 388 U.S. 350 (1967) and United

States v. Topco Associates, Inc., 405 U.S. 596 (1972). However, Subscriber Counsel fully

understood the massive effort that litigating this case would entail: a battery of expert consultants

and witnesses would have to be engaged, voluminous document and deposition discovery would

need to be conducted, and the parties would need to engage in protracted motion practice.

                                        Risks of Litigation

       12.     Subscriber Counsel recognized that any attempt to bring a private lawsuit to remedy

this violation would require long, expensive litigation with serious risks of failure. The challenges

that Subscriber Counsel knew they would face in litigating this case included, but were by no

means limited to, the following:

               (i)     Although the Department of Justice and Federal Trade Commission had

               been made aware of the BCBS agreements, neither enforcement agency had ever

               taken any action. Subscriber Counsel were aware that Defendants would argue that

               the enforcement agencies’ failure to act indicated that they saw no violation, and

               that the agencies’ judgment should not be second-guessed by a court or jury.

               Subscriber Counsel were also aware that courts in previous antitrust actions rarely,

               if ever, ordered injunctive relief substantially restructuring an industry.

               (ii)    Subscriber Counsel were also aware that Defendants would argue that the

               challenged restraints had a pro-competitive rationale in that they were reasonably

               ancillary to their co-operative venture -- a venture that permitted individual BCBS

               companies to compete with national competitors such as Aetna and United Health.



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       Subscriber Counsel were aware that Defendants would seek to distinguish Sealy

       and Topco and that in any event those precedents were 50 years old and had been

       under a sustained attack by academics and by some lower courts since the 1970s.

       See Robert H. Bork, The Antitrust Paradox 446-49 (1978); Richard A. Posner,

       Antitrust Law: An Economic Perspective 166 (1976); Herbert Hovenkamp, Federal

       Antitrust Policy: The Law of Competition and its Practice § 5.2 (5th Ed. 2016);

       Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210 (D.C. Cir. 1986)

       (Bork, J.); General Leaseways, Inc. v. National Truck Leasing Ass’n, 744 F.2d 588

       (7th Cir. 1984) (Posner, J.).

       (iii)   Subscriber Counsel were also aware that Defendants would argue that

       BCBS was a single enterprise to which Section 1 of the Sherman Act was

       inapplicable.

       (iv)    Subscriber Counsel were also aware that with respect to restrictions on

       BCBS companies’ competition, Defendants would argue that the BCBS

       Association as the holder of the Blue Cross and Blue Shield trademarks had the

       right to restrict the geographical areas in which a licensee was permitted to use the

       trademarks. The long and complex evolution of the BCBS system, the history of

       the Blue Cross and Blue Shield trademarks and of the relationship between

       companies operating under those marks and the large number of parties involved

       all contributed to the risk that the Subscriber Actions would not succeed.

       (v)     Subscriber Counsel were aware that because any individual Subscriber’s

       damages would be very small compared to the expense of litigation, any vindication

       of the Subscriber Plaintiffs’ rights would have to come through a class action—and



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               that Defendants would argue that the size and diversity of the putative class barred

               class certification.

               (vi)    With respect to damages, Subscriber Counsel were aware that Defendants

               would argue that there was no reliable way to prove how much, if any, or how

               quickly entry would have occurred in the absence of restraints; that there was no

               reliable way to prove how much, if any, price reduction would have resulted from

               any entry that did occur, and for which subscribers; that the absence of entry by

               non-BCBS insurance suppliers demonstrated there was no incentive to enter; and

               that, in any event, the filed rate doctrine precluded any damage award.

               (vii)   Subscriber Counsel were also aware that the BCBS companies had tens of

               billions of dollars of profits and reserves with which they would defend their

               practices, and every incentive to aggressively fight to maintain practices that they

               believed were vital to their network and profitability.

We therefore understood that there was a very real possibility that we would never be able to

recoup our investment of time and money in this case.

       13.     We also understood that even if we were ultimately able to recoup our investment

of time and money, there would necessarily be a delay (potentially of many years, which we

accurately predicted) between the time these expenditures were made by Subscriber Counsel and

the time that we were paid.

       14.     We also knew that Defendants would devote significant resources to this litigation,

including hiring aggressive and talented attorneys who would mount a tenacious defense to this

litigation that challenged key aspects of Defendants’ businesses.




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          15.   Given our trial experience, we also realized the highly complicated nature of the

alleged causes of action at issue here. Given the factual complexity of the underlying issues, at

trial, there would be extensive detailed testimony from numerous sources, as well as competing

expert testimony relating to damages resulting in a “battle of the experts.” Despite confidence in

our ability to explain complicated issues to a jury, there was a not insubstantial risk of jury

confusion if trial was reached.

          16.   Moreover, even if we were successful in obtaining a class-wide judgment at trial,

Defendants certainly would have pursued post-trial motions to overturn the verdict and filed an

appeal. Defendants are well-funded and represented by experienced counsel who would be

expected to continue to litigate a zealous defense to the class’s claims for relief not only before

and during the trial on the merits, but afterwards through post-trial motions and appeals.

          17.   Despite our recognition of these risks and uncertainty, in February 2012, our two

firms filed the initial Subscriber action, Cerven et al. v. BCBS-NC et al., Case No. 5:12-cv-17

(W.D. N.C.). In a detailed 61-page complaint, the Cerven plaintiffs alleged a longstanding and

ongoing market allocation conspiracy between BCBS-NC and thirty-seven other BCBSA member

plans in violation of the Sherman Act. The Cerven plaintiffs sought recovery of damages for

inflated premiums in North Carolina charged as a result of the conspiracy, as well as injunctive

relief.

          18.   After the Cerven case was filed, additional cases were filed in Tennessee and

Alabama, triggering an MDL petition for consolidation of the cases. On December 12, 2012, all

pending Subscriber Actions were consolidated by the Judicial Panel on Multidistrict Litigation in

the Northern District of Alabama, along with a related set of Provider cases alleging that the same




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restraints that the Subscriber Plaintiffs challenged also damaged Providers. By the time of the

transfer in January 2013, there were 23 cases pending in 14 district courts around the country.

                              Case Organization and Leadership

       19.      On January 9, 2013, the Court appointed Edgar C. Gentle as Special Master. The

Court also ordered the parties to reimburse Mr. Gentle for his work on the case at a rate of

$250/hour plus reimbursement of reasonable expenses, with invoices to be submitted to the Court

for approval.

       20.      The initial status conference was held on February 21, 2013, with attorneys from

across the country traveling to Alabama to attend. The Court appointed Barry C. Ragsdale as

Liaison Counsel to represent both the Subscriber and Provider tracks. ECF No. 15. The Court also

laid out a process for appointment of leadership, facilitated by Special Master Gentle. The Court

anticipated appointing a Plaintiffs’ Steering Committee (PSC) for both the Subscriber and

Providers’ tracks, along with the following eight Subscriber committees: Class Action Discovery,

Discovery, Experts, Written Submissions, State Liaison Committee, Damages, Litigation, and

Settlement.

       21.      Nineteen Subscriber firms applied for co-lead or PSC positions. Special Master

Gentle closely examined the qualifications of each attorney and firm and interviewed every

applicant for a leadership position. On April 10, 2013, Special Master Gentle issued his Rule 23

Report Recommending Interim Leadership Counsel. Special Master Gentle recommended

appointment of us as Interim Co-Lead Counsel; Chris Hellums (Pittman, Dutton, Hellums, Bradley

& Mann, P.C.) as Interim Local Facilitating Counsel; and a PSC consisting of Megan Jones

(HLLP), William Isaacson (then of BSF, now of Paul, Weiss, Rifkind, Wharton & Garrison LLP),

Cyril Smith (Zuckerman Spaeder LLP), Kathleen Chavez (Foote, Mielke, Chavez & O’Neill



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LLC), and Greg Davis (Davis & Taliaferro, LLC). Later in the litigation, the Court appointed

Charles J. Cooper (Cooper & Kirk PLLC) to the PSC as well based on his contributions to the

case. ECF No. 2673. Special Master Gentle also recommended appointment of Barry Ragsdale as

Discovery Liaison Counsel for the Subscriber and Provider tracks.

       22.     The Court held a hearing on leadership and, on April 26, 2013, issued Case

Management Order No. 2, adopting the Special Master’s recommendations on Subscriber’s Co-

Lead Counsel and the PSC. The Court noted that it had conducted an independent review all Co-

Lead Counsel applications and found that we were best suited to represent the interests of the class.

ECF No. 61 at 2. At the hearing, the Court made clear that his appointments were personal in

nature and that he expected us to attend every status conference and hearing as Co-Lead Counsel,

barring an unavoidable conflict. The Court found further that “counsel appointed to the lead roles

are qualified and responsible, and that they will fairly and adequately represent the interests of the

class.” ECF No. 61 at 3.

       23.     The Court also appointed Barry Ragsdale as Discovery Liaison Counsel and

ordered the parties to compensate Discovery Liaison Counsel at an hourly rate of $250.00 plus

reasonable out-of-pocket expenses, to be shared between the tracks.

       24.     Special Master Gentle also recommended appointment of an additional 55 attorneys

as committee chairs and members for the Subscriber Track. In making his recommendation,

Special Master Gentle reviewed applications and interviewed each applicant to confirm his or her

qualifications for a Court appointment. ECF No. 62. The Court adopted the Special Master’s

recommendations. ECF No. 82.

       25.     After our appointment as interim Co-Lead Counsel for the Subscriber Actions and

the appointment of committee membership, we worked to organize the many related actions and



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Subscriber Counsel. Over the next eight years, we regularly depended on the capable work of our

PSC, committee chairs, and committee members, as well as hundreds of other attorneys to conduct

the Herculean task of litigating these actions.

                                    Overview of the Litigation

       26.     Counsel’s prediction that this litigation would be long, hard fought, and resource-

intensive proved, if anything, to be an understatement.

       27.     On July 1, 2013, after conducting an extensive investigation, Subscriber Plaintiffs

filed their 310-page Class Action Complaint. ECF No. 85. The complaint represented a significant

undertaking, with 29 class representatives, analysis of dozens of state markets, detailed allegations

concerning dozens of Defendants, and state law claims for 17 states.

       28.     Starting September 30, 2013, Defendants filed over a dozen separate motions to

dismiss the Complaint, based on failure to state a claim, lack of personal jurisdiction, and improper

venue. Subscriber Plaintiffs filed over 100 pages of briefs opposing those motions, followed by

additional reply briefs from Defendants.

       29.     On April 9, 2014, the Court held a multi-hour hearing on Defendants’ Motions to

Dismiss, resulting in a 200-page opinion denying the Motions. ECF No. 204. Over the course of

the next four years, based on further legal and factual research and analysis, Subscriber Plaintiffs

filed their Consolidated Amended Class Action Complaint (ECF No. 244), Second Amended

Consolidated Class Action Complaint (ECF No. 897), and Third Amended Consolidated Class

Action Complaint (ECF No. 1082) and faced various additional Motions to Dismiss from

Defendants relating to jurisdiction and venue (e.g., ECF No. 249).

       30.     As set forth below, our two firms designed and executed a discovery plan that

sought the production of evidence and data from each of the Defendants. These discovery requests



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were the subject of individual and group negotiations with Defendants, and required hundreds of

attorney hours.

          31.     Defendants also vigorously opposed Plaintiffs’ discovery requests, resulting in

more than 30 discovery hearings before Judge R. David Proctor and Magistrate Judge T. Michael

Putnam, many of which required in-person attendance in Birmingham, Alabama. Ultimately

Defendants produced more than 75 million pages of documents requiring review and analysis.

          32.     Defendants moved for summary judgment both based on the filed rate doctrine and

on the argument that the BCBS system was a single enterprise. The parties also briefed and argued

whether the per se standard or rule or reason analysis applied to the conduct alleged by Subscriber

Plaintiffs. Resolving these issues required extensive legal and factual preparation, including the

identification, retention, and preparation of expert witnesses.

          33.     On two occasions, December 20, 2016 and June 9, 2017, our firms designed two

full-days of “Economics Day” presentations, to provide the Court with their analyses of the

economic theories of the case. For each session, we prepared and presented testimony from

multiple expert witnesses, along with the presentation of evidence and arguments, to enable the

Court to consider the economics and liability theories of the Subscriber Plaintiffs’ case.

          34.     Subscriber Counsel also briefed class certification, including the submission of

hundreds of pages of experts reports, and submitted merit experts reports before the litigation was

stayed.

          35.     From mid-2013 through August 15, 2020, as further detailed below, Subscriber

Counsel devoted 434,054.6 hours to the prosecution of Subscriber Plaintiffs’ claims and advanced

$40,916,627.90 in unreimbursed expenses.




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                                             Discovery

       36.     Discovery against the 37 separate and well-resourced Defendants, represented by

some of the best lawyers from the biggest law firms in the country, was an undertaking unlike

anything we have experienced in our decades of litigation. Discovery-related tasks alone accounted

for over 50% of all lodestar incurred in this case.

       37.     In August 2014, the parties submitted competing discovery proposals. The Court

entered Discovery Order No. 1 on October 16, 2014, laying out a staged discovery process in

which the parties would begin structured data discovery first, followed by unstructured document

discovery. ECF No. 229.

       38.     Discovery of structured data in this litigation was a monumental undertaking. Data

was housed in more than 400 different structured data systems across 37 different Defendants.

Even within a single Defendant, multiple different data systems were often at issue. Each data

system had its own terminology for various types of data, requiring discovery of data dictionaries

to help decode what fields were relevant. Cross-walks needed to be negotiated and developed to

determine how to map data needed for expert modeling against what could be provided by

Defendants.

       39.     Structured data discussions began in late 2014 and continued through 2015. These

negotiations were often individualized across Defendants, and required dozens of attorneys to

familiarize themselves with data systems across the Defendants. The initial phase of negotiations

involved discovery into what systems stored the relevant data and what fields within those systems

would provide the data needed to model impact and damages at the class certification stage. Even

when agreement was finally reached with all Defendants on the data to request, and the structured

data was produced, Subscriber Counsel had to undertake a significant secondary effort to



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determine how to match up data across data systems and Defendants to create a workable dataset.

This entire process took over two years, and required significant technical assistances from

Subscriber Plaintiffs’ experts.

       40.     Beginning in January 2015, the parties attended monthly discovery conferences

with Magistrate Judge Putnam and quarterly status conferences with the Court. Over the course of

the litigation, the parties engaged in over 100 discovery conferences, status conferences, and

hearings, most of which required in-person attendance in Birmingham, Alabama.

                   Obtaining and Review of Millions of Pages of Documents

       41.     Shortly after the onset of structured data discovery, in January 2015, Subscriber

Plaintiffs (jointly with Provider Plaintiffs) served over 150 document requests on all Defendants.

We vigorously pursued the production of documents by Defendants, and pressed individual

Defendants to correct numerous specific deficiencies in Defendants’ productions.

       42.     The document discovery process was even more labor-intensive than the structured

data discovery process. For each of the 37 separate Defendants, Subscriber Counsel had to review

initial disclosures and conduct independent research to identify potential custodians, followed by

numerous meet and confer sessions to negotiate and agree upon a final set of custodians. From

service of RFPs to initial agreements on custodians took over a year of investigation and

negotiation. Indeed, it was not until 2017 that all production custodians were finally agreed-upon,

as discovery continued to reveal additional relevant sources of documents.

       43.     On top of custodians, Subscriber Counsel had to also negotiate search protocols

with all 37 Defendants. For some Defendants, this involved developing lists of hundreds of

Defendant-specific search terms for testing and iterative refinement over months of negotiations.




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For others, it required negotiating separate Technology Assisted Review (“TAR”) protocols to

ensure that responsive documents would be captured.

       44.     Ultimately, Defendants produced over 75 million pages of documents. We are hard

pressed to recall an antitrust case that is based on so large and extensive of a record.

       45.     As documents were produced, our firms organized a document review protocol and

trained dozens of document reviewers who devoted thousands of hours to reviewing Defendants’

productions and finding key documents. In total, 30 firms provided 178 attorneys who reviewed

documents for use in depositions, by experts, and in our substantive briefs. Given the complexity

of the case and the large number of Defendants, Subscriber Counsel developed a detailed document

review training program and coding manual and continuously trained new document reviewers to

add to the project as document volume grew. Attorneys tasked with reviewing documents were

also required to attend weekly calls to discuss findings and refine search methodologies, and to

discuss the most relevant or “hot” documents that the reviewing attorneys found.

       46.     To facilitate and streamline review, given the substantial volume of documents,

Subscriber Counsel used cutting-edge technology to drive down the review cost while identifying

responsive documents for use in litigation.

       47.     Discovery was hotly litigated for years. The parties held weekly meet and confers,

sent thousands of discovery letters back and forth, and filed dozens of motions to compel and other

discovery motions in order to obtain sufficient discovery from Defendants. In total, Judge Proctor

and Magistrate Judge Putnam held over 30 discovery hearings and issued 91 discovery orders. The

active discovery in this case, against 37 separate entities, contributed to a massive docket totaling

over 2,600 entries before a settlement was reached.




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                        The Pursuit of Extensive Deposition Discovery

       48.     During the extensive fact and expert discovery in the case that ensued, Subscriber’

Counsel took or defended over 200 depositions. This number does not even include the over 40

Provider class representative and absent class member depositions, which Subscriber Counsel also

attended. With respect to fact witnesses, Subscriber Counsel focused primarily on witnesses for

BCBS-AL and BCBSA given that the case was streamlined for trial in the accelerated actions.

       49.     Subscriber Counsel deposed 89 fact witnesses and also took over 50 separate

30(b)(6) depositions, of both BCBS-AL and BCBSA as well as other Defendants with testimony

particularly relevant to the accelerated actions and summary judgment issues. In total, Subscriber

Counsel took depositions of over 120 Defendant witnesses.

       50.     In deposing Defendant witnesses, Subscriber Counsel efficiently and leanly staffed

depositions, ensuring that only the deposing attorney and a limited number of additional attorneys

necessary to assist with the depositions were in attendance. Subscriber Counsel also carefully

assigned depositions to ensure that individuals with the most knowledge about a particular witness

or topic took the deposition to avoid duplicating efforts.

                                 Class Representative Discovery

       51.     Subscriber Counsel also represented over 60 class representatives throughout the

litigation. Subscriber Counsel worked with each class representative to respond to written

discovery requests and produce documents. In total, 16 class representatives were ultimately

deposed, which involved reviewing all of the documents for each class representative, holding

multiple preparation sessions to prepare the witnesses, traveling to and defending each deposition.

In order to protect class representatives from overly burdensome discovery, Subscriber Counsel




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also vigorously litigated various discovery requests issued to class representatives, resulting in

motion practice and hearings concerning the scope of Defendants’ discovery requests.

       52.     Similarly, in 2016, Subscriber Counsel devoted substantial resources to litigating

issues concerning absent class member discovery. Defendants served nine absent class members

with document requests and deposition notices, and Subscriber Counsel were required to litigate

the propriety of such discovery, including participating in several hearings in front of Judge

Putnam, a lengthy meet-and-confer process, and ultimately reviewing discovery produced by

absent class members and preparing for and attending depositions.

                                Monitoring Third Party Litigation

       53.     Beyond Defendant, class representative, and absent class member depositions, we

monitored multiple litigations for their impact on our case.

       54.     We were required to prepare for and attend depositions of each Provider class

representative to protect the interests of the Subscriber class.

       55.     Defendants also noticed and took depositions of various third party insurers in an

attempt to demonstrate that market entry was unlikely even in the absence of the restraints, for

which Subscribers had to review document productions and attend depositions to cross-examine

these witnesses.

       56.     We also monitored two additional trials: U.S. v. Anthem, Civil Action No. 16-CV-

1493 (D.D.C.) and Anthem v. Cigna, Case No. 2017-0114-JTL (Del. Ch.). For both trials, we

assigned attorneys to attend and summarize each day’s testimony, and we ultimately made use of

testimony and exhibits from both trials in our summary judgment briefing as well as class

certification and merits reports.




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                         Privilege Log Review and Challenge Process

       57.     In late 2017, Subscriber Counsel began reviewing and challenging over 700,000

privilege log entries for documents redacted and withheld by Defendants.

       58.     Subscriber Counsel began by challenging the sufficiency of Defendants’ privilege

logs, which consisted of numerous meet and confers with Defendants. We also engaged in a

months-long sampling process of Defendants’ privilege logs, which involved submitting random

and individually selected samples to Court-appointed Special Master R. Bernard Harwood, Jr. for

resolution. Special Master Harwood issued 45 Reports & Recommendations based on those

challenges, many of which required additional briefing relating to objections to the rulings as to

specific documents.

       59.     Through this painstaking process, Subscriber Counsel succeeded in de-designating,

in whole or in part, over 450,000 documents from Defendants’ privilege logs.

                                 Summary Judgment Motions

       60.     The parties briefed two separate rounds of summary judgment motions. These

motions required Subscriber Counsel to conduct a full and detailed analysis of the evidence and

legal precedents, retain experts to provide reports and testimony, and prepare briefs. We orally

argued both motions.

       61.     First, Defendants including BCBS-AL, moved for summary judgment against the

Alabama Subscriber Plaintiffs based on application of the filed rate doctrine (ECF No. 523, 733).

The parties engaged in extensive discovery related to Defendants’ filed rate defense. The parties

litigated, both before Magistrate Judge Putnam and the Court, the scope, timing, and form of

Defendants’ productions. Defendants ultimately produced, and Subscriber Counsel analyzed, more

than 3 million pages of BCBS-AL’s unstructured and structured data. Subscriber Counsel also



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obtained thousands of documents from the Alabama Department of Insurance. Subscriber Counsel

deposed BCBS-AL and Alabama Department of Insurance fact witnesses and took 30(b)(6)

testimony from BCBS-AL concerning its filed rate program.

       62.     After we filed multiple rounds of briefs and argued the motion, the Court

determined that the filed rate defense asserted by BCBS-AL applied to a segment of the monetary

damages class (those where the charged premiums were in accordance with the filed rates), but

did not apply where the charged premiums were greater than the filed rate (ECF No. 998). On

March 23, 2017, we filed a Motion for Reconsideration of the Court’s Order Regarding Filed Rate

Summary Judgment (ECF No. 1046). After it was fully briefed and argued, the Court denied the

Motion for Reconsideration without prejudice (ECF No. 1098); the Court stated at oral argument

that the parties would have an opportunity to revisit its filed rate doctrine decision later in the case

based on further information (ECF No. 1109 at 69-70 (Transcript of April 12, 2017 hearing)).

       63.     In 2017, both parties moved for summary judgment on two additional issues: (1)

whether a per se or rule of reason standard should apply to the challenged restraints and (2) whether

the BCBSA and the BCBS companies are a single economic enterprise for purposes of the

application of the Sherman Act to their collective management and use of the Blue Cross and Blue

Shield trademarks. ECF Nos. 1348 (Plaintiffs' Motion for Partial Summary Judgment), 1432

(Defendants' Response to Plaintiffs' Motion for Partial Summary Judgment), 1552 (Reply

Memorandum in Further Support of Plaintiffs' Motion for Partial Summary Judgment), 1353

(Defendants' Motion for Summary Judgment), 1435 (Plaintiffs' Memorandum of Points and

Authorities in Opposition to Defendants' Motion for Summary Judgment), and 1551 (Reply in

Support of Defendants' Motion for Summary Judgment).




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       64.     The parties conducted additional discovery that the Court found necessary before

determining the standard of review to be applied to the Sherman Act claims. Subscriber Counsel

served multiple sets of requests for admission and interrogatories to solidify the evidentiary basis

for their motion for application of the per se standard. Subscriber Counsel also used targeted

30(b)(6) testimony from key Defendants to develop additional evidence in support of their motion.

       65.     In total, the parties submitted six briefs in support of their respective positions.

Subscribers filed 123 pages of briefs and 329 exhibits laying out in painstaking detail the entire

history of the Blue system, the consolidation of the plans, the evolution of the restraints over time,

and the resulting anticompetitive impact.

       66.     Both sides also introduced expert testimony to assist the Court in identifying the

appropriate standard of review. Defendants submitted a 61-page report from Dr. Kevin Murphy

regarding the alleged pro-competitive nature of the Blue system, which was rebutted by Subscriber

Plaintiffs’ expert report from Dr. Daniel Rubinfeld. Subscribers also submitted an expert report

from an accounting expert, Leslie Strassberg, rebutting Professor Murphy’s characterizations of

the market for health insurance and the profitability of BCBS-AL. Subscriber Counsel deposed

Dr. Murphy and defended the depositions of Dr. Rubinfeld and Mr. Strassberg.

       67.     Once briefing was complete, the parties presented evidence and argument in a full

day hearing to the Court. Based on the extensive record before it, the Court determined that the

per se standard of review applied to the "aggregation of competitive restraints" including the

restraint on non-Blue-branded business, so long as Subscriber Plaintiffs could show that the

Defendants did not operate as a single economic enterprise for purposes of their use and

management of their trademarks. The Court further rejected both parties' summary judgment

arguments as to whether Defendants did in fact operate as a single economic enterprise for



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purposes of the trademarks, finding there were genuine disputed issues of material fact (ECF No.

2063).

         68.   On June 12, 2018, this Court certified its decision with respect to the standard of

review for interlocutory appeal pursuant to U.S.C. § 1292 (b), and on June 22, 2018, Defendants

petitioned the Eleventh Circuit Court of Appeals for permission to appeal the Courts’ per se

decision. In Re Blue Cross Blue Shield Antitrust Litigation, Case No. 18-90020 (June 22, 2018 11th

Cir.).

         69.   On July 2, 2018, Subscriber Counsel wrote and filed their brief in opposition to

Defendants’ petition. On December 12, 2018, the Eleventh Circuit denied Defendants’ petition for

permission for an interlocutory appeal from the District Court’s April 5, 2018 memorandum

opinion and order.

                                      Class Certification

         70.   Subscriber Plaintiffs compiled evidence from years of discovery and moved for

certification of an Alabama damages class and a nationwide injunctive class in April 2019.

Subscriber Plaintiffs’ motion was supported by two separate briefs, totaling 60 pages, seeking

certification of a nationwide injunctive class and an Alabama damages class. Subscribers

Plaintiffs’ motion was also supported by the expert reports of Dr. Ariel Pakes (137 pages) and Dr.

Daniel Rubinfeld (56 pages).

         71.   Dr. Pakes provided expert analysis regarding the ability to model entry into the

Alabama market on an Alabama classwide basis. In order to undertake this analysis, Dr. Pakes

first looked at the characteristics of the Alabama market and the home BCBS plan to determine

whether entry would be attractive for a competitor, absent the challenged restraints. After

determining that entry would be likely absent the restraints, Dr. Pakes next modeled the impact of



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entry on premiums. Dr. Pakes undertook two separate analyses. First, he conducted a reduced form

regression analysis to examine the relationship between premiums and other controls. The results

of that analysis showed a predicted premium decrease ranging from 3.4% to 5.5% for all or nearly

all Alabama subscribers. Second, Dr. Pakes conducted a structural analysis to model the impact of

entry. Unlike a typical antitrust case, where a simple regression analysis can be run to determine

the but-for price, Dr. Pakes built a model simulating how an entire market would be altered by

entry of competition. Dr. Pakes’ structural model, which was based on years of work on the data

produced by Defendants through the structured data discovery process, could be used to estimate

premiums pre- and post-entry on a classwide basis for the Alabama Subscriber Class.

       72.     Dr. Rubinfeld’s report examined the documentary evidence, outlined the history of

the alleged restraints, and conducted an economic analysis to show the anticompetitive effects of

the restraints, concluding that Subscribers could demonstrate anticompetitive effects in Alabama

and nationwide on a classwide basis. Dr. Rubinfeld also explained the nature of the anticompetitive

effects, including decreased product availability, consumer choice, and innovation in addition to

supracompetitive premiums.

       73.     Both Dr. Pakes and Dr. Rubinfeld were subject to daylong depositions, which

required multiple days of preparation.

                    Daubert Challenges & Class Certification Opposition

       74.     Defendants filed their Daubert challenges to Dr. Pakes and Dr. Rubinfeld’s reports

on July 1, 2019. Defendants filed their opposition to Subscriber Plaintiff’s class certification

motion in July 2019. Defendants’ opposition was supported by over 1,000 pages of expert reports

from five experts. Dr. Janusz Ordover vigorously challenged Dr. Pakes’ damages model and

argued that impact could not be demonstrated on a classwide basis. Dr. Kevin Murphy opined that



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the restraints did not have anticompetitive effects and were in fact pro-competitive, and further

questioned the reliability of Dr. Pakes’ model. Dr. Erin Trish disputed Dr. Pakes’ use of reduced

form regression analysis to establish impact. Dr. Lawrence Wu submitted testimony contending

that BCBS-AL did not have market power and that BCBS-AL was not profitable. Finally, Dr.

David Evans argued that health care is a two-sided market and thus Subscribers had not met their

burden of showing overriding anticompetitive effects.

       75.     Subscriber Counsel reviewed the Daubert challenges as well as the class

certification opposition and expert reports and began drafting responsive briefs and preparing to

take expert depositions for prior to the Court’s decision to stay litigation pending ongoing

mediation.

                                       Merits Expert Reports

       76.     Subscriber Plaintiffs filed merits expert reports in May 2019 from five experts: Dr.

Pakes and Dr. Rubinfeld, as well as Dr. Christy Chapin, Leslie Strassberg (an actuary with

expertise in health insurance), and Louis R. Pirkey (an expert in trademark law).

       77.     Dr. Pakes and Dr. Rubinfeld’s reports expanded upon their analysis at class

certification for purposes of demonstrating antitrust liability. Dr. Pakes ran his econometric model

to calculate damages for the Alabama class. Dr. Rubinfeld concluded that the challenged restraints

had clearly anticompetitive effects.

       78.     Dr. Chapin’s report discussed the history of the Blue Cross Blue Shield system and

concluded that Defendants did not operate in a manner consistent with an industry trade

associations. Mr. Strassberg reviewed financial information for BCBS-AL and concluded that: 1)

BCBS-AL was enormously profitable over the class period, and 2) entry into the Alabama market

was attractive and, absent the restraints, other Defendants would have entered the market and



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would have been profitable. Mr. Pirkey reviewed the history of Defendants’ trademarks and

concluded that the senior users of those marks had abandoned those marks and thus the trademarks

were no longer subject to protection from unauthorized use, undermining Defendants’ trademark

defense.

        79.     Each of these reports required substantial effort by Subscriber Counsel. In

particular, Subscriber Counsel prepared class certification briefing, class certification expert

reports, and all five merits reports within an abbreviated time frame, serving merits reports only

one month after filing for class certification. Each merits expert was deposed on their findings,

which required further preparation and time to defend.

                                  The Settlement and Mediation Process

        80.     The case only settled after the parties engaged in extensive mediation, over five

years and with the assistance of multiple mediators, as set forth below.

        81.     The parties first began settlement discussions in 2015. The parties engaged Judge

Layn R. Phillips as a mediator and participated in 11 in-person mediation sessions from 2015

through 2017. Those discussions involved counsel for the Subscriber Plaintiffs, Provider Plaintiffs,

Defendants, and Defendants’ insurers, some of which involved nearly a hundred attendees. These

settlement and mediation discussions were undertaken in parallel with the parties continuing to

litigate and prepare for trial.

        82.     Judge Phillips, along with Judge Gary Feess, worked closely with the parties in an

attempt to resolve the litigation. The parties discussed several proposals on injunctive relief and

monetary compensation, but despite Judge Phillips’ and Judge Feess’ able assistance, those

discussions ultimately were not successful.




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       83.       In November 2017, Special Master Gentle began mediating settlement discussions

with counsel for Subscriber Plaintiffs, Defendants, and Defendants’ insurers. Over the course of

the next two years, Special Master Gentle held hundreds of unilateral and bilateral conference

calls, meetings, and in-person mediation sessions. Over the course of the mediation, Subscriber

Counsel and counsel for Defendants evaluated the strengths and weaknesses of the case, and

thoroughly evaluated them in order to negotiate the best settlement agreement for the Subscriber

Class. This process was hard fought, took years, and consisted of zealous representation by counsel

on both sides.

       84.       In September 2019, Warren Burns of Burns Charest LLP joined mediation

discussions as settlement counsel for a sub-class of Self-Funded accounts and their employees

(together, the "Self-Funded Settlement Sub-Class"). The parties continued to exchange proposals

and finally, in November 2019, the parties (along with Self-Funded Sub-Class Settlement Counsel)

agreed on a term sheet. Over the next several months, the parties worked closely with Special

Master Gentle to reduce the term sheet to a settlement agreement, involving many additional

conferences between the parties and with Special Master Gentle.

       85.       Subscriber Counsel undertook substantial additional efforts to mediate an

appropriate allocation of the Net Settlement Fund between fully insured Class Members and the

Self-Funded Sub-Class. We, along with Self-Funded Sub-Class Settlement Counsel, engaged

Kenneth Feinberg as Allocation Mediator to facilitate this allocation. After evaluation of the

evidence and an in-person mediation, we along with Self-Funded Sub-Class Settlement Counsel

agreed that an equitable allocation would distribute 93.5% of the Net Settlement Fund among fully

insured Class Members and 6.5% of the Net Settlement Fund among the Self-Funded Sub-Class.




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We and Self-Funded Sub-Class Settlement Counsel presented this proposal to Mr. Feinberg, who

reviewed it and determined it to be reasonable.

       86.     In order to administer the Net Settlement Fund, Subscriber Counsel worked closely

with Darrell Chodorow and the Brattle Group to design an equitable Plan of Distribution.

Subscriber Counsel spent several months in close consultation with Mr. Chodorow to examine the

economic evidence concerning premiums, including employer-employee premium sharing, and to

design a reasonable and efficient Plan of Distribution that would treat members of the Damages

Class equitably and would not overly burden claimants. Subscriber Counsel again engaged Mr.

Feinberg, this time to evaluate the reasonableness of the Plan of Distribution.

       87.     Finally, on October 16, 2020, we signed the Settlement Agreement with

Defendants.

       88.     The Settlement Agreement was the product of over four years of hard-fought,

arm’s-length negotiations by counsel highly experienced in complex litigation and antitrust law.

The Settlement Agreement was reached with the assistance of three well-respected mediators,

culminating with the major, sustained effort by Special Master Gentle, and its implementation

through a Plan of Distribution was further assisted by Mr. Feinberg's efforts as Allocation

Mediator.

       89.     As the Court noted in the Preliminary Approval Order (ECF No. 2641), the

Settlement that Subscriber Counsel achieved includes injunctive relief that mandates “significant,

unprecedented, and far reaching changes” to Defendants’ conduct (Id. at 9). The Court noted that

this injunctive relief “provides significant relief to the Class” by “allowing for more competition

in the market for health insurance and providing the potential for Class Members to achieve greater

consumer choice, better product availability, and increased innovation.” (Id.)



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       90.     As the Court also noted, this “historic and substantial” injunctive relief will

“significantly alter the Blues’ business practices and substantially increase the value of the

Settlement to the class members” (Id. at 32).

       91.     Industry regulators, economists, and analysists have praised the Settlement’s

injunctive relief provisions as promoting increased competition and consumer choice. For

example, Washington Insurance Commissioner Mike Kreider said that the “settlement should

increase competition, which is great news,” and James Burns, head of Healthcare Antitrust at

Ackerman LLP described the injunctive relief provisions as “significant, as they have the potential

to re-shape the state of competition in health insurance markets going forward.”

       92.     “The prospective injunctive relief in this case is wide-ranging and bears greater

importance to the Class than the monetary relief” (ECF 2641 at 26). However, the monetary relief

achieved is also virtually unprecedented in its size.

       93.     The $2.67 billion in monetary relief included in the Settlement is one of the largest

antitrust class action monetary recoveries in history – and the largest for a case in which there was

no government investigation or proceeding.

                         Co-Lead Counsel’s Direction of the Litigation

       94.     As Co-Lead Counsel, we and other attorneys from our firms were actively involved

in all aspects of the litigation. Collectively, our firms contributed 101,740 hours (corresponding to

$56,410,844 in lodestar) to litigating this case, in addition to $2,165,531.33 in out-of-pocket

expenses. We have also made $12,836,766.60 in Litigation Fund contributions through the present,

for a total of over $15 million in hard expenses outlaid with no guarantee of recovery.

       95.     As noted above, our firms filed the very first case—without the benefit of a

government investigation or any other action upon which to follow—and have aggressively



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litigated this matter against some of the best law firms in the country since 2012. We have devoted

significant resources at our own firms to ensuring the success of the litigation and championing

the rights of the Subscriber class, constraining our ability to devote resources to other cases for

nearly a decade. We, along with attorneys at our firms, have attended nearly every single one of

the 100+ hearings, discovery conferences, status conferences, and other court appearances over

the pendency of the litigation; have taken 46 depositions of Defendants (not including another 21

depositions of third parties noticed by Defendants, Subscribers, and Providers for which attorneys

from our firms took the lead); have prepared and defended 11 depositions of class representatives,

and have either authored or contributed to every brief in the case.

       96.     Our firms, with significant input from us, authored the motion to dismiss briefing

and argued the motion hearings. We also worked to organize hundreds of attorneys from dozens

of firms to conduct discovery of 37 separate Defendants. Our firms authored the initial discovery

requests, organized Subscriber Counsel into Defendant discovery teams, and coordinated

discovery from initiation through completion. Given the size and scope of this litigation, the case

management alone involved thousands of hours of attorney time between our firms, not to mention

additional thousands of hours to actually conduct discovery of Defendants.

       97.     With respect to depositions, in addition to the sheer volume of depositions our firms

took and defended, attorneys from our firms took nearly all of the key witnesses in the case,

including multiple 30(b)(6) depositions of BCBSA and BCBS-AL, the two streamlined

Defendants, and fact depositions of BCBS-AL CEO Terry Kellogg, BCBSA CEO Scott Serota,

Anthem CEO Joseph Swedish, and former BCBSA President Bernard Tresnowski. We also

prepared each Subscriber expert for his or her expert depositions and defended six of the nine

Subscriber expert depositions (and second-chaired the remaining three.)



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       98.     We also coordinated all Subscriber class representatives’ discovery. Attorneys from

our two firms negotiated Defendants’ expansive document requests to alleviate the burden on class

representatives, worked with class representatives and their counsel on document collection, and

reviewed and produced documents to Defendants. Our firms also coordinated preparing class

representatives for deposition, including defending 11 of the class representatives’ depositions and

preparing several others.

       99.     We also worked with class representatives to respond to multiple sets of written

discovery requests, including researching and drafting template responses and coordinating

approval and service for each class representative. Given the overbreadth of these requests, and to

protect class representatives from unfair burden, attorneys from our firms ultimately filed and

argued a motion for a protective order to block certain unnecessary discovery, and were involved

with briefing and arguing discovery motion practice on other requests.

       100.    To assist the Court in delving into the complicated economic background of the

case, we personally led two separate Economics Days. Attorneys from our firms were principally

responsible for preparing oral argument, expert testimony, and detailed demonstratives and

presenting Subscriber Plaintiffs’ case at each Economics Day, as well as responding to

Defendants’ presentation and the Court’s questioning. These days were preceded by intense

preparation and collation of the record as of that stage in the case.

       101.    At summary judgment on the standard of review, our firms also took the laboring

oar in organizing a review of all the available evidence, strategizing about additional needed

discovery, drafting and negotiating interrogatories and requests for admission relating to specific

standard of review issues, synthesizing the factual record for the extensive briefing, and authoring




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the ultimately successful summary judgment briefing. We also prepared for and argued the day-

long summary judgment hearing.

          102.   Our firms also were the primary authors of all class certification briefs. We drafted

the class certification briefs, worked with Dr. Pakes and Dr. Rubinfeld to provide them access to

the record so that they could obtain supporting materials for their reports and provided significant

feedback when they were drafting their reports, prepared both experts for their expert depositions

and defended the depositions. Similarly, when Defendants’ Daubert motions and class certification

oppositions were filed, along with supporting expert materials, we began working on responsive

pleadings and preparing to take the expert depositions of each export before the litigation was

stayed.

          103.   Our firms also worked closely with Dr. Pakes and Dr. Rubinfeld, as well as

Professor Chapin, Mr. Strassberg, and Mr. Pirkey on merits expert reports. We served as primary

contacts for each expert, providing substantive feedback and analysis, and we worked to prepare

each for their deposition. Attorneys from our firms defended (or, in the cases of Professor Chapin

and Mr. Strassberg, second-chaired) each expert deposition.

          104.   For five years, we also devoted significant resources to mediating a favorable

resolution for the Subscriber class. We attended over 30 in-person mediation sessions, along with

hundreds of teleconferences and other mediation-related meetings, both with Defendants and with

various mediators. We drafted mediation statements, researched and analyzed different types of

injunctive relief that would enable increased competition, worked with experts to weigh various

options, and ultimately led the drafting and negotiation of the final Settlement Agreement. We also

had primary responsibility for drafting the preliminary approval materials, including the Plan of




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Distribution. Attorneys from our firms presented argument for the daylong preliminary approval

hearing.

          105.   Finally, since the Court’s preliminary approval order, attorneys from our firms have

been engaged on a daily basis in securing data from Defendants for notice and claims

administration; answering thousands of emails and phone calls from class members with questions

about the Settlement; working with the claims administrator to effectuate the notice plan; and

analyzing issues relating to claims administration.

                                   Contributions of Subscriber Counsel

          106.   In addition to our two firms, Subscriber Counsel include some of the most

experienced and successful lawyers and law firms in the nation. The Plaintiffs Steering Committee

appointed by the Court consists of extremely talented attorneys with decades of experience. Each

PSC firm has a long and successful track record, as evidenced by the resumes for the PSC members

that are attached as Exhibits C to G.

          107.   Zuckerman Spaeder LLP, led by Cyril Smith, was heavily involved with briefing

and strategy relating to countering BCBS-AL’s filed rate defense and took primary responsibility

for filed rate discovery. This involved multiple rounds of depositions of BCBS-AL and Alabama

Department of Insurance witnesses. Zuckerman Spaeder attorneys assisted with numerous

substantive motions and hearings, including Economics Day and summary judgment on standard

of review. Zuckerman Spaeder attorneys defended three expert depositions and took leading roles

in preparing expert reports for Professor Chapin and Mr. Strassberg. We also relied on Zuckerman

Spaeder throughout the mediation process, including to assist with drafting preliminary approval

papers.




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       108.    Whenever we faced a thorny legal issue, we always involved Cooper & Kirk PLLC,

led by Charles Cooper, to help us work through it, and we relied on their expert analysis throughout

their time in the litigation. Attorneys from Cooper Kirk were particularly involved in briefing

summary judgment on the standard of review, the response to Defendants’ petition for

interlocutory review of the Court’s decision regarding the applicable standard of review, and class

certification. In 2017, the Court appointed Mr. Cooper to serve as Co-Chair of the Brief Writing

and Submissions Committee for the Subscriber Track. ECF No. 124. Attorneys from Cooper Kirk

also provided assistance in the later stages of the discovery effort. Cooper Kirk was a key

participant in mediation sessions, assisted with analyzing various settlement proposals, and worked

on preliminary approval, including presenting argument at the preliminary approval hearing.

       109.    Davis & Taliaffero, LLC, led by Greg Davis, was one of our most reliable and hard-

working partners in the litigation. We regularly called on attorneys from Davis & Taliaffero for

discovery matters, including taking depositions and assisting with Plaintiffs’ discovery requests

and responses. Outside of our two co-lead firms, Davis & Taliaffero were involved in taking or

defending the most depositions, including key testimony from BCBSA concerning the history of

licensing agreements. Attorneys from David & Taliaffero also regularly liaised with class

representatives, including ensuring that each had the opportunity to review and approve the

settlement before it was finalized.

       110.    Foote, Mielke, Chavez & O’Neil, LLC (FMCO), led by Kathleen Chavez, provided

substantial assistance in discovery. Attorneys from FMCO handled many Provider-related

depositions, ensuring that Subscriber Plaintiffs’ interests were protected. FMCO also assisted with

several substantive briefs, preparation for Economics Day, and other discovery matters.




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        111.    PSC members Megan Jones of HLLP and William Isaacson, formerly of BSF and

now of Paul, Weiss, also made significant contributions to the litigation and assisted us with our

leadership roles.

        112.    Ms. Jones worked nearly full-time on the litigation for years, devoting over 9,000

hours to this case since its inception in 2012. She was a consistent presence at status conferences

and discovery conferences, arguing at more than 50 of such hearings, and took more depositions

than any other attorney in the case, including 30(b)(6) testimony of BCBSA and BCBSA’s General

Counsel Roger Wilson. She also designed and executed the discovery strategy, harnessing the

talent of over 60 plaintiffs’ firms. Ms. Jones helped us to synthesize the key facts of the case from

a sprawling record and develop them into a compelling narrative. She was also a primary member

of the negotiating team for the settlement discussions that lasted years.

        113.    Mr. Isaacson was one of the principal architects of the original case theory and

worked closely with us in developing the legal theory of the case, and later on structure of each of

the amended complaints. He helped to develop key facts in the case, deposing witnesses such as

the BCBS-AL and BCBSA CEOs and contributed to the economic analysis of the case, including

preparing and defending Dr. Pakes’ expert deposition. He also reviewed drafts of all major motions

and provided his advice and strategic input at every juncture in the litigation. He was also a key

member of the negotiating team for the settlement discussions that lasted years.

        114.    In sum, members of the PSC were integral to every facet of the case. Non-co-lead

PSC firms took or defended over 50 depositions, took leadership on specific issues crucial to our

economic analysis, provided assistance on major briefs, and assisted with all manner of strategic

decisions in the litigation.




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        115.       We and the PSC have been supported by hundreds of additional talented and

dedicated attorneys, including Court-appointed Committee Chairs and members of each of the

Court-established committees, who have performed so much important and high-quality work over

the course of this litigation and who have spent years litigating a risky case with uncertain

prospects of repayment. As the Court has noted, Subscriber Counsel “include numerous highly

qualified and experienced lawyers” who have “litigated scores of antitrust cases to resolution and

are recognized as top authorities in their field” (ECF No. 2641, at 20, 27). The Court has further

found that Subscriber Counsel “vigorously, professionally, and successfully litigated this

extremely hard fought case” for almost a decade (ECF No. 2641, at 27-28). And we agree

wholeheartedly with the Court’s characterization of all of our esteemed co-counsel.

        116.       Together, Subscriber Counsel have devoted hundreds of thousands of hours to

prosecuting these claims – hours that precluded them from taking on other representations and for

which they would have received no compensation if this case were not successful. Subscriber

Counsel also invested more than $40 million of their own money in the litigation, money that was

very much at risk given the novel nature of the claims alleged. As discussed above, there were

substantial risks that Subscriber Counsel would not be able to obtain class certification, and that,

even if class certification were achieved, would not be able to establish liability, and that even if

liability were established, would not be able to obtain significant injunctive relief in this private

antitrust action or prove substantial damages. And under any scenario, to be successful, the cases

not initially filed in Alabama would be remanded to their original jurisdiction for dozens of

separate trials.

        117.       This was not a case that followed government proceedings. Nor was this a case that

was viewed as easy or attractive to litigate; the case raised novel and difficult legal and factual



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questions, and the practices Subscriber Counsel challenged were decades-long-standing practices

that no one previously were prepared to attack on behalf of Subscribers.

       118.    Subscriber Counsel’s achievements are all the more impressive—and their lodestar

all the more reasonable—when viewed against the backdrop of the opposition they faced.

Subscriber Counsel were opposed by over twenty of the largest and most highly regarded law firms

in the country, including Kirkland & Ellis, LLP, Hogan Lovells, LLP, Cravath, Swaine & Moore,

LLP, Crowell & Moring, LLP, Maynard Cooper & Gale, PC, Foley & Lardner, LLP, and

Shearman & Sterling, LLP. Each Defendant was represented by a formidable team of attorneys

who zealously represented their client’s interests and made Subscriber Counsel fight at every step

along the way. Over 100 defense attorneys entered notice of appearances in this case, and formed

the veritable army of attorneys that Subscriber Counsel faced. The success of this litigation in the

face of that opposition is a testament to the quality of the work from Subscriber Counsel.

                                Contributions of Class Representatives

       119.    Over the course of the litigation, Subscriber Counsel worked closely with over 60

class representatives who diligently and ably represented the interests of the Subscriber Class.

These class representatives have participated actively by providing assistance to Subscriber

Counsel in the preparation of both the individual and the consolidated class complaints; by

searching for, reviewing, and producing thousands of documents and reams of structured data; by

responding to voluminous written discovery requests; by preparing for and sitting for depositions;

and by providing input and feedback on litigation and settlement strategy.

       120.    Each class representative took on the burden of litigating this case so that the

Subscriber Class as a whole could benefit. And their work paid off; due to the class representatives’




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actions, the entire Subscriber Class will benefit from the $2.67 billion settlement fund and the

potential for increased competition stemming from the significant injunctive relief achieved.

       121.    Under any other circumstances, we would seek a substantial service award for each

class representative in recognition of their extensive involvement in the litigation and the

extraordinary result achieved. Unfortunately, in September 2020, just as the parties were finalizing

the Settlement Agreement, a divided panel of the Eleventh Circuit ruled that the long-standing and

near universally accepted practice of providing service awards to those who were willing to step

forward and bear the burdens and the risks of serving as a class representative is, in fact, unlawful.

Johnson v. NPAS Solutions, LLC, 975 F.3d 1244, 1264 (11th Cir. 2020) (11th Cir. Sept. 17, 2020).

       122.    Based on all of the prior case law, such service awards would have been appropriate

here, where class representatives put themselves forward to represent the interests of the

Subscriber Class and volunteered substantial time and resources to progress the litigation. The

class representatives have been exemplary. We are extremely disappointed that the timing of the

Eleventh Circuit’s ruling, and the uncertainty concerning any further decision on the matter,

prevents us from seeking service awards for the class representatives at this time. However, we

request that the Court retain jurisdiction for purposes of awarding class representative service

awards should the Eleventh Circuit’s decision in NPAS be overturned.

                              Class Notice and Settlement Administration

       123.    Our firms, with help from the Claims Administrator and other Subscriber Counsel,

designed the notice program and the Plan of Distribution in this case. As part of a competitive

bidding process, we interviewed multiple notice and claims administrators and selected the Court-

appointed Claims Administrator, JND.




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       124.    In conjunction with notice to the class, we also reviewed and provide feedback on

draft materials from the Claims Administrator, including the short-form notice, long-form notice,

claim form, telephone scripts, and website content including frequently asked questions (“FAQs”).

       125.    We also conducted months of negotiations about the availability of structured data

from each of the 37 Defendants that would be sufficient to support notice and the administration

of the claims program. We along with other Subscriber Counsel devoted hundreds of hours (the

substantial majority of which are not included in the lodestar below) working through data

production issues.

       126.    Once the motion for preliminary approval had been filed, we began receiving and

responding to inquiries from interested putative class members. These inquiries increased when

the Claims Administrator issued notice following the grant of preliminary approval. Our firms

have designated multiple attorneys to answer class member inquiries on a daily basis, and we are

working closely with the Claims Administrator to resolve all ongoing issues with class members.

       127.    Going forward, our firms will continue to be active in all aspects of settlement and

claims administration, including working with the Claims Administrator and supervising final

distribution of settlement proceeds to millions of qualified class members, preparing for the Final

Approval hearing, and responding to class member inquiries. Based on past experience, we believe

that these tasks have and will add thousands of hours of attorney lodestar to the work that has

already been done in this case.

                           Litigation Fund Management and Timekeeping

       128.    In its order appointing Ed Gentle as Special Master, the Court tasked Mr. Gentle

with establishing and maintaining a Plaintiffs’ counsel common litigation fund, including

accounting and related support. ECF No. 7 at p. 4. The Court also ordered Mr. Gentle to



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“determin[e] what actual disbursements should be made from the common litigation fund as

reimbursement and payment to ‘common benefit attorneys.’ (See Manual for Complex Litigation

Third, s 24.23)”. ECF No. 7 at p. 5. As such, for the entire pendency of the MDL, Mr. Gentle has

assessed Subscriber Counsel for capital contributions to be paid to the litigation fund, and Mr.

Gentle has maintained the litigation fund and authorized payment of expenses at the Court’s

directive.

        129.   As noted in Exhibit B accompanying the Declaration of Special Master Edgar C.

Gentle (“Gentle. Decl.”)., Subscriber Counsel have made $37,088,369.52 in contributions to the

Litigation Fund. The Special Master has authorized payments of $35,380,737.62 for reasonable

expenses incurred in prosecuting the litigation. Gentle Decl. ¶1(E). Those expenses include, among

other things, over $25 million for payment of expert fees (for, among other things, summary

judgment on the standard of review, class certification, and merits reports), document hosting costs

of over $5 million to maintain a database of millions of documents over 5+ years, over $150,000

for deposition court reporting, and Court-mandated fees for Special Master Gentle, Special Master

Harwood, and Liaison Counsel Barry Ragsdale. The remaining amount has been budgeted for

additional expert, document hosting, and Special Master costs to be incurred through the final

approval process. All further disbursements from the Litigation Find are subject to approval by the

Special Master.

        130.   The Court also issued detail protocols surrounding Subscriber Counsel’s recording

and submission of time and held expenses. On a monthly basis, our firms collected

contemporaneous time and expense records from all Subscriber Counsel. Our firms then submitted

the detailed time and expense records, along with backup detail, to the Special Master. Each

month’s submission was required to be certified by a senior partner attesting to the accuracy and



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correctness of the monthly submission. The Special Master then compiled the submissions and

submitted them to the Court on a regular basis. This process is described in further detail in the

Gentle Decl.

       131.    With respect to time, Subscriber Counsel were required to use 30 different specific

task codes to classify work, along with a detailed description of the work. Counsel billed all work

throughout the pendency of the litigation in 1/10th of an hour increments. With respect to expenses,

the Court’s protocols set forth detailed limitations in order to ensure that expenses remained

reasonable, including limiting travel costs.

       132.    From 2013-2020, Special Master Gentle conducted regular audits of time and

expense reports, requiring Subscriber Counsel to provide additional detail where necessary and

otherwise limiting time and expenses as needed. In particular, Special Master Gentle did not allow

counsel to block bill time or submit time that lacked specificity and did not accept expenses without

adequate backup to support the charges incurred.

       133.    Through the processes laid out by the Court and Special Master Gentle, Subscriber

Counsel’s time and expenses have been well-vetted and represent an accurate, and likely

conservative, accounting of the time spent and costs of litigating this massive case.

                                Summary of Time and Expenses

       134.    As noted in Exhibit C to the Gentle Decl., in total, after auditing by the Special

Master, from inception through August 15, 2020, Subscribers devoted 434,054.6 hours to litigating

this case. Special Master Gentle regularly reported these hourly totals to the Court as they were

incurred since 2013. Using historic rates as reported contemporaneously to Special Master Gentle,

this has resulted in $194,226,321.65 in lodestar.




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       135.    This figure does not include the substantial additional time spent mediating and

finalizing the Settlement Agreement after that date; drafting the preliminary approval papers; and

preparing for and attending the day-long preliminary approval hearing. In fact, for just the period

from August 15, 2020 through the November 30, 2020 preliminary approval order, Subscriber

Counsel incurred an additional 9,205.2 hours and $7,639,195.00 in lodestar. Even since that time,

Subscriber Counsel have spent several thousand additional hours (and millions of dollars of

additional lodestar) acquiring data from Defendants for notice and claims administration, working

with the notice and claims administrator to provide notice to over 100 million class members, and

answering calls and emails from thousands of class members once notice was disseminated.

       136.    Further, lodestar has been calculated at historic rates, rather than at current rates,

even though in our experience it is typical practice to use current rates to calculate lodestar in fee

petitions. An analysis of hours billed at current rates indicates that the actual lodestar would have

been at least $15 million higher.

       137.    For these reasons, in addition to Special Master Gentle’s diligent auditing of time

records, Subscriber Counsel’s $194,226,321.65 in lodestar is actually a significant

underrepresentation of the lodestar incurred, both by hours and by overall lodestar.

       138.    As noted in Exhibit C to the Gentle Decl., after auditing by the Special Master,

Subscriber Counsel have incurred $3,832,258.38 in held expenses. These totals have been

regularly reported to the Court as they have been incurred since 2013. When added to the

$37,088,369.52 in Litigation Fund contributions, Subscriber Counsel has incurred a total of

$40,916,627.90 in expenses.




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                                            Conclusion

       139.    It has been nearly a decade since we filed the first Subscriber case. Subscriber

Counsel has diligently litigated against dozens of well-resourced Defendants represented by the

very best attorneys in the country. During that time, hundreds of attorneys have expended hundreds

of thousands of hours, and tens of millions of dollars, entirely on a contingency basis, with no

guarantee of reimbursement for the significant expenditure of resources. Indeed, this novel case

represented a very real risk of failure at various stages of the litigation. Given the groundbreaking

nature of the Settlement, and the significant monetary and injunctive relief achieved for the class,

we believe that the requested fee award and expense reimbursement is reasonable.

       140.    Based on our investigation, research, document review, depositions, economic

analysis, and decades of combined experience in antitrust litigation, we believe that the Settlement

is in the best interests of the Class and that the Settlement is fair, reasonable and adequate. The

financial and injunctive benefits obtained by the Settlement reflect a reasonable compromise that

not only takes into consideration the risks inherent in ordinary class action litigation but also the

various issues in this specific case, which had the potential to completely eliminate recovery

available to the Class. We further believe that the request of $667,500,000 for Subscriber

Counsel’s fees and expenses is reasonable and warranted.

       We declare under penalty of perjury that the foregoing is true and correct.

Executed on May 28, 2021



__/s/ David Boies____________                                 __/Michael D. Hausfeld________

David Boies                                                   Michael D. Hausfeld
Boies Schiller Flexner LLP                                    Hausfeld LLP
Armonk, NY                                                    Washington, DC



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                      EXHIBIT A
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                       Boies Schiller Flexner LLP
Boies Schiller Flexner LLP (“BSF”) is one of the nation’s preeminent litigation firms.

BSF is selected by major corporations, institutions, and individuals who have a
choice of any attorney in the world for their most important matters.

Since its founding in 1997, BSF has handled a number of prominent and high-
stakes litigation matters, of which the following is a representative sample:

      Representing the United States Government as lead counsel in its
       successful antitrust trial against Microsoft.

      Representing the class of auction house sellers and buyers in achieving a
       $512 million settlement from Sotheby’s and Christies that another plaintiffs'
       counsel described as “the most outstanding result I have ever heard of in
       the history of the antitrust laws.”

      Representing Al Gore in his litigation before the United States Supreme
       Court and the courts of Florida in connection with the recount litigation
       associated with the 2000 U.S. Presidential election.

      Serving as co-lead counsel for the class of vitamins purchasers and
       achieving a settlement of over $1 billion in In re Vitamins Antitrust Litigation,
       MDL 1285 (D.D.C.), as well as a jury verdict of over $50 million (pre-
       trebling) against the defendants that did not settle.

      Winning a defense verdict from a New York jury for Lloyds of London
       relating to an insurance coverage dispute arising out the September 11,
       2001 terrorist attacks.

      Achieving a $4.1 billion recovery for American Express in its antitrust case
       against VISA and Mastercard relating to exclusionary practices governing
       bank partnerships – which was the largest recovery ever for a private
       plaintiff in an antitrust case.

      Winning a jury verdict against SAP that awarded a $1.3 billion judgment to
       Oracle, which was the largest ever verdict in a copyright infringement case.

      Successfully representing Barclays in litigation arising out of its 2008
       purchase of the assets of Lehman Brothers’ North American broker-dealer
       business out of bankruptcy. Following the longest bankruptcy trial in
       American history and appeals to the SDNY and Second Circuit, we defeated
       a $13 billion claim that Barclays had fraudulently underpaid for those assets
       and recovered approximately $8.3 billion of additional assets for Barclays
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       on its contractual claims against the Lehman Bankruptcy Estate and the
       SIPC Trustee

      Achieving over $220 million in recoveries serving as co-lead counsel for the
       direct purchaser class in the In re Municipal Derivatives Antitrust
       Litigation in federal court in New York.

      Achieving over $440 million for the direct purchaser class in the matter In re
       Polyurethane Foam Antitrust Litigation in federal court in Ohio.

      In In re TFT-LCD (Flat Panel) Antitrust Litigation (N.D. Cal), successfully
       represented 12 corporate opt-out plaintiffs who were victims of price-fixing
       in the market for LCD panels and recovered approximately $500 million in
       damages.

      In In Re: Cathode Ray Tube (CRT) Antitrust Litigation (N.D. Cal.),
       represented corporate opt-out plaintiffs that were victims of a price-fixing
       cartel involving Cathode Ray Tubes (CRTs) used in televisions and
       computer monitors, and achieved total recoveries of more than $250
       million as well as the reversal of a $70 million adverse trial court ruling
       from the Ninth Circuit.

      Representing the victims of Jeffrey Epstein and Ghislaine Maxwell in
       bringing the underage sex trafficking to public light and in generating
       prosecutions in New York after years in which prosecutors and the press
       largely ignored the misconduct.

      Achieving an historic $65.5 million recovery in January 2019 on behalf of a
       class of au pairs in bringing claims for violations of state and federal
       employment laws, as well as antitrust and state unfair competition laws.

As this representative sample of cases demonstrates, BSF has handled a wide
array of high-stakes litigation matters, and has had unusual success for both
plaintiffs and defendants. Set forth below, we include some of what outside
commentators or clients have said about us. Below that, we list our specific
experience in class action cases and in antitrust cases. We then provide the
individual resumes of some of the leading BSF lawyers working on this In re Blue
Cross Blue Shield matter.




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                 What Others Have Said About BSF
“Some law firms go to trial only as a last resort. Not Boies, Schiller & Flexner. Over
the past two years, the firm scored almost all of its biggest wins at the trial level –
many of them on the plaintiffs side. Unlike most of its Am Law 200 competitors,
Boies Schiller seems more comfortable playing offense than defense.”
      -The American Lawyer, “On the Offense”

“Companies turn to Boies Schiller when their cases hit crunch time”
       -The National Law Journal, “Washington Litigation Departments of the Year”

“The firm from its inception has focused on preparing cases for trial from the first
day of the case.”
       -The National Law Journal, “Washington Litigation Departments of the Year”

“Boies Schiller is known as the go-to law firm for high-stakes, high-profile
litigation— what executives and corporate lawyers call “bet the company” cases.”
       -The Washington Post, “Boies Schiller & Flexner takes ‘vigorous focus’ to D.C.”

“In international disputes, they’re as thoughtful and analytical at problem solving
as any firm I can think of.”
       -Matthew Biben, quoted in The American Lawyer, “Galaxy of Bright Lights”

“From corralling the litigation against Pfizer Inc. over the drug Neurontin…to
clearing hurdles for investors who lost more than $5 billion in Bernard Madoff’s
Ponzi scheme, Boies’s partners have taken the lead in a string of high-stakes
matters.”
       -The American Lawyer, “Galaxy of Bright Lights”

“One of America’s most successful and sought after law firms for cases that matter”
       -The American Lawyer, “Don't Bet Against this House”

“The Boies, Schiller strategy—mixing plaintiffs cases with defense matters, picking
clients whose work fits with the firm’s long-term goals, and employing creative
billing methods—looks built for the times.”
       -The American Lawyer, “Don't Bet Against this House”

“has grown into a national litigation powerhouse”
       -The Wall Street Journal, “Upstart Law Firm Becomes Litigation Powerhouse in
       U.S”

“stylish eccentricity, casual brilliance, and passionate workaholism”
       -The American Lawyer, “Boies Schiller’s Big Year”

“the most powerful litigation turbine in America”
       -Lawdragon, “The Romantics”


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“They’re fantastic. They are absolutely trial lawyers, and they’re extremely
responsive and intelligent”
       -Client feedback from Chambers & Partners

“Guardsmark, LLC considers Boies, Schiller & Flexner to be one of the world’s
greatest law firms. The firm has a certain persistence for perfection which allows
them to reach excellence in most circumstances. They are, without question,
among the very best of the best law firms.”
       -Ira A. Lipman, Former Founder, Chairman & President, Guardsmark, LLC

“The Del Monte Fresh Produce group of companies has utilized Boies, Schiller &
Flexner for a number of years in "high-stakes" litigations across the country. They
have the resources and expertise to consistently provide the highest-quality legal
and personal services. Their focus has always been to seek the best outcome for
the client as economically and efficiently as possible. Quite simply they are
responsive, reliable, and client-result-oriented.”
       -Bruce Jordan, Vice-President, General Counsel and Secretary, Fresh Del Monte
       Group of Companies

“Simply, the best. When it comes to ‘prime time’ litigation, CBS comes to BS&F.”
       -Louis J. Briskman, Former Executive Vice President and General Counsel, CBS
       Corporation

“Philip Morris USA relies on Boies, Schiller & Flexner to represent us in some of
our most important and complex matters. We hire them because they have the
ability to win cases before they ever get to trial – as they have done for us in several
very significant matters– and also because they are real trial lawyers who win in
the courtroom.”
       -Jose L. Murillo, Jr., Former Vice President and Associate General Counsel, Altria

“DuPont looks to Boies, Schiller & Flexner as one of our principal go-to firms for
investigations and litigation in antitrust and other complex subjects.”
       -Thomas L. Sager, Former Vice President and Assistant General Counsel for
       Litigation, E.I. DuPont de Nemours & Company

“The quality of the firm’s legal work is unsurpassed, and for any major litigation
around the country, I would, and have chosen BS&F to represent us.”
       -Debra L. Burns, Esq., Former Vice-President and Senior Litigation Counsel,
       Hillenbrand Industries, Inc.

“We rely upon Boies, Schiller & Flexner as lead counsel in some of our most
complex and challenging cases, and they always deliver. They are true warriors.”
       -Richard N. Baer, Former Executive Vice President and General Counsel, Qwest
       Communications Int’l Inc.




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                      Recognized for Excellence
Boies Schiller Flexner and our attorneys are continually ranked in top publications
including, Chambers Global, Chambers USA, and Chambers UK, with our antitrust
practice being consistently among the most highly rated.

Our partners have been named to Lawdragon 500 Global Litigation Lawyers and
Lawdragon 500 Leading Lawyers in America.

Benchmark Litigation has listed our attorneys in the Top 100 Trial Lawyers. Our
lawyers are included in Benchmark's list of the Top 10 Women in Litigation in the
United States and the Top 250 Women in Litigation. BSF was named Appellate
Firm of the Year by Benchmark Litigation, which recognized the firm's growing
stature in the appellate area, based on a survey of peer firms nationwide.
Benchmark described the firm as one whose “undeniable strength has been
proven several times over with leading roles in the country’s most groundbreaking
cases, often at the Supreme Court.”

Our firm is ranked in Legal 500 US and Legal 500 UK, with our antitrust practice in
both plaintiff and defense recognized as tier 1. David Boies is in the Legal 500 Hall
of Fame and partners in our London office were named to the Legal 500
International Arbitration Powerlist UK.

Our partners have been named Litigator of the Year by the American Lawyer four
times and as Litigator of the Week by the American Lawyer more than a dozen
times. The National Law Journal awarded Boies Schiller Lawyers of the Year two
different times and named BSF Chairman David Boies one of the 100 Most
Influential Lawyers. David was also named Global Litigation Lawyer of the Year by
Who's Who Legal.

Individual BSF partners have also been recognized by the Daily Business Review
as a finalist for Attorney of the Year, a Distinguished Leader in its 2020
Professional Excellence Awards, and as Most Effective Appellate Lawyer.

Boies Schiller Flexner was named a Finalist in The American Lawyer’s Litigation
Department of the Year awards twice. The American Lawyer wrote that, while
some law firms go to trial only as a last resort, Boies, Schiller & Flexner “seems
more comfortable playing offense than defense.”

Both the New York Law Journal and Law360 have recognized many of our young
partners as Rising Stars, which lists the most promising lawyers 40 and younger.




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     Class Action Cases in which BSF has been (or is
     currently) Lead or Co-Lead Counsel for the Class:
BSF has served as lead or co-lead plaintiff’s counsel in numerous complex class
actions. These class action cases have involved a variety of claims relating to
such matters as antitrust and securities fraud. The Firm enjoys one of the most
selective and successful class action practices in the country. Since its
inception, Boies, Schiller & Flexner has negotiated record settlements and won
substantial verdicts on behalf of class members in several prominent cases. A
representative sample of the cases in which the firm has played a leading role on
behalf of a class includes:

           •   In Thompson et al. v. 1-800 Contacts, Inc. et al. (D. Utah), acting
               as co-lead counsel for a consumer class alleging antitrust
               violations in the marketing of contact lenses on the internet, the
               firm has secured approximately $40 million in settlements to date.

           •   In Beltran v. InterExchange Inc. (D. Colo.), acting as co-lead
               counsel on behalf of a class of exploited domestic workers, the
               firm secured wide-ranging non-monetary relief as well as a
               damages settlement of $65.5 million.

           •   In Erica P. John Fund v. Halliburton, a securities class action
               which took 14 years, repeat visits to the Fifth Circuit Court of
               Appeals, and produced two major wins for plaintiffs in the United
               States Supreme Court, the firm obtained a $100 million settlement
               for the class.

           •   As co-lead counsel in a class action against the State of Florida,
               the firm secured a settlement that will improve medical and dental
               care for more than two million children covered by Florida’s
               Medicaid program.

           •   Acting on behalf of defrauded investors, the firm recovered $235
               million from Bernard Madoff feeder funds and a major accounting
               firm which had audited those funds.

           •   The firm currently serves as co-lead counsel in multiple class
               actions on behalf of shareholders in Fannie Mae and Freddie Mac
               who object to the government’s sweep of the profits earned by
               those entities into the U.S. Treasury. See In re Fannie
               Mae/Freddie Mac Senior Preferred Stock Purchase Agreement
               Class Action Litigations, Case No. Misc. Action No. 13-mc-1288
               (RCL); Caciappalle v. United States, Case No. 13-466C (Court of
               Federal Claims).


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        •   On behalf of a class of college athletes the firm obtained injunctive
            relief following an antitrust trial against the NCAA in O’Bannon v.
            NCAA.

        •   As co-lead counsel for the class in In re Polyurethane Foam
            Antitrust Litigation in federal court in Ohio, the firm secured over
            $440 million in settlements.

        •   The firm played a lead role as co-lead counsel in the Takata MDL,
            recovering $1.5 billion in settlements for class members.

        •   As co-lead counsel in In re Municipal Derivatives Antitrust
            Litigation (S.D.N.Y.), the firm recovered more than $220 million in
            settlements for a class of municipal entities in a price-fixing case.
            For our work on this case, we received the award for the
            Outstanding Antitrust Litigation Achievement in Private Law
            Practice from the American Antitrust Institute.

        •   In 2000, BSF was lead counsel in In re Auction Houses Litigation
            (S.D.N.Y.) and negotiated a $512 million settlement on behalf of
            the plaintiff class, which was described by another plaintiff s
            counsel as “the most outstanding result I have ever heard of in the
            history of the antitrust laws.”

        •   The firm has been appointed lead or co-lead counsel in 11
            separate class actions involving student loans and credit reporting.

        •   In an ongoing litigation, BSF secured certification of a nationwide
            RICO class and several state antitrust classes against Mylan over
            allegations of anticompetitive and unfair business practices that
            led to the massive increases in the price of the EpiPen.

        •   The firm represented the National Basketball Players Association
            in their historic class action lawsuit against the NBA, accusing the
            league of conspiring to deny them their right to offer their services
            in the pro basketball market through an unlawful group boycott and
            price-fixing arrangement; resulted in a settlement that allowed the
            players to return to work and saved the 2011-2012 NBA season.

        •   In Echevarria v. Bank of America Corp., Haynes v. Chase Bank
            USA, and Anderson v. Capital One Bank USA (S.D.N.Y.), acting
            as lead counsel on behalf of classes of consumers whose debts
            were illegally collected after bankruptcy, secured an injunctive
            relief and settlements for $26.5 million in monetary damages.

        •   BSF has extensive experience in pharmaceutical class action
            matters. The firm has served as co-lead counsel in In re Cardizem

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            CDAntitrust Litigation, MDL No. 1278, Civil Action No. 99-cv-
            732589 and 99-cv-73870 (E.D. Mich. 2002) ($110 million
            recovery), in In re Buspirone Antitrust Litigation, MDL No. 1413,
            Civil Action No. 01-CV- 7951 (JAK) (S.D.N.Y. 2002) ($220 million
            recovery), and In re Terazosin Hydrochloride Antitrust Litigation,
            MDL No. 1317, Civil Action No. 99- 7143-Civ-Seitz (S.D. Fla.) ($75
            million recovery).

        •   BSF has represented plaintiff classes of securities holders in Rory
            Riggs and John Lewis v. Termeer, Genzyme Corp., et al., No. 03-
            CV- 4014 (LLS) (S.D.N.Y.) ($64 million recovery) and purchasers
            of the prescription drug Hytrin. Boies Schiller Flexner served as
            co-lead counsel for plaintiff shareholder classes in In re Alcatel
            Alsthom Securities Litigation, MDL No. 1263, Civil Action No. 4:98-
            CV -320 (E.D. Tex. 2001) ($75 million recovery).




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   Biographies of leading BSF lawyers working on In re
              Blue Cross and Blue Shield:

                                  David Boies

                               David Boies has been the Chairman and a Managing
                               Partner of Boies Schiller Flexner since its founding in
                               1997.

                                 David is a preeminent dispute resolution advocate
                                 and counselor. He represents both plaintiffs and
                                 defendants in both litigation and arbitration both in
                                 the United States and internationally. He has
                                 successfully defended clients such as Barclays,
                                 CBS, HSBC, Lloyds, the National Football League,
                                 Starr International, Westinghouse, and the New York
Yankees in their most important commercial, antitrust, securities, intellectual
property, and regulatory disputes. Clients for whom as plaintiffs he has recovered
more than $1 billion include American Express (twice, with the largest private
antitrust recovery in history), the FDIC, Oracle (with the largest copyright verdict in
history), and Starr International.

David is a leading class action lawyer, both successfully defending his clients in
such cases and achieving multiple billion dollar recoveries for classes he
represents as lead counsel.

David has a long history of government service. He served as Chief Counsel and
Staff Director of the United States Senate Antitrust Subcommittee in 1978 and
Chief Counsel and Staff Director of the United States Senate Judiciary Committee
in 1979. In 1991-1993, he was counsel to the Federal Deposit Insurance
Corporation, recovering $1.2 billion from companies who sold junk bonds to failed
savings and loan associations.

In 1998-2000, David served as Special Trial Counsel for the United States
Department of Justice in its antitrust suit against Microsoft. He also served as the
lead counsel for former Vice-President Al Gore in connection with litigation relating
to the 2000 election Florida vote count. As co-lead counsel for the plaintiffs in Perry
v. Brown, he won the first judgment establishing the right to marry for gay and
lesbian citizens under the U.S. Constitution.

David has been selected as one of the 100 Most Influential People in the World by
Time Magazine (2010). He has been named Global International Litigator of the
Year by Who’s Who Legal an unprecedented seven times; the Litigator of the Year

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by The American Lawyer; the Lawyer of the Year by The National Law Journal
(twice); the Antitrust Lawyer of the Year by the New York Bar Association; Best
Lawyers in America from 1987-2021; Lawdragon 500 Leading Lawyers; and a Star
Individual by Chambers USA. In 2013 he was named one of the Top 50 Big Law
Innovators of the Last 50 Years by The American Lawyer.

David is the recipient of Honorary Degrees from a number of Universities including
an Honorary Doctor of Laws from New York University and an Honorary Doctor of
Letters from the Chicago Theological Seminary. His awards include the Award of
Merit from the Yale Law School, the ABA Medal from the American Bar
Association, the Vanderbilt Medal from New York University Law School, the
Pinnacle Award from the International Dyslexia Association, the William Brennan
Award from the University of Virginia, the Role Model Award from Equality Forum,
the Lead by Example Award from the National Association of Women Lawyers, the
Torch of Learning Award from the American Friends of Hebrew University, the
Eisendrath Bearer of Light Award from the Union for Reform Judaism, and a
Lifetime Achievement Award from the Mississippi Center for Justice.

David was born in Sycamore, Illinois on March 11, 1941. He attended the
University of Redlands (1960-62), and received a B.S. from Northwestern
University (1964), an LL.B., magna cum laude from Yale University (1966), and an
LL.M. from New York University (1967).

He is a member of Phi Beta Kappa, a Fellow of the American College of Trial
Lawyers and the International Academy of Trial Lawyers; and a Trustee of the Cold
Spring Harbor Laboratory and New York University Law School Foundation. He is
the author of numerous publications including Courting Justice (2004), Redeeming
the Dream (with Ted Olson), and Public Control of Business (with Paul Verkuil)
(1977). He has taught courses at New York University Law School and Cardozo
Law School.




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                                In The News
“The Litigator: David Boies, The Wall Street Lawyer Everyone Wants,”
      -The New York Times Magazine, June 1, 1986

“Boies isn't just a lawyer. He's been called the Michael Jordan of lawyers, a court
magician who could leave Socrates tongue-tied or juke Thomas Aquinas out of his
shoes. When Boies cross-examines you, you feel as if he's taken your clothes.”
      -Forbes, Democrats’ Ace In The Hole: David Boies, November 15, 2000

“…a symbol of the Lawyering of America”
      -Time magazine, “Get Me Boies!” December 17, 2000

“David gets newly discovered by every generation.”
      -George Vradenburg, former general counsel for CBS, as quoted in: Time
      magazine, “Get Me Boies!” December 17, 2000

“…a previously undiscovered species of superstar lawyer.”
      -Time magazine, “Get Me Boies!” December 17, 2000

“…a monomaniacal competitor, a man who hates to lose.”
      -New York magazine, “Boies will be Boies,” February 26, 2001

“But the discussion halts and all heads turn when the true man-of-the-moment
ambles within range. It’s David Boies, the superlawyer who humbled Bill Gates
and changed Microsoft forever, who collected $512 million in damages for
customers ripped off by Christie’s and Sotheby’s, and who became a cultural
hero in the war to recount Florida’s presidential ballots. The presence of Boies
as Klein’s trial lawyer [was] a major reason why all of a sudden there is no trial.”
      -New York magazine, “Boies will be Boies,” February 26, 2001

“David Boies is the real thing. He masters the most complex subjects at lightning
speed and then communicates the essential points in completely clear and totally
accessible language. He’s a mighty good friend to have on top of that.”
      -Al Gore, as quoted in New York magazine, “Boies will be Boies,” February 26,
      2001

“…David has a Lincolnesque quality…”
      -Sen. Joseph Lieberman, as quoted in New York magazine, “Boies will be Boies,”
      February 26, 2001

“He focuses on the witness, and the witness is almost hypnotized. David will lead
him or her down a path, using the witness’s own words or reasons and then puts
them in a logical chain that leads them to a conclusion that was the opposite of
what they wanted to say.”
      -Former Solicitor General of the United States Theodore Olson as quoted in
      Vanity Fair, The Man Who Ate Microsoft, March 22, 2003

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“Brilliant and tireless, he may be the greatest trial lawyer alive.”
       -Vanity Fair, The Man Who Ate Microsoft, March 22, 2003

 “Yesterday at the Perry v. Schwarzenegger trial was the day you got to see
David Boies set loose on a witness, and, to judge by the transcript, his cross-
examination was a little like watching your cat play with his food before he
eats it.”
       -The New Yorker, Boies at Play, January 26, 2010

 “David Boies -- "the Michael Jordan of trial attorneys," as he was introduced at
the Lawyers' Club of San Francisco annual California Supreme Court lunch.”
       -Law.com, “Superstar Litigator Calls for Cheaper Trials,” May 3, 2010

“David Boies is one of the handful of smartest lawyers in the world, "the Tiger
Woods of the legal profession,"
       -ZDNet, “A litigator’s view: Three things I know about Oracle v. Google,” May 24,
       2012

“…one of the most distinguished figures in the legal profession: David Boies, one
of the country’s greatest living trial lawyers.”
       -Original Jurisdiction, What’s Going On At Boies Schiller Flexner? December 3,
       2020




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                                Hamish Hume

                             Hamish has successfully served as lead trial counsel
                             for a number of significant firm clients and Fortune 500
                             companies. He is a general litigator who has handled
                             cases across a broad array of subject areas. But
                             before he became a general litigator, Hamish was a
                             specialist – first in tax law, then in constitutional law.
                             This unique background has made Hamish an
                             unusually versatile litigator who excels at mastering
                             complex factual and legal issues and distilling them
                             into simple, compelling, and winning arguments.

His experience includes acting as lead counsel for Fannie and Freddie
shareholders suing over August 2012 Net Worth Sweep. He also served as lead
counsel for health insurance subscribers suing Highmark and UPMC for antitrust
violations. He successfully represented “Hot Lanes” motorists challenging
excessive fines, and was the successful first chair in expert phase of trial involving
$5 billion valuation dispute. He also was the lead role in successful representation
of Barclays in $13 billion trial and cross-examined fact and expert witnesses in
winning $109 million judgment against United States.

Hamish was recognized as a Litigation Trailblazer by The National Law Journal in
2017 and as the Litigator of the Week by the American Lawyer’s Litigation Daily.
He was also part of the team who received Washington Litigation Department
of the Year Finalist from The National Law Journal.

Hamish received his J.D. from the University of Virginia School of Law, where he
was a member of the University of Virginia Law Review. He received his B.A. in
Jurisprudence from Oxford University, where he was part of Oxford Rowing Blue.
He graduated cum laude from Yale University with his B.A. in Humanities and
Distinction in the Major. He was Captain of Yale Heavyweight Rowing.




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                              Richard Feinstein

                                Rich’s primary practice area is complex litigation, with
                                a particular emphasis on antitrust matters. He
                                frequently represents plaintiffs and defendants in
                                private litigation, in addition to representing parties
                                and third parties in the context of DOJ, FTC and State
                                Attorney General investigations and litigation. He also
                                advises clients regarding transactions—both their
                                own and those of others—including mergers or
                                acquisitions that may be subject to review by federal,
                                state or international antitrust authorities. His
                                experience includes both criminal and civil antitrust
jury trials, and he is relied upon by clients for clear and practical guidance shaped
by years of experience in antitrust enforcement and private practice. Rich has
served as lead or co-lead counsel in a number of prominent cases, including, for
example, FTC v. Mylan Laboratories.

Rich rejoined the firm in December 2013 after serving for four years as the Director
of the Bureau of Competition at the Federal Trade Commission. He directed the
FTC’s antitrust enforcement activity during a period when approximately 80
enforcement actions were initiated in a wide variety of industries. Major matters
included, among others, two victories in the Supreme Court (involving pay-for-
delay and state action), successful challenges to hospital mergers, and Intel and
Google consent orders. He also participated directly in drafting and implementing
the 2010 Horizontal Merger Guidelines.

Prior to serving as Bureau Director, Rich was a partner in the firm’s Washington
office from 2001 to 2009. From October 1998 to June 2001, he served as an
Assistant Director of the Bureau of Competition, in charge of the Health Care
Services and Products Division. The work of that Division focused on antitrust
enforcement in the health care industry, including anticompetitive practices and
mergers involving health care providers, and anticompetitive conduct in the
pharmaceutical industry.

Before initially entering private practice in 1985, Rich worked as a trial attorney in
the Antitrust Division of the U.S. Department of Justice, and also served as Acting
Deputy Director of the Division’s Office of Policy Planning and as Acting Assistant
Chief of the Division’s Energy Section.

Rich received his J.D. from Boston College Law School and graduated from Yale
University with his B.A. in American Studies.




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                              Jonathan Shaw

                              Jonathan has represented plaintiffs and defendants
                              in bet-the-company litigation for more than a quarter
                              of a century. He has successfully litigated antitrust,
                              class action, securities, RICO, contractual, tort,
                              intellectual property, and other high-stakes
                              commercial disputes in federal and state courts
                              throughout the United States. In addition to his
                              litigation work, Jonathan regularly provides strategic
                              advice and counsel to clients.

                              Jonathan’s experience includes representing the
class in a securities fraud action against Genzyme, Inc., which settled for $64
million (SDNY). He was co-lead counsel representing class of municipal entities in
a case alleging price-fixing of municipal derivative investment products, resulting
in more than $220 million in settlements (SDNY).

In litigation arising from its 2008 purchase of Lehman Brothers’ North American
broker-dealer business, he represented Barclays, defeating a $13 billion claim that
Barclays had fraudulently underpaid for the assets it purchased and winning $8.3
billion in additional assets (SDNY, Second Circuit, Supreme Court). Jonathan also
successfully defended Barclays against allegations of fraud, breach of contract,
and RICO violations brought by partners of Dewey & LeBouef, who sought to avoid
repaying partnership capital loans (DC, New York, and Illinois federal courts).

He also represented Genesco, Inc., against UBS and Finish Line in a merger case.
The court rejected the defendants’ fraud and material adverse event claims, and
ordered Finish Line to close on its $1.5 billion purchase of Genesco. The case
settled with Genesco receiving $175 million in cash plus 12.5% of Finish Line’s
stock (Tennessee Chancery Court and SDNY). He also defeated emergency
motions by community activists trying to derail construction of the new Yankee
Stadium (New York state and federal courts).

Jonathan also received an award for the Outstanding Antitrust Litigation
Achievement in Private Law Practice from the American Antitrust Institute for his
work in In re Municipal Derivatives Antitrust Litigation, which recovered more than
$220 million for a class of municipal entities.

Before joining the firm in 2005, Jonathan was a partner in the Seattle office of
Susman Godfrey, an associate at Wiley, Rein & Fielding in Washington D.C. and
a law clerk for the late Frank A. Kaufman of the U.S. District Court for the District
of Maryland.


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Jonathan graduated cum laude with his J.D. from University of Pennsylvania Law
School, where he was Associate Editor of the Law Review. He received his B.A.
in History from Johns Hopkins University with Departmental Honors as a
Beneficial-Hodson Scholar.




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                                 Adam Shaw

                             Adam solves complex business and consumer
                             disputes in courts and regulatory proceedings across
                             the country. Clients rely on his more than 30 years’
                             experience to assist them with successfully
                             prosecuting and defending consumer and securities
                             fraud cases, recovering millions of dollars for
                             corporations and plaintiff classes. His extensive
                             experience includes trying cases to verdict before
                             juries and judges. Adam understands his clients’
                             business operations and goals, and brings sound
                             judgment to all of his representations.

Adam has recovered over $25 million as class counsel for consumers whose debts
were illegally collected after bankruptcy. He has also represented the class of
borrowers in multiple class actions to recover for wrongful collection of student
loans. He succesfully recovered over $50 million for global chemical company and
global construction company for securities fraud.

Adam’s firm leadership roles include managing the firm’s Albany office and leading
the firm’s eDiscovery practice. He manages and has extensive experience with the
discovery efforts in large and complex international and multidistrict litigation. He
leads teams in the collection and analysis of terabytes of data from sources across
the globe.

Passionate about serving the community, Adam serves as pro bono trial counsel
for the U.S. District Court for the Northern District of New York. After conducting
more than six jury trials and litigating dozens of other cases, he received the Pro
Bono Service Award from the Court.

His leadership roles in the legal community include having served as president of
the Federal Court Bar Association for the Northern District of New York and he
writes a column, the “Northern District Roundup,” for the New York Law Journal.

Adam graduated cum laude with his J.D. from Albany Law School, where he
received the Cardozo Prize and Matthew Bender Prize and was also the Editor-in-
Chief of the Albany Law Review. He received his M.B.A. from Union College and
graduated cum laude from the State University of New York with his B.S. in History.




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                       EXHIBIT B
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About Hausfeld
In the last decade, Hausfeld attorneys have won landmark         Antitrust and competition litigation
trials, negotiated complex settlements among dozens of
                                                                 Hausfeld’s reputation for leading groundbreaking antitrust
defendants, and recovered billions of dollars for clients both
                                                                 class actions in the United States is well-earned. Having
in and out of court. Renowned for skillful prosecution and
                                                                 helmed more than 40 antitrust class actions, Hausfeld
resolution of complex and class-action litigation, Hausfeld
                                                                 attorneys are prepared to litigate and manage cases
is the only claimants’ firm to be ranked in the top tier in
                                                                 with dozens of defendants (In re Blue Cross Blue Shield
private enforcement of antitrust/competition law in both the
                                                                 Antitrust Litigation, with more than thirty defendants),
United States and the United Kingdom by The Legal 500 and
                                                                 negotiate favorable settlements for class members and
Chambers & Partners. Our German office was also ranked
                                                                 clients (In re Air Cargo Shipping Services Antitrust Litigation,
by The Legal 500 for general competition law.
                                                                 settlements of more than $1.2 billion, and In re Blue Cross
From our locations in Washington, D.C., Boston, New York,        Blue Shield Antitrust Litigation, $2.67 billion settlement),
Philadelphia, San Francisco, Amsterdam, Berlin, Brussels,        take on the financial services industry (In re Foreign
Paris, Düsseldorf, Stockholm, and London, Hausfeld               Exchange Antitrust Litigation, with settlements of more than
contributes to the development of law in the United States       $2.3 billion), take cartelists to trial (In re Vitamin C Antitrust
and abroad in the areas of Antitrust/Competition, Commercial     Litigation, trial victory of $162 million against Chinese
and Financial Disputes, Environmental and Product Liability,     manufacturers of Vitamin C), and push legal boundaries
Human Rights, and Technology and Data Breach. Hausfeld           where others have not (O’Bannon v. NCAA, another trial
attorneys have studied the global integration of markets—        victory in which the court found that NCAA rules prohibiting
and responded with innovative legal theories and a creative      additional scholarship payments to players as part of the
approach to claims in developed and emerging markets.            recruiting process are unlawful).

Hausfeld was founded by Michael D. Hausfeld, who is widely
recognized as one of the country’s top civil litigators and a
leading expert in the fields of private antitrust/competition
enforcement and international human rights. The New York         Hausfeld is ‘the world’s leading
Times has described Mr. Hausfeld as one of the nation’s “most
prominent antitrust lawyers,” while Washingtonian Magazine
                                                                 antitrust litigation firm.’
characterizes him as a lawyer who is “determined to change       Politico
the world—and succeeding,” noting that he “consistently
brings in the biggest judgments in the history of law.”
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Hausfeld: a global reach
Hausfeld’s international reach enables it to advise across        Unmatched global resources
multiple jurisdictions and pursue claims on behalf of
                                                                  The firm combines its U.S. offices on both coasts and
clients worldwide. Hausfeld works closely with clients to
                                                                  vibrant European presence with a broad and deep network
deliver outstanding results while always addressing their
                                                                  around the globe to offer clients the ability to seek redress
business concerns. Hausfeld does so by anticipating issues,
                                                                  or confront disputes in every corner of the world and
considering innovative strategies, and maximizing the
                                                                  across every industry. With over 140 lawyers in offices in
outcome of legal disputes in a way that creates shareholder
                                                                  Washington, D.C., Boston, New York, Philadelphia, San
value. Its inventive cross border solutions work to the benefit
                                                                  Francisco, Amsterdam, Berlin, Düsseldorf, Brussels, Paris,
of the multinational companies it often represents.
                                                                  Stockholm, and London, Hausfeld is a “market leader for
                                                                  claimant-side competition litigation” (The Legal 500).
Creative solutions to complex
legal challenges
Hausfeld lawyers consistently apply forward-thinking ideas
and creative solutions to the most vexing global legal
challenges faced by clients. As a result, the firm’s litigators   A prominent litigation firm, renowned
have developed numerous innovative legal theories that            for its abilities representing plaintiffs in
have expanded the quality and availability of legal recourse
                                                                  multidistrict class action antitrust suits
for claimants around the globe that have a right to seek
recovery. Hausfeld’s impact was recognized by the Financial       across the country involving a wide
Times, which honored Hausfeld’s European team with the            variety of antitrust issues including
“Innovation in Legal Expertise - Dispute Resolution,” award,
                                                                  monopolization, price manipulation
which was followed up by FT commending Hausfeld’s
North American team for its innovative work in the same           and price-fixing.
category. In addition, The Legal 500 has ranked Hausfeld          Chambers and Partners
as the only top tier claimants firm in private enforcement of
antitrust/competition law in both the United States and the
United Kingdom. For example, the landmark settlement that
Hausfeld negotiated to resolve claims against Parker ITR
for antitrust overcharges on marine hoses represented the         Hausfeld, which ‘commits extensive
first private resolution of a company’s global cartel liability   resources to the most difficult cases,’
without any arbitration, mediation, or litigation—creating        widely hails as one of the few market-
opportunities never before possible for dispute resolution
and providing a new model for global cartel settlements
                                                                  leading plaintiff firms.
going forward.                                                    The Legal 500




                                                                  Primarily in the antitrust capacity,
                                                                  Hausfeld is an undisputed trailblazer,
                                                                  identified as a ubiquitous presence by
                                                                  peers on both the plaintiff and defense
                                                                  sides of the ‘V.’
                                                                  Benchmark Litigation

2   HAUSFELD FIRM RESUME                                                                                      www.hausfeld.com
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Antitrust litigation
Hausfeld’s antitrust litigation experience                        litigation on behalf of plaintiffs. And in naming Hausfeld to
is unparalleled                                                   its Plaintiffs’ Hot List, The National Law Journal opined that
                                                                  Hausfeld ”punches above its weight” and ”isn’t afraid to take
Few, if any, U.S. law firms are litigating more class
                                                                  on firms far larger than its size and deliver results, especially
actions on behalf of companies and individuals injured
                                                                  in antitrust litigation.”
by anticompetitive conduct than Hausfeld. The firm has
litigated cases involving price-fixing, price manipulation,
monopolization, tying, and bundling, through individual           Hausfeld has achieved outstanding results
and class representation and has experience across a              in antitrust cases
wide variety of industries, including automotive, aviation,       Hausfeld lawyers have achieved precedent-setting legal
energy, financial services, food & beverage, healthcare,          decisions and historic trial victories, negotiated some of the
manufacturing, retail, and the transportation and logistics       world’s most complex settlement agreements, and have
sectors. Clients rely on us for our antitrust expertise and our   collectively recovered billions of dollars in settlement and
history of success in the courtroom, and at the negotiation       judgments in antitrust cases. Key highlights include:
table, and the firm does not shy away from challenges, taking
                                                                  • In re Foreign Exchange Benchmark Rates Antitrust
                                                                    Litig., 13-cv-7789 (S.D.N.Y.)
                                                                    Hausfeld serves as co-lead counsel in this case alleging
                                                                    financial institutions participated in a conspiracy to
Hausfeld, ‘one of the most capable                                  manipulate a key benchmark in the foreign exchange
plaintiffs’ firms involved in the area of                           market. To date, the firm has obtained over $2.3 billion in
                                                                    settlements from fifteen defendants. The case is ongoing
civil cartel enforcement,’ is [w]idely                              against the remaining defendant.
recognised as a market leader for
                                                                  • In re LIBOR-Based Financial Instruments Antitrust
claimant-side competition litigation…
                                                                    Litig., No. 11-md-2262 (S.D.N.Y.)
[It is the] market leader in terms of                               Hausfeld serves as co-lead counsel in this case against
quantity of cases, and also the most                                sixteen of the world’s largest financial institutions for
advanced in terms of tactical thinking.                             conspiring to fix LIBOR, the primary benchmark for
                                                                    short-term interest rates. To date, the firm has obtained
The Legal 500                                                       $590 million in settlements with four defendants. An
                                                                    antitrust class has been certified and the case is ongoing
on some of the most storied institutions. Hausfeld is not           against the remaining defendants.
only trusted by its clients, it is trusted by judges to pursue
                                                                  • In re Blue Cross Blue Shield Antitrust Litig., No.
these claims, as evidenced by the fact that the firm has been
                                                                    13-mdl- 2496 (N.D. Ala.)
appointed as lead or co-lead counsel in dozens of antitrust
                                                                    The Court appointed Hausfeld attorneys as co-lead
cases in the last decade. In one example, Judge Morrison C.
                                                                    counsel, and to the Plaintiffs’ Steering Committee, in this
England of the Eastern District of California praised Hausfeld
                                                                    case against Blue Cross Blue Shield entities. This case
for having “the breadth of experience, resources and talent
                                                                    was brought against over 30 Blue Cross companies and its
necessary to navigate” cases of import.
                                                                    trade association (BCBSA), and alleges that they illegally
Recognizing the firm’s antitrust prowess, Global Competition        agreed not to compete with each other for health insurance
Review has opined that Hausfeld is “one of—if not the—              subscribers across the United States. After defeating
top Plaintiffs’ antitrust firm in the U.S.” The Legal 500 and       motions to dismiss, Hausfeld marshalled evidence from a
Chambers and Partners likewise consistently rank Hausfeld           record that consisted of over 14 million documents from
among the top five firms in the United States for antitrust         more than thirty defendants and won a landmark ruling
                                                                    when the district court ruled that the per se standard would

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    be applied to defendants’ conduct. In November 2020, the     • In re Air Cargo Shipping Services Antitrust Litig.,
    Court granted preliminary approval to the proposed             No. 06-md-1775 (E.D.N.Y.)
    settlement agreement resolving the claims of Blue Cross        Hausfeld served as co-lead counsel in this case alleging
    Blue Shield subscribers for $2.67 billion. In addition to      over thirty international airlines engaged in a conspiracy to
    monetary relief, the settlement proposes systemic              fix the price of air cargo shipping services. The firm
    injunctive relief that will change the landscape for           negotiated more than $1.2 billion in settlements from over
    competition in healthcare.                                     30 defendants for the class, won certification of the class
                                                                   and defeated the defendants’ motions for
• O’Bannon v. NCAA, No. 09-cv-03329 (N.D. Cal.)                    summary judgment.
  In the landmark O’Bannon litigation, Hausfeld represented
  college athletes who collectively alleged that the NCAA, its   • In re Packaged Seafood Products Antitrust Litigation,
  members, and its commercial partners, violated federal           No. 3:15-md-02670-JLS-MDD (S.D. Cal.)
  antitrust law by unlawfully foreclosing former players from      The Court appointed Hausfeld attorneys as sole interim
  receiving any compensation related to the use of their           lead counsel for the putative class of direct purchasers of
  names, images, and likenesses in television broadcasts,          packaged seafood products, alleging a price-fixing
  rebroadcasts, and videogames. In 2013, the plaintiffs            conspiracy among the leading U.S. manufacturers—
  announced a $40 million settlement agreement with                Chicken of the Sea, StarKist and Bumble Bee. Class
  defendant Electronic Arts, Inc., which left the NCAA as the      certification is currently being litigated.
  remaining defendant. Following trial in 2014, the Court
  determined that the NCAA had violated the antitrust laws       • In re Disposable Contact Lens Antitrust Litig.,
  and issued a permanent injunction. The Ninth Circuit             No. 3:15-md-2626-J-20JRK (M.D. Fla.)
  affirmed the NCAA’s violation of the antitrust laws and          Hausfeld serves as one of the three co-lead counsel for a
  upheld significant injunctive relief—the practical effect of     nationwide class of consumers alleging horizontal and
  which is that college athletes can now each receive up to        vertical conspiracies by the four leading contact lens
  $5,000 more every year as part of their scholarship              manufacturers and their primary distributor to impose
  package (to cover their education, travel and medical            minimum resale price maintenance policies called
  expenses, and acquire pre-professional training as they          “unilateral pricing policies,” or “UPPs.” case. On June 16,
  enter the work force).                                           2016, the court overseeing the litigation denied the
                                                                   defendants’ motion to dismiss; on December 4, 2018, the
• In re Vitamin C Antitrust Litig., No. 06-md-01738 (E.D.N.Y.)     court certified litigation classes of consumers who
  Hausfeld serves as co-lead counsel in the first class            purchased contact lenses subject to UPPs; and on
  antitrust case in the United States against Chinese              November 27, 2019, the Court denied the defendants’ four
  manufacturers. Hausfeld obtained settlements for the class       motions for summary judgment. Plaintiffs have thus far
  of $22.5 million from two of the defendants—the first            reached settlements with three defendants in the case:
  after summary judgment, and the second just before               Bausch & Lomb, CooperVision, and ABB Optical Group
  closing arguments at trial. Days later, the jury reached a       totaling more than $40 million.
  verdict against the remaining defendants, and the court
  entered a judgment for $148 million after trebling the         • In re International Air Passenger Surcharge Antitrust
  damages awarded. On appeal to the U.S. Supreme Court,            Litig., No. 06-md-01793 (N.D. Cal.)
  our clients prevailed, and the case was remanded for             Hausfeld served as co-lead counsel in this case against
  further consideration by the Second Circuit.                     two international airlines alleged to have fixed fuel
                                                                   surcharges on flights between the United States and
                                                                   United Kingdom. Lawyers at the firm negotiated a ground-
                                                                   breaking $200 million international settlement that
                                                                   provides recovery for both U.S. purchasers under U.S.
                                                                   antitrust laws and U.K. purchasers under U.K.
                                                                   competition laws.




4    HAUSFELD FIRM RESUME                                                                                    www.hausfeld.com
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• In re Municipal Derivatives Antitrust Litig., No. 08-cv-      • In re American Express Anti-Steering Rules Antitrust
  2516 (S.D.N.Y.)                                                 Litig., No. 11-md-2221 (E.D.N.Y)
  Hausfeld served as co-lead counsel in this case against         As lead counsel, Hausfeld represents a two classes of
  banks, insurance companies, and brokers accused of              merchants against American Express (“Amex”): Amex-
  rigging bids on derivative instruments purchased by             accepting merchants and merchants that accept Visa,
  municipalities. The firm obtained over $200 million in          MasterCard, and/or Discover cards but not Amex (the “V/
  settlements with more than ten defendants.                      MC/D Class”). The merchants allege that Amex violated
                                                                  antitrust laws by requiring them to accept all Amex cards,
• In re Automotive Aftermarket Lighting Products                  and by preventing them from steering their customers to
  Antitrust Litig., No. 09-ML-2007 (C.D. Cal.)                    other payment methods. The V/MC/D Class also asserted
  Hausfeld served as co-lead counsel in this case against         that Amex’s conduct had, among other things, created an
  three manufacturers for participating in an international       elevated price “umbrella” marketwide and stifled price
  conspiracy to fix the prices of aftermarket automotive          competition among other card networks. In January 2020,
  lighting products. The firm obtained over $50 million           Judge Garaufis granted Amex’s motion to compel
  in settlements.                                                 arbitration of the Amex Class’ claims, and he dismissed the
                                                                  V/MC/D Class’ claims. An appeal addressing umbrella
• In re Processed Egg Products Antitrust Litig., No.              liability is pending.
  08-cv-04653 (E.D. Pa.)
  Hausfeld served as co-lead counsel in this case alleging      • In re Domestic Airline Travel Antitrust Litig., No.
  that egg producers, through their trade associations,           15-1404 (CKK) (D.D.C.)
  engaged in a scheme to artificially inflate egg prices by       Hausfeld serves as co-lead counsel for a proposed class
  agreeing to restrict the supply of both laying hens and         of domestic air passengers that collectively allege the
  eggs. The firm obtained over $135 million in settlements,       defendants, the four major U.S. passenger air carriers
  won certification of a class of shell egg purchasers, and       — United, American, Delta, and Southwest — conspired to
  tried the case against the remaining defendants.                fix domestic airfares by colluding to limit their respective
                                                                  capacity. The passengers allege that Defendants, in which
• In re Fresh and Process Potatoes Antitrust Litig., No.          a common set of investors owned significant shares during
  10-MD-2186 (D. Idaho)                                           the conspiracy period, carried out the conspiracy through
  Hausfeld served as chair of the executive committee in this     repeated assurances to each other on earnings calls and
  case alleging that potato growers, their cooperatives,          other statements that they each were engaging in “capacity
  processors, and packers conspired to manipulate the price       discipline”. In October 2016, the court denied defendants’
  and supply of potatoes. In defeating defendants’ motion to      motion to dismiss. Since that time, the firm has obtained
  dismiss, the firm secured a judicial determination that         $60 million in settlements with American and Southwest.
  supply restrictions are not protected conduct under a           The litigation against United and Delta is ongoing.
  limited federal antitrust exemption available to certain
  grower associations—a novel question that had never
  before been decided by any court. The firm obtained
  $19.5 million in settlements and valuable injunctive relief
  prohibiting future production limitation agreements,
  achieving global resolution of the case.




5   HAUSFELD FIRM RESUME                                                                                   www.hausfeld.com
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Litigation achievements
Significant trial victories                                        are proud of our record of successful dispute resolution.
                                                                   Among our settlement achievements, a selection of cases
While many law firms like to talk about litigation experience,
                                                                   merit special mention.
Hausfeld lawyers regularly bring cases to trial—and win.
Among our trial victories are some of the largest antitrust        Most recently, on November 30, 2020, the Court granted
cases in the modern era. For example, in O’Bannon v.               preliminary approval to the proposed settlement agreement
NCAA (N.D. Cal.), we conducted a three-week bench trial            in In re Blue Cross Blue Shield Antitrust Litigation
before the chief judge of the Northern District of California,     (M.D. Ala.), resolving the claims of Blue Cross Blue Shield
resulting in a complete victory for college athletes who           subscribers represented by Hausfeld for $2.67 billion. In
alleged an illegal agreement among the National Collegiate         addition to monetary relief, the settlement proposes systemic
Athletic Association and its member schools to deny                injunctive relief that will change the landscape for competition
payment to athletes for the commercial licensing of their          in healthcare.
names, images, and likenesses. Our victory in the O’Bannon
litigation followed the successful trial efforts in Law v.         In the high profile In re Foreign Exchange Benchmark
NCAA (D. Kan.), a case challenging earning restrictions            Rates Antitrust Litigation (S.D.N.Y.), we negotiated
imposed on assistant college coaches in which the jury             settlements totaling more than $2.3 billion with fifteen
awarded $67 million to the class plaintiffs that one of our        banks accused of conspiring to manipulate prices paid in
lawyers represented.                                               the foreign-exchange market. In another case involving
                                                                   allegations of pricefixing among the world’s largest airfreight
In In re Vitamin C Antitrust Litigation (E.D.N.Y.), we             carriers, In re Air Cargo Shipping Services Antitrust
obtained, on behalf of our direct purchaser clients, a             Litigation (E.D.N.Y.), we negotiated settlements with more
$148 million jury verdict and judgment against Chinese             than 30 defendants totaling over $1.2 billion—all in advance
pharmaceutical companies that fixed prices and controlled          of trial. In the ongoing In re: LIBOR-Based Financial
export output of Vitamin C—on the heels of $22.5 million           Instruments Antitrust Litigation (S.D.N.Y.) case, we
in settlements with other defendants, which represented            have secured settlements to date totaling $590 million with
the first civil settlements with Chinese companies in a U.S.       Barclays ($120 million), Citi ($130 million), Deutsche Bank
antitrust cartel case. Years earlier, we took on a global          ($240 million), and HSBC ($100 million). The court has
vitamin price-fixing cartel in In re Vitamins (D.D.C.), in which   granted final approval to each of these settlements.
we secured a $1.1 billion settlement for a class of vitamin
purchasers and then took the remaining defendants to trial,        Hausfeld served as class counsel in Hale v. State Farm
culminating in a $148 million jury verdict.                        Mutual Automobile Insurance Co. (S.D.Ill.). This case
                                                                   involved allegations that State Farm worked to help elect
Our trial experience extends to intellectual property matters      an Illinois state supreme court justice in order to overturn
and general commercial litigation as well. Recently, we            a billion-dollar judgment against it. On the day opening
represented entertainment companies that sought to hold            statements were to be delivered to the jury, State Farm
internet service provider Cox Communications accountable           agreed to settle for $250 million. Finally, in the global Marine
for willful contributory copyright infringement by ignoring the    Hose matter, we broke new ground with the first private
illegal downloading activity of its users. Following a trial in    resolution of a company’s global cartel liability without any
BMG Rights Management (US) LLC, v. Cox Enterprises,                arbitration, mediation, or litigation. That settlement enabled
Inc. (E.D. Va.), the jury returned a $25 million verdict for       every one of Parker ITR’s non-US marine-hose purchasers
our client. After the defendants appealed and prior to a new       to recover up to 16% of their total purchases.
trial, the parties settled.
                                                                   These cases are just a few among dozens of landmark
                                                                   settlements across our practice areas.
Exceptional settlement results
Over the past decade, Hausfeld has recouped over
$20 billion for clients and the classes they represented. We


6   HAUSFELD FIRM RESUME                                                                                        www.hausfeld.com
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Reputation and leadership in the antitrust bar
Court commendations
Judges across the country have taken note of Hausfeld’s
experience and results achieved in antitrust litigation.      Hausfeld lawyers achieved ‘really, an
                                                              outstanding settlement in which a group of
                                                              lawyers from two firms coordinated the work…
                                                              and brought an enormous expertise and then
All class actions generally are more complex                  experience in dealing with the case.’
than routine actions… But this one is a doozy.                Hausfeld lawyers are ‘more than competent.
This case is now I guess nearly more than                     They are outstanding.’
ten years old. The discovery as I’ve noted has                – Judge Charles R. Breyer
been extensive. The motion practice has been                  In re International Air Passenger Surcharge Antitrust Litig.,
extraordinary… The recovery by the class is                   No. 06-md-01793 (N.D. Cal.) (approving a ground-breaking
                                                              $200 million international settlement that provided recovery
itself extraordinary. The case, the international
                                                              for both U.S. purchasers under U.S. antitrust laws, and U.K.
aspect of the case is extraordinary. Chasing
                                                              purchasers under U.K. competition laws.)
around the world after all these airlines is an
undertaking that took enormous courage.
– Judge Brian M. Cogan
In re Air Cargo Shipping Services Antitrust Litigation, No.
                                                              Hausfeld has ‘the breadth of experience,
06-md-1775 (E.D.N.Y.)
                                                              resources and talent necessary to navigate a
                                                              case of this import.’
                                                              Hausfeld ‘stands out from the rest.’
                                                              – District Judge Morrison C. England Jr.
Comparing Hausfeld’s work through trial to
                                                              Four In One v. SK Foods, No. 08-cv-3017 (E.D. Cal.)
Game of Thrones: ‘where individuals with
seemingly long odds overcome unthinkable
challenges… For plaintiffs, their trial victory in
this adventurous, risky suit, while more than a
                                                              The class is represented by what I would
mere game, is nothing less than a win…’
                                                              describe as an all-star group of litigators…
– Magistrate Judge Nathanael M. Cousins
O’Bannon v. Nat’l College Athletic Ass’n, No. 09-cv-3329      – District Judge David R. Herdon
(N.D. Cal.)                                                   Hale v. State Farm, No. 12-cv-00660-DRH-SCW (S.D. Ill.)




7   HAUSFELD FIRM RESUME                                                                                 www.hausfeld.com
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Awards and recognitions
                           The Legal 500
                           In 2020, for the 11th consecutive year, Hausfeld was ranked in the top tier nationally for firms in
                           antitrust civil litigation and class actions by The Legal 500. The publication described Hausfeld
                           lawyers as “pragmatic, smart and focused litigation experts,” and the firm as “at the top of its
                           game,” with “a number of heavyweight practitioners.” The publication has previously stated that:

                           “DC firm Hausfeld LLP remains top-notch in antitrust litigation… Hausfeld LLP is one of the
                           most capable plaintiffs firms involved in the area of civil cartel enforcement, and is handling
                           some of the major cartel-related cases…”

                           The Legal 500 has also recognized that Hausfeld is a “market transformer,” the “most
                           innovative firm with respect to antitrust damages,” is “[d]riven by excellence,” “anticipates
                           the evolving needs of clients,” and delivers “outstanding advice not only in legal terms but
                           also with a true entrepreneurial touch. . . .”


                           Concurrences
                           In 2020, the Hausfeld Competition Bulletin article titled, “Data Exploiting as an Abuse of
                           Dominance: The German Facebook Decision,” authored by Hausfeld lawyer Thomas Höppner,
                           was awarded Concurrences’ 2020 Writing Award in its Unilateral Conduct (Business) category.

                           In 2018, an article authored by Hausfeld lawyer Scott Martin, joined by co-authors Brian
                           Henry and Michaela Spero, was awarded Concurrences’ 2018 Writing Award for Private
                           Enforcement (Business) Category. The article, “Cartel Damage Recovery: A Roadmap for
                           In-House Counsel,” was originally published in Antitrust Magazine.

                           In 2017, Hausfeld’s Competition Bulletin was selected to be ranked among the top antitrust
                           firms distributing newsletters and bulletins. Hausfeld is the only Plaintiffs’ firm to be ranked,
                           and we secured the number one spot for Private Enforcement Newsletters.

                           In 2015, Hausfeld Partners Michael Hausfeld, Michael Lehmann and Sathya Gosselin won
                           the Concurrences’ 2015 Antitrust Writing Awards in the Private Enforcement (Academic)
                           category for their article, “Antitrust Class Proceedings—Then and Now,” Research in Law
                           and Economics, Vol. 26, 2014.


                           Benchmark Litigation
                           In 2020, Benchmark Litigation highlighted Hausfeld as a leader in the domain of dispute
                           resolution, recognizing the firm at the national level, as well as regionally on both coasts.

                           Hausfeld was ranked by Benchmark for Antitrust/Competition Nationwide, and is one
                           of only a small handful of plaintiff-side firms on the list. Hausfeld was also honored as a
                           ‘Recommended Top Plaintiff Firm’ Nationwide, and described by the publication as“an
                           undisputed trailblazer, identified as a ubiquitous presence by peers on both the plaintiff and
                           defense sides of the ‘V’.” A peer on the defense side commented to the publication that
                           Hausfeld is always in mix among antitrust and sports matters, “at least in the biggest and
                           best cases.” Further to Hausfeld’s national recognitions, Benchmark recognized several
                           individuals in the firm’s San Francisco and Washington, DC offices.


8   HAUSFELD FIRM RESUME                                                                                  www.hausfeld.com
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                           2019 Antitrust Report
                           Hausfeld has been recognized as the leading plaintiffs’ firm for class recovery in antitrust
                           litigation between 2009 and 2019. This statistic was noted in the “2019 Antitrust Annual
                           Report” released jointly by the University of San Francisco Law School and The Huntington
                           National Bank. Hausfeld was listed as the top firm out of the 25 analyzed in this section of
                           the report, having achieved an aggregate settlement class recovery totaling nearly $5.2
                           billion over 11 years.


                           Who’s Who Legal
                           In 2019, Who’s Who Legal honored Hausfeld as the ‘Competition Plaintiff Firm of the Year,’
                           noting that the firm is, “a giant in the competition plaintiff field that once again demonstrates
                           the strength and depth of its expertise...”

                           In 2018, the publication recognized the firm as “[a] powerhouse in the plaintiffs’ litigation
                           field, with particularly deep capability in competition matters,” highlighting “nine
                           outstanding litigators.”


                           Financial Times
                           In 2019, the Financial Times named Hausfeld one of the 25 ‘Most Innovative Law Firms:
                           Overall’ in North America. Notably, Hausfeld was the only plaintiffs’ firm to make the
                           list. In 2018, the Financial Times’ Innovative Lawyers Report honored Hausfeld with the
                           ‘Innovation in Legal Expertise - Dispute Resolution’ award for the firm’s work with Dutch
                           transportation insurer TVM. The Financial Times followed up this award by commending
                           Hausfeld in its 2018 North America Innovative Lawyers Report for its representation of
                           plaintiffs in In Re Foreign Exchange Benchmark Rates Antitrust Litigation. Hausfeld is
                           proud to be the only plaintiffs’ firm to have received recognition in the category of ‘dispute
                           resolution’ for 2018 on both sides of the Atlantic.

                           In 2016, the Financial Times named Hausfeld as a top innovative law firm. Writing about
                           Hausfeld’s innovation in the legal market, the Financial Times noted: “The firm has taken
                           the litigation finance model to Germany, to turn company inhouse legal departments into
                           profit centres.”

                           In 2015, Michael Hausfeld was recognized by the Financial Times as one of the Top 10
                           Innovative Lawyers in North America.

                           In 2013, Hausfeld won the Financial Times Innovative Lawyer Dispute Resolution Award.
                           The FT stated that Hausfeld has “[p]ioneered a unique and market-changing litigation
                           funding structure that improved accessibility and enabled victims to pursue actions with
                           little or no risk.”




9   HAUSFELD FIRM RESUME                                                                                www.hausfeld.com
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                            Global Competition Review
                            In 2018, Hausfeld attorneys were awarded Global Competition Review’s “Litigation of the
                            Year – Cartel Prosecution” commending its work on In re Vitamin C Antitrust Litigation.
                            In this historic case, the Supreme Court ruled in favor of Hausfeld’s clients, setting forth
                            criteria and a framework for courts to use when assessing the credibility and weight to give
                            to a foreign government’s expression of its own laws.

                            In 2016, Hausfeld was awarded Global Competition Review’s “Litigation of the Year –
                            Cartel Prosecution” for its work on In re Foreign Exchange Antitrust Benchmark Litigation.
                            The award recognized Hausfeld’s success in the Foreign Exchange litigation to date, which
                            has included securing settlements for more than $2.3 billion in on behalf of a class of
                            injured foreign exchange investors and overcoming three motions to dismiss in the action.

                            In 2015, Hausfeld attorneys were awarded Global Competition Review’s “Litigation of the
                            Year – Non-Cartel Prosecution,” which recognized their trial victory in O’Bannon v. NCAA,
                            a landmark case brought on behalf of college athletes challenging the NCAA’s restrictions
                            on payment for commercial licensing of those athletes’ names, images, and likenesses in
                            various media.


                            U.S. News & World Report
                            Since 2016, U.S. News & World Report – Best Law Firms has named Hausfeld to its top
                            tier in both Antitrust Law and Litigation, and among its top tiers in Commercial Litigation.
                            Hausfeld was also recognized in New York, San Francisco, and Washington, DC in
                            Antitrust Law, Litigation, Mass Torts and Commercial Litigation.


                            American Antitrust Institute
                            In 2018, Hausfeld and its co-counsel received the American Antitrust Institute’s award for
                            ‘Outstanding Antitrust Litigation Achievement in Private Law Practice’ for their trial and
                            appellate victories in In re Vitamin C Antitrust Litigation.

                            In 2016, the American Antitrust Institute honored two Hausfeld case teams—In re Air
                            Cargo Shipping Services Antitrust Litig. (E.D.N.Y.) and In re Municipal Derivatives Antitrust
                            Litig. (S.D.N.Y.)—with its top award for Outstanding Antitrust Litigation Achievement in
                            Private Law Practice. Taken together, these two cases have yielded settlements of over
                            $1.4 billion to class members after nearly a decade of litigation. The award celebrates
                            private civil actions that provide significant benefits to clients, consumers, or a class and
                            contribute to the positive development of antitrust policy.

                            In 2015, Hausfeld and fellow trial counsel won the American Antitrust Institute’s award
                            for Outstanding Antitrust Litigation Achievement in Private Law Practice for their trial and
                            appellate victories in O’Bannon v. NCAA.




10   HAUSFELD FIRM RESUME                                                                               www.hausfeld.com
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                            Chambers & Partners
                            In 2021, Chambers and Partners named Hausfeld to its highest tier, Band 1, for “Antitrust:
                            Plaintiff – USA – Nationwide,” noting that the firm is:

                            “able to deploy a deep bench of trial attorneys with outstanding litigation experience,” and
                            is “renowned for its abilities representing plaintiffs in multidistrict class action antitrust suits
                            across the country involving a wide variety of antitrust issues.”

                            Clients reported to the publication that “Hausfeld is a great partner that makes sure to
                            understand our perspective,” and peers have commended the firm’s “terrific, deep bench.”

                            Hausfeld was one of just five law firms ranked in Band 1. Hausfeld’s New York office was
                            also named to Band 1 for “Antitrust: Mainly Plaintiff – New York.”

                            The publication has also previously noted the firm’s attributes as including:
                            • A reputation as a “[m]arket-leading plaintiffs’ firm with considerable experience in antitrust
                              class action suits and criminal cartel investigations.”
                            • “[N]umerous successes in the area, resulting in major recovery or settlements for its clients.”
                            • Firm Chair Michael Hausfeld’s record as “a very successful and able antitrust litigator,”
                              and “one of the titans of the Plaintiffs Bar.”

                            Additionally, between 2016 and 2020, Chambers & Partners UK ranked Hausfeld in the top
                            tier among London firms representing private claimants in competition matters and
                            recognized the firm’s accomplishments in Banking Litigation.


                            National Law Journal
                            In 2015, Hausfeld was named to the National Law Journal’s “Plaintiffs Hot List” for the
                            fourth year in a row. The publication elaborated:

                            “Hausfeld’s creative approaches underpinned key antitrust wins last year, including a
                            trailblazing victory for former college athletes over the use of their likenesses in television
                            broadcasts and video games…” and Hausfeld, along with its co-counsel, “nailed down a
                            $99.5 million settlement with JPMorgan Chase & Co. in January in New York federal court
                            for alleged manipulation of market benchmarks. And it helped land nearly $440 million in
                            settlements last year, and more than $900 million thus far, in multidistrict antitrust litigation
                            against air cargo companies.”

                            In 2014, The National Law Journal named Hausfeld as one of a select group of America’s
                            Elite Trial Lawyers, as determined by “big victories in complex cases that have a wide
                            impact on the law and legal business.” The award notes that Hausfeld is among those
                            “doing the most creative and substantial work on the plaintiffs side.”




11   HAUSFELD FIRM RESUME                                                                                   www.hausfeld.com
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Diversity, equity                                                 Selected articles
                                                                  • “Umbrella Liability: Has Its Time Come?” Michael D.
& inclusion                                                         Hausfeld and Irving Scher, Competition Policy International
                                                                    (October 24, 2020)
Hausfeld is committed to diversity and inclusion, because
we know that embracing a variety of viewpoints and                • “Third Circuit’s Suboxone Class Certification
backgrounds allows us to gain better insights and strengthen        Affirmance Clarifies Commonality and Predominance
our practice. Our diversity is reflected throughout our dozens      Requirements,” Swathi Bojedla, Hausfeld Competition
of case teams leading class actions across the country. We          Bulletin/Lexology (Fall 2020)
are proud that half of our lawyers are women, who lead some
                                                                  • “Class Actions & Competition Law, An Overview Of
of the largest price-fixing and market manipulation antitrust
                                                                    EU and National Case Law,” Michael D. Hausfeld,
MDLs in the United States on behalf of our firm.
                                                                    Anthony Maton, David R. Wingfield, Concurrences
Hausfeld’s Diversity, Equity and Inclusion Committee is             e-Competition Bulletin - Special Issue on Class Actions
committed to examining and improving all aspects of our             (August 27, 2020)
hiring, benefits, training, support, and promotion practices to
ensure that we maintain the highest standards for ourselves,      • “Personal Jurisdiction in Federal Class Actions: Three
and continually strive for improvement. We seek to ensure           New Rulings but Little Clarity,” Sarah LaFreniere,
that all of our attorneys are provided the resources they need      Hausfeld Competition Bulletin/Lexology (Spring 2020)
to excel, and are given opportunities to lead, both within and
                                                                  • “In Defense of Class Actions: A Response to Makan
outside the firm.
                                                                    Delrahim’s Commentary on the UK Mastercard Case,”
                                                                    Michael D. Hausfeld, Irving Scher, Laurence T. Sorkin,
Thought leadership                                                  Competition Policy International (June 8, 2020)

Hausfeld lawyers do more than litigation. They exercise           • “From Silicon Valley to the Burger Joint: The Evolving
thought leadership in many fields. Hausfeld lawyers host,           Landscape of Vertical ‘No-Poach’ Cases,” Jeanette
lecture at, and participate in leading legal conferences            Bayoumi, Hausfeld Competition Bulletin/Lexology (Fall 2019).
worldwide and address ground-breaking topics including:
the pursuit of damages actions in the United States and           • “The Federal Trade Commission Slams Impax/Endo
the European Union on behalf of EU and other non-U.S.               Reverse Payments Settlement,” Melinda R. Coolidge
plaintiffs; nascent private civil enforcement of EU competition     and Katie R. Beran, Hausfeld Competition Bulletin/
laws; application of the FTAIA; the impact of Wal-Mart              Lexology (Summer 2019).
Stores, Inc. v. Dukes and Comcast Corp. v. Behrend on class
                                                                  • “Arbitrability – Which Is To Be Master?” Walter D.
certification; reforms to the Federal Civil Rules of Procedure;
                                                                    Kelley Jr., Hausfeld Competition Bulletin/Lexology
emerging issues in complex litigation; and legal technology
                                                                    (Spring 2019).
and electronic discovery.

Hausfeld attorneys have presented before Congressional            • “Social Media and Antitrust: A Discovery Primer,”
subcommittees, regulators, judges, business leaders,                Nathaniel C. Giddings & Aaron Patton, Antitrust Magazine
in-house counsel, private lawyers, public-interest advocates,       (Summer 2018).
elected officials and institutional investors, and hold
                                                                  • “The Role of Comity in Antitrust Discovery,” Steven
leadership positions in organizations such as the American
                                                                    Nathan and Irving Scher, Hausfeld Competition Bulletin/
Bar Association, the American Antitrust Institute, the Women
                                                                    Lexology (Spring 2018).
Antitrust Plaintiffs’ Attorneys network group, the Sedona
Conference and the Institute for the Advancement of the           • “The Volkswagen Scandal: Catalyst for Class Action
American Legal System.                                              Change?” Sarah LaFreniere (Co-Author), Law360 (Feb.
                                                                    27, 2018).



12   HAUSFELD FIRM RESUME                                                                                    www.hausfeld.com
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• “Are Nationwide Classes at Risk for Overturned              • “Antitrust Class Proceedings – Then and Now,”
  Settlements following the Ninth Circuit’s Ruling in           Michael D. Hausfeld, Gordon C. Rausser, Gareth J.
  Hyundai?” Jeanette Bayoumi, Hausfeld Competition              Macartney, Michael P. Lehmann, Sathya S. Gosselin,
  Bulletin/Lexology (Winter 2018).                              Research in Law and Economics (Vol. 26, 2014)—
                                                                Recipient of Concurrences’ 2015 Antitrust Writing Award
• “Litigating Indirect Purchasers Claims: Lessons for           for Private Enforcement (Academic) Category.
  the EU from the U.S. Experience,” Michael D. Hausfeld,
  Irving Scher, and Laurence Sorkin, Antitrust Magazine       • “Chapter 39: USA,” Brent W. Landau and Brian A. Ratner,
  (Fall 2017)                                                   The International Comparative Legal Guide to Cartels &
                                                                Leniency (Ch. 39, 2014).
• “Cartel Damage Recovery: A Roadmap for In-House
  Counsel,” Scott Martin, Michaela Spero, and Brian Henry,    • “Prosecuting Class Actions and Group Litigation
  Antitrust Magazine (Fall 2017)—Recipient of                   – Understanding the Rise of International Class and
  Concurrences’ 2018 Antitrust Writing Award for Private        Collective Action Litigation and How this Leads to
  Enforcement (Business) Category.                              Classes that Span International Borders,” Michael D.
                                                                Hausfeld and Brian A. Ratner, World Class Actions (Ch.
• “Oligopoly & No Direct Evidence? Good Luck, Says              26, 2012)
  Third Circuit,” Christopher Lebsock and Samantha Stein,
  Hausfeld Competition Bulletin/Lexology (Fall 2017).         • “’CAT’-astrophe: The Failure of ‘Follow-On’ Actions,”
                                                                Michael D. Hausfeld, Brent W. Landau, and Sathya S.
• “Damage Class Actions After Comcast: A View from              Gosselin, International Cartel Workshop, Presented by the
  the Plaintiffs’ Side,” Michael D. Hausfeld and Irving         ABA Section of Antitrust Law & The International Bar
  Scher, Antitrust Magazine (Spring 2016).                      Association (Feb. 1-3, 2012).

• “Proving Damages in Consumer Class Actions,”                • “Private Enforcement of Antitrust Law in the United
  James J. Pizzirusso, Consumer Protection Committee, Vol.      States, A Handbook - Chapter 4: Initiation of a Private
  22/No. 1, ABA Section of Antitrust Law (March 2016).          Claim,”Michael D. Hausfeld and Brent W. Landau, et
                                                                al., (2012).
• “Courts determine that non-cash consideration is
  subject to antitrust scrutiny under Actavis,” Jeannine      • “The Novelty of Wal-Mart v. Dukes,” Brian A. Ratner and
  Kenney, Hausfeld Competition Bulletin/Lexology                Sathya S. Gosselin, American Bar Association, Business
  (Oct. 2015).                                                  Torts & Civil RICO Committee, Business Torts & RICO
                                                                News, Vol. 8, Issue 1, (Fall 2011).
• “Earning ACPERA’s Civil Benefits,” Bonny E. Sweeney,
  29 Antitrust Magazine 37 (Summer 2015).

• “The FTC’s Revised Fred Meyer Guides: Back to the
  Sixties,” Irving Scher, Antitrust Source (February 2015).

• “Bundling Claims Under Section 1 of the Sherman Act:
  Focusing on Firms’ Abilities to Create Anticompetitive
  Effects in a Market, Rather Than Their Share of It,”
  Brent W. Landau and Gary Smith, Antitrust Health Care
  Chronicle, Vol. 28/ No. 1, ABA Section of Antitrust Law
  (Jan. 2015).




13   HAUSFELD FIRM RESUME                                                                              www.hausfeld.com
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EXPERIENCE


Antitrust/Competition

  In re Blue Cross Blue Shield Antitrust Litigation – In one of the largest and most complex antitrust class action cases ever litigated, Michael represents tens of millions of subscriber
  plaintiﬀs alleging higher premiums and loss of competition in the market for health insurance due to a conspiracy among 36 insurer defendants to allocate geographic territories. In
  November 2020, the Court granted preliminary approval to the proposed settlement agreement resolving the claims of Blue Cross Blue Shield subscribers for $2.67 billion.
  In re Rail Freight Fuel Surcharge Antitrust Litigation – Counsel to dozens of rail freight shippers in a high-proﬁle antitrust case concerning alleged fuel surcharge collusion among the
  nation’s largest rail freight carriers.
  O’Bannon v. NCAA – Trial counsel in this landmark litigation regarding pay for student athletes; negotiated $40 million settlement with Electronic Arts, Inc., which was distributed
  among current and former college athletes.
  In re Domestic Airline Travel Antitrust Litigation – Currently leading this class action lawsuit alleging a conspiracy by United, American, Delta, and Southwest to artiﬁcially inﬂate
  domestic airline ticket prices by limiting capacity growth. Although discovery is ongoing, settlements total $60 million to date.
  In re Libor-Based Financial Instruments Antitrust Litigation – Currently leading this class action lawsuit alleging a global conspiracy by some of the world’s largest ﬁnancial
  institutions to manipulate LIBOR. The manipulation of LIBOR, which is the primary benchmark for short-term interest rates for trillions of dollars-worth of ﬁnancial transactions
  worldwide, is alleged to have caused billions of dollars in damage to municipalities, businesses, and investors. Settlements with four out of the sixteen defendants total $590 million
  to date.
  In re Foreign Exchange Benchmark Rates Antitrust Litigation - Currently leading this high-stake lawsuit alleging a global conspiracy by some of the world’s largest ﬁnancial
  institutions to ﬁx and manipulate foreign exchange rates, which to date has resulted in settlements totaling over $2.3 billion on behalf of investors. For its work on the case, the ﬁrm
  received Global Competition Review’s award for ‘Litigation of the Year – Cartel Prosecution.’
  In re Vitamin C Antitrust Litigation – Represented plaintiﬀ class against Chinese vitamin C manufacturer defendants accused of price-ﬁxing in settlements and successful trial. On
  appeal, the U.S. Supreme Court ruled 9-0 in favor of Hausfeld’s clients, creating an important precedent for any transnational litigation where U.S. victims’ rights are threatened by
  interpretations of foreign law and international comity principles.
  In re Vitamins Antitrust Litigation – Served as counsel on this landmark case on behalf of vitamin direct purchasers who were overcharged as a result of a ten-year global price-ﬁxing
  and market allocation conspiracy. The case settled for over $1 billion, and in 2003 the case went to a jury trial resulting in a verdict of $148 million in trebled damages - the twelfth
  largest U.S. jury verdict that year.



Commercial & Financial Disputes

  In re Libor-Based Financial Instruments Antitrust Litigation - Currently leading this class action lawsuit alleging a global conspiracy by some of the world’s largest ﬁnancial
  institutions to manipulate LIBOR. The manipulation of LIBOR, which is the primary benchmark for short-term interest rates for trillions of dollars-worth of ﬁnancial transactions
  worldwide, is alleged to have caused billions of dollars in damage to municipalities, businesses, and investors. Settlements with four out of the sixteen defendants total $590 million
  to date.
  In re Foreign Exchange Benchmark Rates Antitrust Litigation - Currently leading this high-stake lawsuit alleging a global conspiracy by some of the world’s largest ﬁnancial
  institutions to ﬁx and manipulate foreign exchange rates, which to date has resulted in settlements totaling over $2.3 billion on behalf of investors. For its work on the case, the ﬁrm
  received Global Competition Review’s award for ‘Litigation of the Year – Cartel Prosecution.’
  MTB Investment Partners, LP v. Siemens Hearing Instruments, Inc. – Secured a securities fraud settlement that returned more than 115% of recognized losses after attorneys’ fees and
  expenses to former shareholders in HearUSA, Inc.



Environmental & Product Liability

  Children v. the Climate Crisis: Chiara Sacchi et al. v. Argentina, Brazil, France, Germany, and Turkey – In which Hausfeld and co-counsel Earthjustice represent 16 children from around
  the world, including Greta Thunberg and Alexandria Villaseñor, in a complaint ﬁled before the UN Committee on the Rights of the Child alleging violations of children’s rights to life,
  health, and culture by ﬁve members of the G20 whose failure to reduce carbon emissions is perpetuating climate change.



Human Rights

  South African Silicosis - Involved in litigation in both the UK and in in South Africa on behalf of South African gold miners who have suﬀered from silicosis. In South Africa, the
  Johannesburg High Court certiﬁed the case as a class action against most of South Africa’s gold mining industry. Following certiﬁcation, extensive negotiations resulted in a
  landmark settlement in May 2018.
  Low Income Bread Consumers - Currently at the forefront of competition claims in South Africa, having worked with South African counsel in groundbreaking litigation on behalf of
  low-income bread consumers. This case resulted in a landmark ruling by the Supreme Court of Appeal (SCA) which determined for the ﬁrst time the speciﬁc requirements for ﬁling a
  collective action in South African courts.
  Bhopal, India Union Carbide Plant - Represented residents of Bhopal, India who were exposed to toxic wastes. These wastes contaminated the soil and drinking water surrounding
  the infamous Union Carbide Plant, which was the site of the 1984 gas leak that killed and injured thousands of residents.
  Japanese "Comfort Women" - Represented former "comfort women," a title given to women and girls who were forced into sexual slavery during World War II.
                       Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 77 of 150
Sports & Entertainment

   O’Bannon v. NCAA – Trial counsel in this landmark litigation regarding pay for student athletes; negotiated $40 million settlement with Electronic Arts, Inc., which was distributed
  among current and former college athletes.




OVERVIEW

Experience

Michael Hausfeld, widely recognized for his leadership on competition matters and his groundbreaking cases in human rights law, is the Chair of Hausfeld. Michael’s distinguished career
has included some of the largest and most successful class actions in the ﬁelds of human rights, discrimination and antitrust law.

Clients

Michael has an abiding interest in social reform, and has been a part of some of the most groundbreaking cases in that arena both in the U.S. and around the world. Michael was among
the ﬁrst lawyers in the U.S. to assert that sexual harassment was a form of discrimination prohibited by Title VII, and he successfully tried the ﬁrst case establishing that principle. He has
represented Native Alaskans whose lives were aﬀected by the 1989 Exxon Valdez oil spill and later negotiated a then-historic $176 million settlement from Texaco, Inc. in a racial-bias
discrimination case. In Friedman v. Union Bank of Switzerland, Michael represented a class of Holocaust victims whose assets were wrongfully retained by private Swiss banks during
and after World War II. The case raised novel issues of international banking law and international human rights law. In a separate case, he also successfully represented the Republic of
Poland, the Czech Republic, the Republic of Belarus, the Republic of Ukraine and the Russian Federation on issues of slave and forced labor for both Jewish and non-Jewish victims of
Nazi persecution. He has represented individuals and NGOs in litigation alleging liability for aiding and abetting the South African system of apartheid.

Michael has a long record of successful litigation in the antitrust ﬁeld, on behalf of individuals and classes, in cases involving monopolization, tie-ins, exclusive dealing and price ﬁxing. In
the landmark O’Bannon v. NCAA litigation, Michael represented a class of current and former Division I men's basketball and FBS football players against the NCAA and its member
institutions, based on rules foreclosing athletes from receiving compensation for the use of their names, images, and likenesses. At the conclusion of a three-week bench trial, the Court
determined that the NCAA had violated the antitrust laws and issued a permanent injunction as requested by the plaintiﬀs. He was a member of the ABA Antitrust Section’s Transition
Taskforce, which advised the incoming Obama Administration, and has chaired the ABA’s Civil Redress Committee. Michael has been co-lead counsel in antitrust cases against
manufacturers of genetically engineered foods, managed healthcare companies, bulk vitamin manufacturers, technology companies, and the world’s largest banking institutions. He is
involved in ongoing investigations of antitrust cases abroad and pioneering eﬀorts to enforce competition laws globally. He was the only private lawyer permitted to attend and
represent the interests of consumers worldwide in the 2003 closed hearings by the EU Commission in the Microsoft case.



EDUCATION

National Law Center George Washington University, J.D., with honors, 1969; Member, Order of the Coif

Brooklyn College, B.A. cum laude,1966



BAR ADMISSIONS

District of Columbia

New York



AFFILIATIONS

Co-Chair, ABA Civil Redress Committee, 2012-2013

Co-Chair, ABA Civil Redress Task Force, 2011-2012

Member, Editorial Board - Global Competition Litigation Review, 2011

Member, ABA International Cartel Task Force, 2010

Plaintiﬀs Fellow, Litigation Counsel of America

Adjunct Professor, George Washington University Law School, 1996-1998

Professor, Georgetown University Law Center, 1980-1987

Member, Board of Editors, George Washington Law Review (1968-1969)



NEWS

Two Hausfeld Competition Bulletin articles nominated by the Concurrences                           Rail shippers defeat BNSF, CSX, NS, and UP’s attempts to insulate
Antitrust Writing Awards 2021                                                                      anticompetitive conduct from liability


ANTITRUST / COMPETITION / UNITED STATES, GERMANY, GERMANY /                                        ANTITRUST / COMPETITION / UNITED STATES / FEB 19 2021
MAY 04 2021
                                                                                                   Hausfeld nominated for 'Litigation of the Year' and 'Litigator of the Year' by
Twelve Hausfeld lawyers across four regions named in 2021 Lawdragon                                GCR Awards 2021
'Global Litigation 500' list

                                                                                                   ANTITRUST / COMPETITION / UNITED STATES / FEB 18 2021
UNITED STATES, FRANCE, UNITED KINGDOM, NETHERLANDS / MAR 01 2021

Seven Hausfeld lawyers named to Lawdragon list of '500 Leading Lawyers in                          Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer
America' for 2021                                                                                  Guide 2020
                   Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 78 of 150
ANTITRUST / COMPETITION / ENVIRONMENTAL & PRODUCT LIABILITY /                    COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 28 2020
HUMAN RIGHTS / UNITED STATES / JAN 28 2021
                                                                                 Best Lawyers 2021 recognizes six Hausfeld lawyers on both coasts
Benchmark Litigation lauds Hausfeld as a 'plaintiﬀ-side ﬁrm to be reckoned
with'
                                                                                 ANTITRUST / COMPETITION / ENVIRONMENTAL & PRODUCT LIABILITY /
                                                                                 COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 20 2020
ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
UNITED STATES / OCT 12 2020

WWL 2020 counts 9 Hausfeld lawyers among world's top competition                 Children urge Norway to block Arctic oil and gas drilling to protect their
plaintiﬀ lawyers                                                                 rights to life and health


ANTITRUST / COMPETITION /                                                        ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS /
UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JUL 08 2020                     UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
                                                                                 BELGIUM /
The Legal 500 US (2020) ranks Hausfeld as ﬁrst tier in ‘Antitrust’ for an 11th   MAY 13 2020
consecutive year
                                                                                 Chambers and Partners USA (2020) again recognizes Hausfeld and its
                                                                                 lawyers in its highest tier
ANTITRUST / COMPETITION / UNITED STATES / JUN 12 2020

                                                                                 ANTITRUST / COMPETITION / UNITED STATES / APR 24 2020

Seven Hausfeld lawyers named to Lawdragon's 500 Leading Plaintiﬀ                 Hausfeld announces opening of Amsterdam oﬃce
Consumer Lawyers Guide 2020

                                                                                 ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / APR 16 2020                    FEB 13 2020

Five Hausfeld lawyers once again named to Lawdragon 500 list of Leading          WWL 2020 Competition Plaintiﬀ credits Hausfeld as only ﬁrm with 5
Lawyers in America                                                               'Thought Leaders'


ANTITRUST / COMPETITION / UNITED STATES / MAR 26 2020                            ANTITRUST / COMPETITION / UNITED STATES, UNITED KINGDOM / JAN 21 2020

The 16 Committee on the Rights of the Child petitioners, including Greta         Super Lawyers recognizes 21 Hausfeld lawyers spanning both coasts and
Thunberg and Ridhima Pandey, applaud Dutch Supreme Court ruling in               multiple practice areas
Urgenda

                                                                                 ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
HUMAN RIGHTS / ENVIRONMENTAL & PRODUCT LIABILITY /                               ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / UNITED STATES /
UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,             NOV 18 2019
BELGIUM /
DEC 20 2019                                                                      U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for
                                                                                 2020
Firm Founder and Chair Michael Hausfeld named a 'Lawdragon Legend' of
2019
                                                                                 ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                 UNITED STATES / NOV 01 2019
ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / UNITED STATES /
DEC 10 2019

16 young people ﬁle UN human rights complaint on climate change                  Hausfeld ﬁrm leadership transition plan announced


ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS /                               UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,             BELGIUM /
BELGIUM /                                                                        SEP 16 2019
SEP 23 2019
                                                                                 Hausfeld and co-counsel win Public Justice's 2019 Trial Lawyer of the Year
Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer            Award
Guide 2019

                                                                                 UNITED STATES / AUG 22 2019
COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / SEP 19 2019

Five Hausfeld lawyers named to Lawdragon’s 500 Leading Plaintiﬀ Consumer         Chambers and Partners USA (2019) recognizes Hausfeld and its lawyers in its
Lawyers Guide 2019                                                               highest tier


COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / JUL 26 2019                    ANTITRUST / COMPETITION / UNITED STATES / APR 29 2019

The Legal 500 US (2019) ranks Hausfeld as ﬁrst tier in 'Antitrust' for a 10th    US civil case ﬁled against former Sri Lankan Defense Secretary Gotabaya
consecutive year                                                                 Rajapaksa


ANTITRUST / COMPETITION / UNITED STATES / MAY 30 2019                            HUMAN RIGHTS / UNITED STATES / APR 12 2019

Hausfeld wins 'Lawyer of the Year' and 'Litigation of the Year - Cartel          Five Hausfeld lawyers recognised as 'Thought Leaders' for Competition by
Prosecution' at 9th Annual GCR Awards                                            Who's Who Legal


ANTITRUST / COMPETITION / UNITED STATES / MAR 27 2019                            ANTITRUST / COMPETITION /
                                                                                 UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JAN 28 2019

                                                                                 Financial Times Innovative Lawyers Report names Hausfeld a top ﬁrm for
                     Case 2:13-cv-20000-RDP Document 2733-2      Filed in05/28/21
Five Hausfeld lawyers named to Lawdragon 500 list of Leading Lawyers in
                                                       dispute resolution North AmericaPage 79 of 150
America

                                                                                                ANTITRUST / COMPETITION /
ANTITRUST / COMPETITION / UNITED STATES / FEB 28 2019                                           UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
                                                                                                BELGIUM /
                                                                                                DEC 20 2018

U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for                        Six Hausfeld lawyers recognized in 2019 edition of 'Best Lawyers in America'
2019

                                                                                                ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /                                     ENVIRONMENTAL & PRODUCT LIABILITY / UNITED STATES / AUG 28 2018
UNITED STATES / NOV 20 2018
                                                                                                Hausfeld announces ﬁnal approval of more than $2.3 billion in FX settlements
American Antitrust Institute recognizes Hausfeld attorneys Sarah LaFreniere,
Brian Ratner, Brent Landau, Melinda Coolidge and Michael Hausfeld for
                                                                                                ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
outstanding antitrust achievements
                                                                                                UNITED STATES / AUG 07 2018


ANTITRUST / COMPETITION / UNITED STATES / OCT 09 2018

Hausfeld clients succeed with competition complaint against Google's                            Vitamin C purchasers win unanimous Supreme Court victory in decade-long
Android practices, leading to € 4,34 BN ﬁne                                                     antitrust litigation


ANTITRUST / COMPETITION / GERMANY, UNITED KINGDOM / JUL 20 2018                                 ANTITRUST / COMPETITION / UNITED STATES / JUN 14 2018

16 Hausfeld lawyers recognized in 'Who's Who' of competition in the US and                      "At the top of its game" - The Legal 500 (2018) again recognizes Hausfeld
Europe                                                                                          and its lawyers as ﬁrst tier in Antitrust


ANTITRUST / COMPETITION /                                                                       ANTITRUST / COMPETITION / UNITED STATES / JUN 08 2018
UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JUN 20 2018

Chambers and Partners USA (2018) recognizes Hausfeld and its lawyers                            Hausfeld achieves historic healthcare ruling in Blue Cross Blue Shield
                                                                                                Antitrust Litigation

ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018
                                                                                                ANTITRUST / COMPETITION / UNITED STATES / MAY 03 2018
Who’s Who Legal recognizes Michael Hausfeld as Competition Plaintiﬀ
Lawyer of the Year and Hausfeld named Competition Plaintiﬀ Firm of the                          Hausfeld names Alex Petrasincu Partner and will open second German oﬃce
Year                                                                                            in Dusseldorf


ANTITRUST / COMPETITION / UNITED STATES / MAY 09 2018                                           ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                                ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / GERMANY /
                                                                                                FEB 16 2017




EVENTS

ABA's 2019 Global Private Litigation Conference


ANTITRUST / COMPETITION / BERLIN 17 JUN 2019




PUBLICATIONS

Umbrella liability: has its time come?                                                          In defense of class actions: a response to Makan Delrahim's commentary on
                                                                                                the UK Mastercard case

ANTITRUST / COMPETITION / UNITED STATES / NOV 19 2020
                                                                                                ANTITRUST / COMPETITION / UNITED STATES / JUN 09 2020
Can U.S. class action law serve as guidelines for the UK indirect purchaser
Mastercard case?                                                                                Lawdragon lawyer limelight: Michael D. Hausfeld


ANTITRUST / COMPETITION / UNITED STATES / AUG 18 2020                                           ANTITRUST / COMPETITION / UNITED STATES / MAY 19 2019

In addition, Michael has written extensively in a variety of legal publication over his career, including:

     "Class Actions & Competition Law, An Overview Of EU and National Case Law," Concurrences e-Competition Bulletin - Special Issue on Class Actions (Aug. 27, 2020), Co-Author
     with Anthony Maton, David R. Wingﬁeld
     "The Equitable Future of Intercollegiate Athletics," Competition Policy International's Antitrust Chronicle (April 28, 2020), Co-Author with Sathya S. Gosselin, Sarah D. LaFreniere,
     Eduardo Carlo
     "Litigating Indirect Purchasers Claims: Lessons for the EU from the U.S. Experience," Antitrust Magazine (Fall 2017), Co-Author with Irving Scher, Laurence Sorkin
     "Damage Class Actions After Comcast: A View from the Plaintiﬀs' Side," Antitrust Magazine (Spring 2016), Co-Author with Irving Scher
     "Antitrust Class Proceedings – Then and Now," Research in Law and Economics (Vol. 26, 2014), [Recipient of Concurrences’ 2015 Antitrust Writing Award for Private Enforcement
     (Academic) Category], Co-Author with Gordon C. Rausser, Gareth J. Macartney, Michael P. Lehmann, Sathya S. Gosselin
     "The Business of American Courts in Kiobel v. Royal Dutch Petroleum," Jurist - Sidebar (Oct. 2012), Co-Author with Kristen Ward
     "Prosecuting Class Actions and Group Litigation." World Class Actions, Ch. 26., (Sept. 2012), Co-Author with Brian A. Ratner, et al.
     "Private Enforcement of Antitrust Law in the United States, A Handbook - Chapter 4: Initiation of a Private Claim." (2012) Co-Author with Brent Landau, et al.
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     "The Importance of Private Competition Enforcement in Europe," Hackney Publications: Concussion Litigation Reporter, Vol. 1, No. 1, (July 2012), Co-Author with Swathi Bojedla
     "CAT-astrophe: The Failure of 'Follow-On' Actions," American Bar Association's International Cartel Workshop, (Feb. 2012), Co-Author with Brent W. Landau, Sathya S. Gosselin
     "Private Enforcement in Competition Law: An Overview of Developments in Law and Practice in the US and Europe," Bergamo University, (July 2011), Co-Author with Ingrid
     Gubbay
     "The Contingency Phobia - Fear Without Foundation," Global Competition Litigation Review, Issue 1 (Jan. 2011), Author
     "Competition Law Claims – A Developing Story," The European Antitrust Review (2010), Author
     "Initiation of a Private Claim," International Handbook on Private Enforcement (2010), Author
     "The United States Heightens Plaintiﬀ’s Burden of Proof on Class Certiﬁcation: A Response," Global Competition Litigation Review (Volume 2 Issue 4/2009), Author
     "Global Enforcement of Anticompetitive Conduct," The Sedona Conference Journal (Fall 2009), Author
     "Observations from the Field: ACPERA’s First Five Years," The Sedona Conference Journal (Fall 2009), Author
     "Twombly, Iqbal and the Prisoner’s Pleading Dilemma," Law360 (Oct. 22, 2009), Author
     "The Value of ACPERA," Law360 (June 2, 2009), Author
     "Collective Redress for Competition Law Claimants," The European Antitrust Review (2008), Author
     "Managing Multi-district Litigation," The Antitrust Review of the Americas (2008), Author
     "A Victim's Culture," European Business Law Review (2007), Author

Press:

     "The Toughest Lawyer in America Is On Your Side," Neal Gabler, Playboy Magazine (Feb. 2015)
     "Gangster Bankers - Too Big to Jail," Matt Taibbi, Rolling Stone Magazine (Feb. 2013)
     "UBS Mea Culpa May Give Libor Antitrust Plaintiﬀs Upper Hand," Max Stendahl, Law360 (Dec. 2012)
     "DOJ Heralds 'Robust' UBS Deal; Gibson Dunn on Defense," Mike Scarcella, The AmLaw Litigation Daily (Dec. 2012)
     "Documents May Boost Civil Suits - Revelations That Rate-Rigging Succeeded Could Prove Expensive to Banks Facing Litigation," Dana Cimilluca and Jean Eaglesham, Wall Street
     Journal (Dec. 2012)
     "Banks Facing New Wave of Mortgage Lawsuits," Forrest Jones, Moneynews (Dec. 2012)
     "Where There's a Will, There's a Way," The American Lawyer (March 2012)
     "The Great Gamble," Global Competition Review (March 2012)



WHAT OTHERS SAY

Benchmark Litigation

  National Practice Area Star, and Local Litigation Star in 2021

"Few would contest that the ﬁrm's legacy is credited to ﬁrm founder and visionary Michael Hausfeld, the name partner who entrepreneurially built his ﬁrm into a zealous plaintiﬀ
empire." (Benchmark Litigation, Dispute Resolution, 2021)

Chambers and Partners

  Band 1, Antitrust: Plaintiﬀ – Nationwide, year-after-year
  Recognized Practitioner, Sports Law – Nationwide in 2019

A source reported, "Michael is in my opinion one of the best lawyers in America, especially with regard to antitrust cases and other complex litigation." (Chambers US, Antitrust: Plaintiﬀ
- Nationwide, 2021)

"Michael Hausfeld is a key player in the antitrust space, skillfully handling prominent class actions, often concerning anticompetitive behavior and price manipulation. Sources report:
'What sets him apart is his creativity and strategic sense of how to resolve a dispute to satisfy all sides.'" (Chambers US, Antitrust: Plaintiﬀ – Nationwide, 2020)

"Lauded by market sources as an 'amazing lawyer.'" (Chambers US, Antitrust: Plaintiﬀ – Nationwide, 2019)

"An innovative and a well-respected leader of the antitrust Bar." (Chambers US, Antitrust: Plaintiﬀ – Nationwide, 2018)

Best Lawyers

  Best Lawyer since 2006
     Antitrust Law
     Litigation – Antitrust

Global Competition Review

  Named Lawyer of the Year in 2019

Michael is "recognized as one of the best plaintiﬀs' lawyers in the country" who "consistently brings in the biggest judgments in the history of law" and is "a Washington lawyer
determined to change the world – and succeeding." (Global Competition Review Awards, 2019)

Who’s Who Legal

  Thought Leader, Competition: Plaintiﬀ, 2021
  Global Leader, Competition: Plaintiﬀ, 2020
  Global Elite Thought Leader, Competition: Plaintiﬀ since 2019
  Recommended Lawyer, Competition: Plaintiﬀ since 2018

"One of North America's foremost plaintiﬀ specialists in the antitrust space, dubbed a 'legend in the ﬁeld.'" (Who’s Who Legal, Competition - Plaintiﬀ - Legal Marketplace Analysis,
2020)

"One of the titans of the competition plaintiﬀ space, and is a perennial selection as a Global Elite Thought Leader. He attracts numerous recommendations from peers across North
America and Europe for his standout practice, which encompasses antitrust litigation on the part of both individuals and classes." (Who’s Who Legal, Competition - Plaintiﬀ - Legal
Marketplace Analysis, 2019)

Lawdragon

  Leading Global Litigation Lawyer in 2021
  Leading Plaintiﬀ Financial Lawyer since 2019
  Leading Plaintiﬀ Consumer Lawyers since 2019
  Leading Lawyer in America since 2013
Legal 500              Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 81 of 150
  Hall of Fame in 2020 – described by the Legal 500 as "including individuals who have received constant praise from their clients for continued excellence. The Hall of Fame
  highlights, to clients, the law ﬁrm partners who are at the pinnacle of the profession."
  Recommended Lawyer, Civil Litigation, Class Actions: Plaintiﬀ, Year-after-year
  Top 10 Leading Lawyer in the U.S. representing plaintiﬀs in antitrust and cartel matters, 2016

A "mastermind of strategy" and "smart strategic thinker." The "incredibly impressive. . . Michael Hausfeld and Brian Ratner are highly skilled negotiators and litigators, and real ﬁghters
with an outstanding strategic sense." (Legal 500 US, Antitrust - Civil Litigation/Class Actions, 2013-Present)

Super Lawyers

  Super Lawyer, Antitrust Litigation in Washington, DC since 2007

American Antitrust Institute

  Outstanding Antitrust Litigation Achievement in Private Law Practice, an honor he received as one of the leaders of the In re Vitamin C Antitrust Litigation case team in 2018.

Concurrences

  Winner, Academic: Private Enforcement category in 2015 for his co-authored article titled, "Antitrust Class Proceedings – Then and Now"

National Law Journal

  Litigation Trailblazer & Pioneer in 2014

Law360

  One of just six attorneys named as a Competition MVP by Law360 in 2014.

Other

  Described by one of the country's leading civil rights columnists as an "extremely penetrating lawyer" and by a colleague (in a Washington Post article) as a lawyer who "has a very
  inventive mind when it comes to litigation. He thinks of things most lawyers don't because they have originality pounded out of them in law school."
  Immediately following the groundbreaking NCAA v. O’Bannon decision in 2015, Michael was named AmLaw Litigation Daily’s 'Litigator of the Week,' citing the "consensus among
  courtroom observers [was] that Michael Hausfeld…got the best of a parade of NCAA witnesses at trial." Law360 dubbed the trial team led by Michael as "Legal Lions," citing the
  ﬁrm’s historic victory over the NCAA.
  Awarded the Torch of Learning Award by the American Friends of Hebrew University in 2012
  Shortlisted, ‘Attorneys Who Matter’ in the ﬁeld of Corporate Compliance by The Ethisphere Institute in 2009
  Legal Elite by SmartCEO Magazine in 2009
  Cited by Chambers US, Products Liability category in 2009
  Top 30 "Visionaries" in the Washington legal community by the Legal Times in 2008
   50 Most Powerful People in DC by GQ Magazine in 2007
  “International World-shakers” list of 40 international lawyers “making waves” in the UK by The Lawyer in 2007
  Fierce Sister Award by The Lawyer in 2007: an honor he received for his work on the Japanese Comfort Women case.
  100 Most Inﬂuential Lawyers by the National Law Journal in 2006
  The New York Times referred to Michael as one of the nation's "most prominent antitrust lawyers," and the Washingtonian named him one of thirty “Stars of the Bar."
  Recipient of the B’Nai Brith Humanitarian of the Year Award in 2002
  One of thirty negotiators proﬁled in Done Deal: Insights from Interviews with the World's Best Negotiators, by Michael Benoliel, Ed.D.
  Recipient of the Simon Wiesenthal Center Award for Distinguished Service
  Michael received the U.S. Department of Energy Human Spirit Award, presented "in tribute to a person who understands the obligation to seek truth and act on it is not the burden
  of some, but of all; it is universal."
                        Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 82 of 150
 Megan E. Jones
 Partner
 San Francisco


  she / her / hers


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     +1 415 744 1951

     http://www.linkedin.com/pub/megan-e-jones/9/3a8/53b/




EXPERIENCE


Antitrust/Competition

  In re Blue Cross Blue Shield Antitrust Litigation – In which Megan has been appointed to the Plaintiﬀs’ Steering Committee.
  In re Local TV Advertising Antitrust Litigation – In which Megan has been appointed Lead Counsel.
  In re Diisocyanates Antitrust Litigation – In which Megan has been appointed Co-lead Counsel.
  In re Municipal Derivatives Antitrust Litigation – Resulted in over $200 million on behalf of the class.
  In re Polyester Staple Antitrust Litigation – Resulted in $63.5 million on behalf of class.
  In re Compact Disc Antitrust Litigation – Resulted in over $50 million on behalf of class.
  In re Rubber Chemicals Antitrust Litigation – Resulted in over $100 million on behalf of class.
  In re MMA Antitrust Litigation – Resulted in over $20 million on behalf of class.
  In re EPDM Antitrust Litigation – Resulted in $81 million on behalf of class.
  Megan was also involved in the negotiation of a $300 million global settlement with Bayer (which resolved three cases: EPDM, Rubber Chemicals and NBR), and drafted the innovative
  settlement agreement itself.




OVERVIEW

Experience

Megan Jones (@MeganJonesEsq) is a California Bay Area-based lawyer who focuses on recovering damages for companies who are victims of antitrust cartels for price-ﬁxing, tying,
restraints of trade, and other competition violations. With 19 years of experience in antitrust class actions, Megan is trusted by courts to lead large and complex antitrust cases:

  In re Local TV Advertising Litigation (Sole Lead counsel)
  In re Diisocyanates Antitrust Litigation (Co-Lead counsel)
  In re Beef Antitrust Litigation (Co-Lead Counsel)
  In re Blue Cross Blue Shield Antitrust Litigation (Plaintiﬀ Steering Committee)
  In re Marriott International Customer Data Security Breach Litigation (Plaintiﬀ Steering Committee)

Megan is known for her creativity on settlement issues.[1] For example, in In re Municipal Derivatives Antitrust Litigation (S.D.N.Y.), Ms. Jones was co-lead counsel and recovered over $220
million dollars for a class of cities and municipalities. Notably, Ms. Jones co-negotiated several of the settlements obtained in that class with Select State Attorneys General, who trusted class
counsel to administer notice and the claims process for the joint proceeds. The American Antitrust Institute recognized this unusual public/private partnership, and awarded Megan (and her
team) the “Outstanding Antitrust Litigation Achievement in Private Law Practice” in 2016. Other settlements Ms. Jones negotiated include:

  In re Municipal Derivatives Antitrust Litigation – Resulted in over $200 million on behalf of the class.
  In re Polyester Staple Antitrust Litigation – Resulted in $63.5 million on behalf of class.
  In re Compact Disc Antitrust Litigation – Resulted in over $50 million on behalf of class.
  In re Rubber Chemicals Antitrust Litigation – Resulted in over $100 million on behalf of class.
  In re MMA Antitrust Litigation – Resulted in over $20 million on behalf of class.
  In re EPDM Antitrust Litigation – Resulted in $81 million on behalf of class.
  Megan was also involved in the negotiation of a $300 million global settlement with Bayer (which resolved three cases: EPDM, Rubber Chemicals and NBR), and drafted the innovative
  settlement agreement itself.

As one of the few women in the plaintiﬀs’ bar inducted into the Legal 500 Hall of Fame for continued excellence in litigation, Ms. Jones has a national reputation for excellence that has been
obtained the old-fashioned way, by trying to be the best team member in the trenches. See “Female Powerbrokers Q&A: Hausfeld's Megan Jones,” April 30, 2014; see also Chambers and
Partners’ description of Ms. Jones as “personable, very smart and capable.” She is known for creating eﬀective multi-ﬁrm teams that focus with laser-like precision on the speciﬁc litigation
strategy designed with input from diverse sources. She is also known for her relentless pursuit of the facts, and is well-regarded for her electronic discovery prowess (speaking and training
others on best practices via the prestigious Sedona Conference®).

Whether leading enormous cases with 20+ defendants or small regional matters, Ms. Jones masters the intricacies of economic markets and works with experts to develop economic models
for her clients’ recovery, which support class certiﬁcation motions, settlement negotiations, and discovery eﬀorts. Megan prides herself on the ability to create and lead teams of lawyers of
any size (having organized teams of 80 law ﬁrms, in one particular case) to create a record that either wins the case, drives settlement, and /or obtains a decision upheld at the appellate level.
Part of Megan’s success is due to her belief in using diverse and inclusive litigation teams, which she has helped foster over a decade by creating and running a conference for women
antitrust lawyers to exchange best practices.

Megan is both reasonable and relentless. She carefully chooses her legal battles, and eschews gamesmanship for the sake of gamesmanship. Mindful of scarce judicial resources in complex
antitrust cases that can last years, she develops a strategy at the outset about what particular legal issues need judicial attention and clears the board of the rest. She is highly respected from
all contingents because she brings that same strategy to settlements, using her almost two decades of negotiation experience from being at Hausfeld to craft settlement strategy and terms
in even the most diﬃcult cases. Just one example of this creativity is that in one of her cases, Megan worked with and joined Select State Attorneys General to co-negotiate and jointly settle
a class claim on behalf of certain states as well as the civil litigation class.
                       Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 83 of 150
[1] https://podcast.ourcuriousamalgam.com/episode/48-how-do-you-get-to-the-ﬁnal-yes/ (ABA’s Antitrust Section podcast, featuring Megan Jones, May 2020).

Clients

Companies that buy things to make things have typically bought cartelized products, and Megan helps them recover damages for such purchases. Able to analyze a corporation’s purchases
around the world, Megan can then oﬀer a panoply of options for recovery in multiple jurisdictions. She emphasizes the non- litigation options a corporation has when appropriate, and she is
as adept at settling a case in a conference room as she is in a courtroom.



EDUCATION

University of North Carolina at Chapel Hill School of Law, J.D., 1999

North Carolina State University, magna cum laude, B.A., 1995



BAR ADMISSIONS

California

District of Columbia

North Carolina



AFFILIATIONS

Invited Member, Leadership team of the Global Private Litigation Committee of the ABA Antitrust Section (2019-Present)

Founder of Women Antitrust Plaintiﬀs’ Attorney Network Group

Member, The Sedona Conference®, which is composed of leading jurists, lawyers, experts, academics and others, at the cutting edge of issues in electronic discovery.

Vice Chair, ABA Antitrust Section's Global Private LItigation Committee

Vice Chair, ABA Antitrust Section's Communications and Digital Technology Industries Committee

Vice Chair, ABA Antitrust Section's Media and Technology Committee



NEWS

Chambers and Partners USA (2021) recognizes Hausfeld and its lawyers in its                      Hausfeld Partner Megan Jones named ‘Titan of the Plaintiﬀs Bar’ by Law360
highest tier

                                                                                                 ANTITRUST / COMPETITION / UNITED STATES / APR 01 2021
ANTITRUST / COMPETITION / TECHNOLOGY & DATA BREACH / UNITED STATES /
MAY 21 2021                                                                                      Hausfeld nominated for 'Litigation of the Year' and 'Litigator of the Year' by GCR
                                                                                                 Awards 2021
ABA Antitrust Section Nominating Committee taps two Hausfeld Partners

                                                                                                 ANTITRUST / COMPETITION / UNITED STATES / FEB 18 2021
ANTITRUST / COMPETITION / UNITED STATES / MAY 10 2021

Seven Hausfeld lawyers named to Lawdragon list of '500 Leading Lawyers in                        Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide
America' for 2021                                                                                2020


ANTITRUST / COMPETITION / ENVIRONMENTAL & PRODUCT LIABILITY /                                    COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 28 2020
HUMAN RIGHTS / UNITED STATES / JAN 28 2021
                                                                                                 WWL 2020 counts 9 Hausfeld lawyers among world's top competition plaintiﬀ
Benchmark Litigation lauds Hausfeld as a 'plaintiﬀ-side ﬁrm to be reckoned                       lawyers
with'

                                                                                                 ANTITRUST / COMPETITION /
ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /                                      UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JUL 08 2020
UNITED STATES / OCT 12 2020

The Legal 500 US (2020) ranks Hausfeld as ﬁrst tier in ‘Antitrust’ for an 11th                   Five Hausfeld lawyers once again named to Lawdragon 500 list of Leading
consecutive year                                                                                 Lawyers in America


ANTITRUST / COMPETITION / UNITED STATES / JUN 12 2020                                            ANTITRUST / COMPETITION / UNITED STATES / MAR 26 2020

Chambers and Partners USA (2020) again recognizes Hausfeld and its lawyers in                    WWL 2020 Competition Plaintiﬀ credits Hausfeld as only ﬁrm with 5 'Thought
its highest tier                                                                                 Leaders'


ANTITRUST / COMPETITION / UNITED STATES / APR 24 2020                                            ANTITRUST / COMPETITION / UNITED STATES, UNITED KINGDOM / JAN 21 2020

Super Lawyers recognizes 21 Hausfeld lawyers spanning both coasts and                            Hausfeld and co-counsel win Public Justice's 2019 Trial Lawyer of the Year
multiple practice areas                                                                          Award


ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /                                      UNITED STATES / AUG 22 2019
ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / UNITED STATES /
NOV 18 2019                                                                                      The Legal 500 US (2019) ranks Hausfeld as ﬁrst tier in 'Antitrust' for a 10th
                                                                                                 consecutive year
Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide
2019
                                                                                                 ANTITRUST / COMPETITION / UNITED STATES / MAY 30 2019

COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / SEP 19 2019
                      Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 84 of 150
Chambers and Partners USA (2019) recognizes Hausfeld and its lawyers in its                          Antitrust Partner Megan Jones recognized by W@’s '40 in their 40s' Notable
highest tier                                                                                         Women in Antitrust


ANTITRUST / COMPETITION / UNITED STATES / APR 29 2019                                                ANTITRUST / COMPETITION / UNITED STATES / FEB 27 2019

Five Hausfeld lawyers named to Lawdragon 500 list of Leading Lawyers in                              Five Hausfeld lawyers recognised as 'Thought Leaders' for Competition by
America                                                                                              Who's Who Legal


ANTITRUST / COMPETITION / UNITED STATES / FEB 28 2019                                                ANTITRUST / COMPETITION /
                                                                                                     UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JAN 28 2019

16 Hausfeld lawyers recognized in 'Who's Who' of competition in the US and                           Chambers and Partners USA (2018) recognizes Hausfeld and its lawyers
Europe

                                                                                                     ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018
ANTITRUST / COMPETITION /
UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JUN 20 2018                                         Hausfeld achieves historic healthcare ruling in Blue Cross Blue Shield Antitrust
                                                                                                     Litigation
"At the top of its game" - The Legal 500 (2018) again recognizes Hausfeld and
its lawyers as ﬁrst tier in Antitrust
                                                                                                     ANTITRUST / COMPETITION / UNITED STATES / MAY 03 2018

ANTITRUST / COMPETITION / UNITED STATES / JUN 08 2018




EVENTS

ABA's 2019 Global Private Litigation Conference


ANTITRUST / COMPETITION / BERLIN 17 JUN 2019




  "Going Viral: Burning Healthcare and Pharmaceutical Issues," ABA Antitrust Healthcare Virtual Conference (Feb. 10, 2021), Panelist
  "Antitrust and Class Actions: What Does the Future Hold?" IBA Annual Meeting (Nov. 9, 2020), Panelist
  "Consumers and Class Actions," University of Michigan School of Law (Oct. 26, 2020), Guest Lecturer
  "Ethics for Special Masters: What Are the Problems and What Are the Rules?" ACAM 2020 Virtual Meeting, (Oct. 23, 2020), Panelist
  "The Rise of Women to Leadership in Class Actions," (Sept. 1, 2020), Webinar Host
  "Gimme a Break: Are ACPERA Beneﬁts Obtainable?" American Bar Association Virtual Panel (June 10, 2020), Panelist
  "Chair at the Table: Diversity in Litigation," ABA Antitrust Law Section Virtual Spring Meeting (April 27, 2020), Panelist
  The Sedona Conference 2020 eDiscovery Negotiation Training (eDNT) program, (Feb. 2020), Faculty
  "How Do You Get to The Final Yes? The Art and Science of Settling Antitrust Class Actions," ABA Section of Antitrust Law’s weekly podcast, Our Curious Amalgam (Jan. 31, 2020), Guest
  Speaker
  "MDL Settlements: Common Pitfalls and Helpful Practices," JPML Judges' Conference (Oct. 29, 2019), Speaker
  "ESI Tips and Tricks: What Tools Should be in Your Toolbox," Mass Torts Made Perfect Seminar (Oct. 22, 2019), Speaker
  "Return of the Octopus? Has Big Tech Gotten Too Big?" Association of Business Trial Lawyers Panel (Sept. 17, 2019), Speaker
  "Practical Cooperative Strategies," The Sedona Conference Institute's 2017 eDiscovery Negotiation Training (Feb. 8, 2017), Speaker
  "Women in Antitrust Litigation Panel," American Bar Association (March 9, 2015), Speaker
  8th Annual National Institute on E-Discovery (May 16, 2014), Speaker
  "Successfully Navigating Hazardous Waters: The Second Annual Conference on Transatlantic Deals and Disputes," American Bar Association and German Bar Association (June 2011),
  Speaker
  "Class Action Symposium," Georgetown Law Center (April 11, 2011), Speaker
  "The Life of an International Cartel: A Six-Part Practical Series, Part III: Follow-On Civil Price Fixing," American Bar Association teleconference, (Feb. 4, 2011), Speaker
  "Antitrust Masters Course V," American Bar Association (Sept. 30, 2010), Speaker
  "E-Discovery in Antitrust Lawsuits and FTC/DOJ Investigations: Managing and Producing Electronic Information Under the Amended Federal Rules," (March 2009), CLE Speaker



PUBLICATIONS

Lawdragon lawyer limelight: Megan Jones of Hausfeld                                                  Sealy and Topco considered polestars in Blue Cross Blue Shield market
                                                                                                     allocation case

ANTITRUST / COMPETITION / UNITED STATES / SEP 26 2019
                                                                                                     ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018
E-Discovery trend alert: a second state has approved a technology CLE
requirement for its lawyers


ANTITRUST / COMPETITION / UNITED STATES / FEB 20 2019

Megan's other publications include:

     "How Case Management Orders Can Support New Attorneys," Law360 (Feb. 2021), Co-Author
     "A Litigator's Approach to Pricing Algorithms Cases: What Will We Need to Know?" ABA Global Private Litigation Bulletin, Issue 13 (March 2019), Author
     "Litigator 101," an ABA series regarding best practices in drafting discovery, Author
     "All I Really Need to Know About Antitrust Settlements, I Learned in Kindergarten," ABA Criminal & Cartel Practice Committee Newsletter (March 2011), Author
     "E-Discovery Today: The Fault Lies Not In Our Rules..." The Federal Courts Law Review (FCLR), Vol. 4, Issue 2 (2011), Author
     "E-Discovery Today: The Fault Lies Not In Our Rules..." Duke White Paper (2010), Contributor
     "Giving Electronic Discovery a Chance to Grow Up," The National Law Journal, (Dec. 15, 2009), Author
     “Observations from the Field: ACPERA’s First Five Years,” The Sedona Conference Journal (Fall 2009), Author
     "Antitrust Law Developments," 7th Edition, Chapter on Non-Price Vertical Restraint, published by the American Bar Association (2008), Co-Author
     "Navigating the Vendor Proposal Process: Best Practices for the Selection of Electronic Discovery Vendors," published by The Sedona Conference® (June 2007), Author
     "The Sedona Conference Glossary: E-Discovery and Digital Information Management," (2nd edition) (Dec. 2007), Co-Author
Press:                Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 85 of 150
     "Titan of the Plaintiﬀs Bar: Hausfeld LLP's Megan Jones," Law360 (2021)
     "100 Women In Antitrust," Global Competition Review (2016)
     "Female Powerbroker" in her ﬁeld, Law360 (2014)
     "A panel of experts discuss e-discovery horror stories, vetting vendors and expectations for service providers in terms of competency and ethics," Law Technology News (Quoted - May
     19, 2014)
     "Q&A: Megan Jones on corporations as plaintiﬀs,"Global Competition Review (March 2014)
     Megan joined Judge Francis and Robert Trenchard (Wilmer Hale) in a podcast about the "Latest Trends in Cost-Shifting in Electronic Discovery" (Sept. 2010)



WHAT OTHERS SAY

Benchmark Litigation

  California Litigation Star, Antitrust/Competition in 2021
  Local Litigation Star, Antitrust/Competition in 2021

"Megan Jones in the San Francisco oﬃce has been identiﬁed by several peers as 'a leader at Hausfeld now.'" (Benchmark Litigation, Dispute Resolution, 2021)

Law360

  Titan of the Plaintiﬀs Bar in 2021
  Female Powerbroker in her ﬁeld in 2014
  Rising Star, Competition Law in 2012

Chambers

  Band 1, Antitrust: Plaintiﬀ - Nationwide in 2021
  Band 1, Antitrust: Mainly Plaintiﬀ - California in 2021
  Band 2, Antitrust: Plaintiﬀ - Nationwide in 2020
  Band 2, Antitrust: Mainly Plaintiﬀ - California in 2019 and 2020

A source reported that, "Megan excels in any project or task she takes on." (Chambers Antitrust: Mainly Plaintiﬀ – California, 2021)

Megan Jones deftly represents plaintiﬀs in signiﬁcant anticompetitive disputes. She has expertise in cases concerning price ﬁxing and trade restraints." The publication also noted that "Megan
Jones is commended for her expertise in representing corporate plaintiﬀs in cartel recovery actions. She is further noted for her work leading large class action cases. Sources state that
'Megan is a very good, diligent lawyer who considers the big picture.'" (Chambers Antitrust: Mainly Plaintiﬀ – California, 2020)

Megan is "personable, very smart and really capable," and "well respected at the California Bar for her plaintiﬀ-side antitrust practice." (Chambers Antitrust: Mainly Plaintiﬀ – California, 2019)

Legal 500

  Hall of Fame in 2020 – described by the Legal 500 as "including individuals who have received constant praise from their clients for continued excellence.
  Leading Lawyer – Civil Litigation/Class Action: Plaintiﬀ since 2012
  Leading Lawyer – Plaintiﬀs' Representation for Antitrust since 2012

Super Lawyers

  Super Lawyer, Antitrust Litigation in San Francisco since 2017
  Super Lawyer, Antitrust Litigation in Washington, DC since 2012

Lawdragon

  Leading Lawyer in America since 2019
  Leading Plaintiﬀ Financial Lawyer since 2019

Who’s Who Legal

  Thought Leader, Competition: Plaintiﬀ since 2018
  Recommended, Competition: Plaintiﬀ since 2016
  International Who's Who of Competition Lawyers & Economists by the Global Competition Review and Who's Who Legal in 2014

"The 'fantastic' Megan Jones is a distinguished ﬁgure in the North American competition market. Sources describe her as a 'future leader' of the ﬁeld who 'is blazing a trail for younger women
in the profession,' and is highly respected from all contingents." (Who’s Who Legal, Competition - Plaintiﬀ - Legal Marketplace Analysis, 2020)

A "trailblazer" who is "highly respected from all contingents" with "extraordinary depth of expertise in cartel-related matters." (Who’s Who Legal, Competition - Plaintiﬀ - Legal Marketplace
Analysis, 2018)

Other

  Named to the '40 in Their 40s' list of notable women competition professionals by W@ in 2019
  Outstanding Antitrust Litigation Achievement in Private Law Practice: an honor she received by the American Antitrust Institute in 2016
  Selected to speak at the American Bar Association's 8th National E-Discovery Institute in 2014, where nationally- acclaimed e-discovery professionals convened for a full day to analyze and
  discuss the latest developments and best strategies for managing the e-discovery process.
  100 Successful Women in Antitrust by the Global Competition Review in 2013
  Named one of just fourteen female 'Equity Champions' by Burford Capital since 2018 – Burford Capital is a leading global ﬁnance and investment management ﬁrm focused on law, which
  launched The Equity Project in 2018. This is a groundbreaking initiative designed to help close the gender gap in law by providing an economic incentive for change through a $50 million
  pool of capital earmarked for ﬁnancing commercial litigation and arbitration matters led by women.
  Deemed one of the "nation's best lawyers in an MDL" and a "professional problem solver," Transcript of August 30, 2018 Hearing at 23, In re Blue Cross Blue Shield Antitrust Litig., No. 2:13-
  cv-20000 (N.D. Ala.).
Swathi Bojedla
         Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 86 of 150
Partner
Washington, DC


  she / her / hers


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     +1 202 540 7150

     http://www.linkedin.com/pub/swathi-bojedla/23/938/27a




EXPERIENCE


Antitrust/Competition

  In re Blue Cross Blue Shield Antitrust Litigation – In one of the largest and most complex antitrust class action cases ever litigated, Swathi represents tens of millions of subscriber
  plaintiﬀs alleging higher premiums and loss of competition in the market for health insurance due to a conspiracy among 36 insurer defendants to allocate geographic territories. In
  November 2020, the Court granted preliminary approval to the proposed settlement agreement resolving the claims of Blue Cross Blue Shield subscribers for $2.67 billion.
  In re Municipal Derivatives Litigation – Swathi worked as part of a team that secured nearly $250 million in settlements for a class of municipalities aﬀected by alleged bid-rigging in the
  market for municipal bonds.
  In re Air Cargo Shipping Services Antitrust Litigation – Swathi joined the trial team to prepare for trial against the ﬁnal four defendants in a worldwide conspiracy to ﬁx fuel surcharge
  on air cargo; her work assisted in driving settlements with the ﬁnal defendants totaling nearly $200 million. In 2016, she was recognized for her work in this, and the above-mentioned
  Municipal Derivatives case, at the American Antitrust Institute Enforcement Awards, where she won two of the three awards for “Outstanding Antitrust Litigation Achievement in Private
  Law Practice.”



Environmental & Product Liability

  Bowman et al. v. St. Joseph’s Medical Center et al. – Swathi participated in a mass tort action arising from the placement of unnecessary stents in patients at a Baltimore-area hospital,
  which culminated in a month-long jury trial in Maryland state court and a global resolution compensating over 240 aﬀected patients.



Sports & Entertainment

  Dryer et al. v. National Football League – Swathi represented a class of retired NFL players whose names, images, and likenesses were being used in NFL Films features. She was
  involved in negotiating a $50 million settlement agreement, which created a Greater Good Fund to provide health and welfare programs to former NFL players and also established a
  licensing agency, in partnership with IMG, to help former players market their names, images, and likenesses. After this novel settlement was reached, Swathi continued to advise the
  Court-appointed Board of Directors on implementation of the settlement agreement.
  O’Bannon v. NCAA – Swathi represented a class action on behalf of current and former Division I men's basketball and FBS football players against the NCAA and its member
  institutions based on rules foreclosing athletes from receiving compensation for the use of their names, images, and likenesses. In 2014, plaintiﬀs completed a three-week bench trial in
  which Swathi was part of a trial team that successfully obtained class injunctive relief allowing college athletes to receive compensation for their NIL rights, a landmark victory for
  college athletes.



Technology & Data Breach

  In re Premera Blue Cross Customer Data Breach Litigation – Represented Premera health insurance customers whose conﬁdential medical information was accessed during an extended
  breach. A $74 million settlement including a $32 million settlement fund was granted ﬁnal approval in March 2020.
  In re Arby’s Restaurant Group, Inc. Data Security Litigation – Representing ﬁnancial institutions who were forced to cancel compromised cards, issue refunds due to fraudulent
  transactions, stop and block unauthorized transactions on their customers’ accounts, and increase fraud monitoring because of the breach. A $5 million+ settlement was preliminarily
  approved in March 2020.
  First Choice Federal Credit Union v. The Wendy’s Company et al – Represented ﬁnancial institutions who have had to pay to replace credit cards and cover fraud losses sustained by
  customers as a result of a data breach at Wendy’s franchisees. A $50 million settlement was granted ﬁnal approval in November 2019.
  In re The Home Depot, Inc. Customer Data Breach Litigation – Represented ﬁnancial institutions who had to pay to replace credit cards and cover fraud losses sustained by customers
  as a result of a data breach at Home Depot aﬀecting 56 million people. A $25 million settlement was granted ﬁnal approval in September 2017.
  In re Target Corporation Customer Data Security Breach Litigation – Represented ﬁnancial institutions who had to pay to replace credit cards and cover fraud losses sustained by
  customers as a result of a data breach at Target which exposed 40 million debit and credit card accounts. This case resulted in a ground-breaking $60 million+ total settlement.




OVERVIEW

Experience

Swathi's career has spanned a wide range of practice areas at Hausfeld. From initial case investigations through trial, she has represented the ﬁrm’s clients in all aspects of litigation. Her
work has encompassed some of the highest-proﬁle class action sports and antitrust cases in recent years, and she has been involved in the recovery of over $500 million in settlement
awards on behalf of the ﬁrm’s clients.

Prior to joining Hausfeld, Swathi worked on several presidential campaigns and in the U.S. Senate, both for then-Senator Hillary Rodham Clinton and as a law clerk to the U.S. Senate
Judiciary Committee.
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Clients

Swathi has litigated a variety of other cases across the legal spectrum, securing favorable results for her clients. In the antitrust realm, she has represented clients in the health insurance,
transportation, and ﬁnancial services sectors seeking to recover damages from price-ﬁxing and market allocation cartels. As an avid sports fan, Swathi has relished the opportunity to
represent current and former athletes as they seek fair treatment for the dedication they put into the game.

Swathi has also represented numerous ﬁnancial institutions across the country who have suﬀered damages as a result of data breaches at retailers including Target, Home Depot, Kmart,
and Wendy’s. Through her work on these cases, she has developed an expertise in data breach law and card brand recovery processes, and has helped to design and implement unique
settlement frameworks in this developing area of law.



EDUCATION

Georgetown University Law Center, J.D., 2011

Brown University, B.A., Human Biology & Public Policy, 2007



BAR ADMISSIONS

District of Columbia

New York

District Court for the District of Columbia

District Court for the Southern District of New York

District Court for the District of Colorado

Tenth Circuit Court of Appeals



AFFILIATIONS

Member, Law360 Sports Editorial Advisory Board (2019)

Member, Brown University Women’s Leadership Council (2016-present)

Changing Perceptions, Board of Directors (2016-present)

Clerk, U.S. Senate Judiciary Committee

Chair, Brown University Alumni Interviewing Program, Washington, D.C. (2012-present)

Managing Editor, Georgetown Journal of Law and Public Policy (2010-2011)

Prior member of Georgetown Law’s Institute for Public Representation, a civil rights clinic, where she worked on Title VII litigation in the D.C. District Court.

Brown University Women’s Leadership Council and prior D.C. Area Co-Chair for the school’s admissions interviewing program.

Prior member, Board of Directors for the D.C. non-proﬁt Changing Perceptions, which focuses on providing professional and personal support to formerly incarcerated citizens.



NEWS

Rail shippers defeat BNSF, CSX, NS, and UP’s attempts to insulate                                   Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide
anticompetitive conduct from liability                                                              2020


ANTITRUST / COMPETITION / UNITED STATES / FEB 19 2021                                               COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 28 2020

Hausfeld nominated for 'Litigation of the Year' and 'Litigator of the Year' by                      Super Lawyers recognizes 21 Hausfeld lawyers spanning both coasts and
GCR Awards 2021                                                                                     multiple practice areas


ANTITRUST / COMPETITION / UNITED STATES / FEB 18 2021                                               ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                                    ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / UNITED STATES /
                                                                                                    NOV 18 2019

Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide                         Hausfeld achieves historic healthcare ruling in Blue Cross Blue Shield Antitrust
2019                                                                                                Litigation


COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / SEP 19 2019                                       ANTITRUST / COMPETITION / UNITED STATES / MAY 03 2018

Hausfeld announces record number of promotions globally, demonstrating
continued ﬁrm growth


UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
BELGIUM /
JAN 14 2019




EVENTS

  "Litigation Strategy After Amex," ABA Section of Antitrust Law (Nov. 6, 2020), Panelist
  "Practicing as a Sports Lawyer: Antitrust and Beyond," ABA Section of Antitrust Law – Trade, Sports and Professional Associations Committee Virtual Panel (July 9, 2020), Moderator
                     Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 88 of 150
  Speaker, "Inside O'Bannon v. NCAA," Legal Talk Network podcast (Oct. 21, 2015), Panelist
  "Preparing for an Antitrust Trial as an Associate," ABA Section of Antitrust Law (Aug. 24, 2015), Speaker
  "The Sports Report: Sports, Consumer Protection and Antitrust – What’s Hot in 2015!," ABA Trade, Sports and Professional Associations (June 16, 2015), Speaker



PUBLICATIONS

Third Circuit's Suboxone class certiﬁcation aﬃrmance clariﬁes commonality                         Sealy and Topco considered polestars in Blue Cross Blue Shield market
and predominance requirements                                                                     allocation case


ANTITRUST / COMPETITION / UNITED STATES / AUG 18 2020                                             ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018

Third Circuit resuscitates medical device antitrust claims against Blue Cross
Blue Shield


ANTITRUST / COMPETITION / UNITED STATES / NOV 16 2018

Swathi's other publications include:

     "Consumers Strike Out: Time Warner Cable Defeats Challenge to Rate Hikes for Unwanted Sports Content," Trade, Sports & Professional Associations Newsletter (Spring 2015),
     Author
     "Going to Trial as an Associate," ABA Trial Practice Committee: Trying Antitrust Newsletter (Fall 2015), Author
     "Is Major League Baseball’s Antitrust Exemption in Jeopardy?" ABA Antitrust Section Media & Technology E-Bulletin, Vol. 1, Iss. 3 (2013), Author
     "The NFLPA’s Potential Legal Liability to Former Players for Traumatic Brain Injury," Concussions Litigation Reporter, Vol. 1, No. 1 (2012), Co-Author with Michael D. Hausfeld

Press:

     "Rising Star: Hausfeld’s Swathi Bojedla," Law360 (Apr. 27, 2016)
     "Minority Business Leader Awards: Swathi Bojedla," Washington Business Journal (Feb. 26, 2016)



WHAT OTHERS SAY

Lawdragon

  Leading Plaintiﬀ Financial Lawyer in 2020

Super Lawyers

  Rising Star, Antitrust Litigation in Washington, DC since 2016

Litigation Counsel of America

  Selected Fellow since 2019

American Antitrust Institute

  Outstanding Antitrust Litigation Achievement in Private Law Practice, an honor she received twice:
     As part of the In re Municipal Derivatives Antitrust Litigation case team in 2016
     As part of the O’Bannon v. NCAA case team in 2015

Other

  Rising Star Under 40, Sports Law by Law360 in 2016
  Minority Business Leader by The Washington Business Journal in 2016 - an honor held for the top 25 Greater Washington leaders who embody entrepreneurial drive, creativity and
  success in business.
  Litigation of the Year - Non-Cartel Prosecution: an honor she received by the Global Competition Review as part of the O’Bannon v. NCAA case team in 2015.
           Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 89 of 150
 Arthur N. Bailey, Jr.
 Partner
 San Francisco

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     +1 415 633 1939

     https://www.linkedin.com/pub/arthur-bailey-jr/92/880/66b




EXPERIENCE


Antitrust/Competition

  In re Blue Cross Blue Shield Antitrust Litigation – In one of the largest and most complex antitrust class action cases ever litigated, Art was appointed to the Discovery Committee,
  and represents tens of millions of subscriber plaintiﬀs alleging higher premiums and loss of competition in the market for health insurance due to a conspiracy among 36 insurer
  defendants to allocate geographic territories. In November 2020, the Court granted preliminary approval to the proposed settlement agreement resolving the claims of Blue Cross
  Blue Shield subscribers for $2.67 billion.




Commercial & Financial Disputes

  District Council #16 Northern California Health And Welfare Trust Fund v. Sutter Health et al. – Representing a proposed class of union funds and employers that self-insure their
  employees’ health insurance needs. Hausfeld has brought suit against Sutter Health for overcharging for anesthesia services, which is a major component of any surgical charge
  imposed by Sutter Health.




OVERVIEW

Experience

Arthur’s primary areas of practice are in consumer, antitrust and other complex litigation matters. He values the opportunity to represent clients of all types who have suﬀered
signiﬁcant wrongs. Like others at Hausfeld, he is motivated to ensure that all persons, regardless of wealth or status, are able to ﬁnd justice through the courts. Arthur shares the
ﬁrm’s global vision, its emphasis on civil rights and human rights cases, and its desire to boldly pursue cases that seek to push the boundaries of and developments in the law. He
enjoys the legal analysis and critical thinking inherent in overcoming the challenges necessary to successfully solve the client’s problems.

Clients

Arthur has litigated cases in the technology, automotive and agricultural industries, and in sports and entertainment law. He also had the privilege of representing the California
Teachers’ Association and the National Education Association in litigation in the Ninth Circuit Court of Appeals and the United States Supreme Court, authoring amicus curia briefs
on their behalf in support of the right of gays and lesbians to marry.



EDUCATION

Bachelor of Music Education, College of Wooster

University of Tulsa College of Law, J.D., 1999



BAR ADMISSIONS

U.S. District Court for Northern California

U.S. District Court for Eastern California

U.S. District Court for Central California



NEWS

Hausfeld nominated for 'Litigation of the Year' and 'Litigator of the Year' by GCR Awards 2021


ANTITRUST / COMPETITION / UNITED STATES / FEB 18 2021

Hausfeld achieves historic healthcare ruling in Blue Cross Blue Shield Antitrust Litigation


ANTITRUST / COMPETITION / UNITED STATES / MAY 03 2018
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 Michael P. Lehmann
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EXPERIENCE


Antitrust/Competition

  In re Packaged Seafood Products Antitrust Litigation
  In re Inductors Antitrust Litigation
  In re Disposable Contact Lens Antitrust Litigation
  In re Aftermarket Automotive Lighting Products Antitrust Litigation
  In re Municipal Derivatives Antitrust Litigation
  In re Transpaciﬁc Passenger Air Transportation Antitrust Litigation
  In re International Air Transportation Surcharge Antitrust Litigation
  In re Domestic Airline Travel Antitrust Litigation
  In re Blue Cross & Blue Shield Antitrust Litigation
  NCAA Student-Athlete Name & Licensing Litigation
  In re Optical Disk Drive Antitrust Litigation
  In re Fresh & Process Potatoes Antitrust Litigation
  In re Rail Freight Fuel Surcharge Antitrust Litigation
  In re Generic Drugs Antitrust Litigation
  In re Diisocyanates Antitrust Litigation
  In re Chicago Board Options Exchange Volatility Index Antitrust Litigation
  In re Farm-Raised Salmon and Salmon Products Antitrust Litigation




OVERVIEW

Experience

In 1978, far before joining Hausfeld, Michael joined the Furth, Fahrner & Mason law ﬁrm and began practicing antitrust and business litigation. He was at that ﬁrm until 2007; it was the Furth &
Lehmann ﬁrm when he left, with him having achieved the title of Managing Partner. In 2007, Michael left the Furth ﬁrm to set up the San Francisco oﬃce of Cohen Milstein, Hausfeld & Toll,
where he was a partner. When the separate Hausfeld ﬁrm was created in November of 2008, he left Cohen Milstein and joined Hausfeld as one of the founding partners and has worked there
ever since.

Over the past 40 years, Michael played signiﬁcant roles (including several co-lead positions) on the plaintiﬀs’ side in major antitrust class actions, such as the Brand Name Prescription Drug
Antitrust Litigation, the Dynamic Random Access Memory (DRAM) Antitrust Litigation, the Static Random Access Memory (SRAM) Antitrust Litigation, the Cathode Ray Tube (CRT) Antitrust
Litigation, the TFT-LCD (Flat Panel) Antitrust Litigation, the Cosmetics Antitrust Litigation, the Graphics Processing Units (GPU) Antitrust Litigation, the Compact Disc Minimum Advertised
Price Antitrust Litigation, the Publication Paper Antitrust Litigation, the High Pressure Laminates Antitrust Litigation, the Bristol Bay Salmon Fishery Antitrust Litigation, and the Intel
Microprocessor Antitrust Litigation.

Clients

During the ﬁrst part of his career at the Furth ﬁrm, Michael did extensive defense work for a varied roster of clients, such as the Santa Fe Southern Paciﬁc Railway Co., Sprint Communications
Co., Kellogg Co., Grolier Inc., News Inc., Columbia Pictures, Georgia-Paciﬁc Co., and William Sullivan (former owner of the New England Patriots). He was among those representing these
entities as either defendants in class action antitrust litigation, plaintiﬀs in individual antitrust cases, defendants in proceedings brought by the Federal Trade Commission, petitioners in
proceedings before the United States Food and Drug Administration, or respondents in arbitration proceedings before the International Chamber of Commerce. During this phase of his
career, Mr. Lehmann helped Kellogg defeat a charge by the FTC that it and other ready-to-eat cereal companies engaged in a “shared monopoly” and wrote submissions to the FDA that
caused it to permit certain types of health claims on food labels.



EDUCATION

Hastings College of the Law, J.D., 1977

University of California at Berkeley, A.B., 1974



BAR ADMISSIONS

California



AFFILIATIONS

Member, American Bar Association
                     Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 91 of 150
NEWS

Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide                       Super Lawyers recognizes 21 Hausfeld lawyers spanning both coasts and
2020                                                                                              multiple practice areas


COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 28 2020                                     ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                                  ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / UNITED STATES /
Best Lawyers 2021 recognizes six Hausfeld lawyers on both coasts                                  NOV 18 2019

                                                                                                  U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for
ANTITRUST / COMPETITION / ENVIRONMENTAL & PRODUCT LIABILITY /
                                                                                                  2020
COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 20 2020

                                                                                                  ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                                  UNITED STATES / NOV 01 2019

Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide                       Five Hausfeld lawyers recognised as 'Thought Leaders' for Competition by
2019                                                                                              Who's Who Legal


COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / SEP 19 2019                                     ANTITRUST / COMPETITION /
                                                                                                  UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JAN 28 2019
The Legal 500 US (2019) ranks Hausfeld as ﬁrst tier in 'Antitrust' for a 10th
consecutive year                                                                                  U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for 2019


ANTITRUST / COMPETITION / UNITED STATES / MAY 30 2019                                             ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                                  UNITED STATES / NOV 20 2018

Six Hausfeld lawyers recognized in 2019 edition of 'Best Lawyers in America'                      Hausfeld achieves historic healthcare ruling in Blue Cross Blue Shield Antitrust
                                                                                                  Litigation

ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
ENVIRONMENTAL & PRODUCT LIABILITY / UNITED STATES / AUG 28 2018                                   ANTITRUST / COMPETITION / UNITED STATES / MAY 03 2018

16 Hausfeld lawyers recognized in 'Who's Who' of competition in the US and
Europe


ANTITRUST / COMPETITION /
UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JUN 20 2018




EVENTS

ABA's 2019 Global Private Litigation Conference


ANTITRUST / COMPETITION / BERLIN 17 JUN 2019




WHAT OTHERS SAY

Lawdragon

  Leading Plaintiﬀ Financial Lawyer since 2019

Legal 500

  Recommended Lawyer, Antitrust - Civil Litigation/Class Actions: Plaintiﬀ in 2019

Who's Who Legal

  Recommended Lawyer, Competition: Plaintiﬀ since 2018
  Global Leader, Competition: Plaintiﬀ in 2019

Best Lawyers

  Best Lawyer, Antitrust Law since 2013

Super Lawyers

  Super Lawyer, Antitrust Litigation in San Francisco since 2011

Global Competition Review

  Litigation of the Year – Cartel Prosecution: an honor he received as part of the In re Foreign Exchange Benchmark Rates Antitrust Litigation case team in 2015.

Other

  Recipient of the Martindale-Hubbell Judicial AV Preeminent rating year-after-year.
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 Scott Martin
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     https://www.linkedin.com/pub/scott-martin/10/100/747




EXPERIENCE


Antitrust/Competition

  In re National Football League’s “Sunday Ticket” Antitrust Litigation – Scott serves as co-lead counsel on behalf of businesses against DirecTV, a leading provider of digital
  entertainment in the United States, and the National Football League (“NFL”), alleging that the NFL’s exclusive agreement to allow DirecTV to broadcast out-of-market Sunday NFL
  football games violated the antitrust laws.
  In re Libor-Based Financial Instruments Antitrust Litigation – Class action lawsuit alleging a global conspiracy by some of the world’s largest ﬁnancial institutions to manipulate LIBOR.
  The manipulation of LIBOR, which is the primary benchmark for short-term interest rates for trillions of dollars-worth of ﬁnancial transactions worldwide, is alleged to have caused
  billions of dollars in damage to municipalities, businesses, and investors.
  In re Blue Cross Blue Shield Antitrust Litigation – In one of the largest and most complex antitrust class action cases ever litigated, Scott represents tens of millions of
  subscriber plaintiﬀs alleging higher premiums and loss of competition in the market for health insurance due to a conspiracy among 36 insurer defendants to allocate
  geographic territories. In 2018, the subscriber plaintiﬀs achieved summary judgment on the application of a per se standard to the alleged conduct, streamlining the case for class
  certiﬁcation and trial.
  Core-Mark NY CMSA Litigation – Multi-plaintiﬀ action asserted against leading distributors of cigarettes and other consumer goods in New York under the Cigarette Marketing Sales
  Act.
  Scott regularly presents compliance talks to businesspersons at industry-leading apparel, industrial, retailing, and distribution clients.
   Scott currently is providing competition advocacy before the Federal Trade Commission and merger advice to a Fortune 100 company.



Environmental & Product Liability

  SCWA v. Dow, et al. and SCWA v. 3M Company, et al. – Scott is currently representing the largest municipal groundwater provider in the United States for recovery in various water
  contamination matters.



Public Entity

We have extensive experience representing public and governmental entities, including state Attorneys General Oﬃces, municipal utility boards, and counties in high-stakes investigations
and litigation involving a variety of legal practice areas, including antitrust, consumer protection, ﬁnancial services, and environmental law. The ﬁrm’s public entity portfolio includes:

  Retention by state Attorneys General Oﬃces for antitrust litigation against Big Tech platforms.
  Retention by the largest public water supplier in the country relating to environmental contamination.
  Retention by public entities to pursue antitrust claims relating to fraud in ﬁnancial markets; and
  Retention by the state of West Virginia in one of the earliest cases against the pharmaceutical industry relating to the opioid crisis, ﬁled decades before the current wave of opioid
  litigation.




OVERVIEW

Experience

Scott is co-chair of the ﬁrm’s Antitrust practice group. Scott’s perspective is a unique one, as prior to joining the ﬁrm in 2015, he played major roles in defending antitrust and class action
cases as a partner in two leading international law ﬁrms. Over the course of more than 25 years, he also has negotiated resolutions of numerous regulatory investigations and actions on
behalf of corporate clients. Scott’s practice extends to bench and jury trials in both federal and state courts, complex federal multidistrict actions, class actions involving direct and indirect
purchasers, parens patriae cases, FTC and DOJ investigations as well as other regulatory actions, and qui tam litigation.

Clients

Scott has two decades of counseling experience across a broad range of industries on pricing, distribution, competitive intelligence, joint ventures, and non-compete agreements, among
other competition issues, and has designed antitrust compliance programs for some of the world’s largest corporations.



EDUCATION

Stanford Law School, J.D., 1990

Stanford University, A.B., with honors, 1987



BAR ADMISSIONS

New York
District of Columbia   Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 93 of 150
Supreme Court of the United States

Numerous Federal District and Circuit Courts



AFFILIATIONS

Antitrust Law Section Delegate to the ABA House of Delegates (2020-21)

Fellow, American Bar Foundation

Fellow, Litigation Counsel of America

Secretary and Communications Oﬃcer, American Bar Association, Antitrust Law Section

  Previous positions include: Council member, Chair of Trial Practice Committee, Chair of Civil RICO Committee, Chair of Global Private Litigation Conference, and Editorial Board of
  Antitrust Law Developments, among others)

Executive Committee, New York State Bar Association, Antitrust Section

Editorial Board (Competition), Law360 (2012-2018)

Treasurer and Board of Directors member, WHEDco (leading Bronx non-proﬁt housing, educational and community development organization)



NEWS

ABA Antitrust Section Nominating Committee taps two Hausfeld Partners                           Seven Hausfeld lawyers named to Lawdragon list of '500 Leading Lawyers in
                                                                                                America' for 2021

ANTITRUST / COMPETITION / UNITED STATES / MAY 10 2021
                                                                                                ANTITRUST / COMPETITION / ENVIRONMENTAL & PRODUCT LIABILITY /
Hausfeld nominated for 'Litigation of the Year' and 'Litigator of the Year' by                  HUMAN RIGHTS / UNITED STATES / JAN 28 2021
GCR Awards 2021
                                                                                                Peekya App hires global law ﬁrm Hausfeld for antitrust case claiming Google
                                                                                                has monopolized mobile app marketplace
ANTITRUST / COMPETITION / UNITED STATES / FEB 18 2021

                                                                                                ANTITRUST / COMPETITION / UNITED STATES / SEP 30 2020

Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide                     The Legal 500 US (2020) ranks Hausfeld as ﬁrst tier in ‘Antitrust’ for an 11th
2020                                                                                            consecutive year


COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 28 2020                                   ANTITRUST / COMPETITION / UNITED STATES / JUN 12 2020

Best Lawyers 2021 recognizes six Hausfeld lawyers on both coasts                                Chambers and Partners USA (2020) again recognizes Hausfeld and its lawyers
                                                                                                in its highest tier

ANTITRUST / COMPETITION / ENVIRONMENTAL & PRODUCT LIABILITY /
COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 20 2020                                   ANTITRUST / COMPETITION / UNITED STATES / APR 24 2020

Super Lawyers recognizes 21 Hausfeld lawyers spanning both coasts and                           Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide
multiple practice areas                                                                         2019


ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /                                     COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / SEP 19 2019
ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / UNITED STATES /
NOV 18 2019                                                                                     The Legal 500 US (2019) ranks Hausfeld as ﬁrst tier in 'Antitrust' for a 10th
                                                                                                consecutive year
U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for
2020
                                                                                                ANTITRUST / COMPETITION / UNITED STATES / MAY 30 2019

ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
UNITED STATES / NOV 01 2019

Chambers and Partners USA (2019) recognizes Hausfeld and its lawyers in its                     Hausfeld LLP names Bonny Sweeney and Scott Martin as U.S. Antitrust practice
highest tier                                                                                    group Co-Chairs


ANTITRUST / COMPETITION / UNITED STATES / APR 29 2019                                           ANTITRUST / COMPETITION / UNITED STATES / NOV 19 2018

U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for                        Six Hausfeld lawyers recognized in 2019 edition of 'Best Lawyers in America'
2019

                                                                                                ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /                                     ENVIRONMENTAL & PRODUCT LIABILITY / UNITED STATES / AUG 28 2018
UNITED STATES / NOV 20 2018

Chambers and Partners USA (2018) recognizes Hausfeld and its lawyers                            Hausfeld expands to New York, welcoming renowned antitrust litigators Scott
                                                                                                Martin and Irving Scher

ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018
                                                                                                ANTITRUST / COMPETITION /
Hausfeld achieves historic healthcare ruling in Blue Cross Blue Shield Antitrust                UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
Litigation                                                                                      BELGIUM /
                                                                                                JUL 13 2015

ANTITRUST / COMPETITION / UNITED STATES / MAY 03 2018
EVENTS                Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 94 of 150

ABA's 2019 Global Private Litigation Conference


ANTITRUST / COMPETITION / BERLIN 17 JUN 2019




Scott has been asked to speak at a wide array of events over the course of his career including:

     "Honest Broker Or Advocate: Eﬀective Expert Testimony," ABA Section of Antitrust Law Virtual Spring Meeting (April 2020), Panelist
     "Competition Tort Claims Around the Globe," ABA Section of Antitrust Law Spring Meeting, (March 2019), Panelist
     "Competitor Collaborations: US and EU Joint Venture Law," ABA Section of Antitrust Law (April 2013), Speaker
     "'Have I Got a Deal for You': Big Sellers, Big Issues," New York City Bar Association (January 2013), Speaker
     "Discovery by Leaps and Bounds: Practical Issues in International Antitrust Cases," ABA Section of Antitrust Law (November 2012), Moderator
     "Comcast v. Behrend: Rigorous Analysis – How Much Is Too Much?" New York State Bar Association, Antitrust Law Section (October 2012), Speaker
     "Pricing Fundamentals: Pricing Tied to Other Oﬀerings," ABA Section of Antitrust Law (February 2012), Speaker
     "Settling Class Action Litigation," American Antitrust Institute 5th Annual Future of Private Antitrust Enforcement Conference, (December 2011), Speaker
     "Trying a Case Involving Mixed Vertical and Horizontal Restraints: The Legal, Economic and Practical Considerations," ABA Section of Antitrust Law (October 2011), Speaker
     "International Cartel Enforcement in the Digital Age: Collection and Use of Evidence Beyond Borders," New York State Bar Association Antitrust Law Section, (January 2011), Speaker
     "New York's Donnelly Act: Another Tool in the Chest?" NYSBA Antitrust Law Section and ABA Section of Antitrust Law (July 2010), Speaker
     "Pricing Issues," PLI Antitrust Counseling & Compliance Seminar (February 2010), Speaker
     "Robinson-Patman - Price Discrimination," Practising Law Institute Advanced Antitrust Seminar: Distribution & Marketing (annually 2003-2009), Speaker
     "Tying and Bundling -- Consumer-Friendly Oﬀers or Exclusionary Conduct?" ABA Section of Antitrust Law (May 2009), Speaker
     "Mastering the Discovery Process for the General Counsel: How to Master the Costs and Burdens of Federal Discovery," Incisive Media (November 2008), Speaker
     "Bundled Discounts: Careful Practice in the Face of Unsettled Law," Ohio State Bar Association Antitrust Institute (November 2008), Speaker
     "Antitrust Developments – A Busy Supreme Court Term Plus A Look at Joint Marketing Activities and Information Sharing," ABA Section of Environment, Energy and Resources, 21st
     Annual Petroleum Reﬁning and Marketing Law Roundtable (October 2006), Speaker
     "Antitrust Meets Civil RICO on a Grand Scale," ABA Section of Antitrust Law (March 2006), Session Chair
     "Vive le Diﬀerence: Dealing Eﬀectively with State Enforcers," ABA Section of Antitrust Law (March 2006), Speaker
     ABA Antitrust Litigation Course: Mock Trial (October 2005), Defense Counsel
     "Lest We Not Forget: State Law Constraints on Price by Robinson-Patman Act," ABA Section of Antitrust (June 2005), Panelist
     "Defending Against Employee Raiding," ABA Section of Antitrust Law (March 2005), Session Chair
     "Assessing an Unfair Competition Case Under California Section 17200," ABA Section of Antitrust Law (March 2004), Session Chair
     "Price Discrimination and Slotting Allowances," Conference Board Antitrust Conference (March 2003), Speaker
     "The Front Lines: Prudent Business Decision-Making in Light of the New Realities of Distribution," (March 2003), Speaker



PUBLICATIONS

Books and Chapters:

     "Settlement Practice from Both a Plaintiﬀ and Defense Perspective," Chapter, American Antitrust Institute Handbook on Private Enforcement of Competition Law U.S. Edition (2012)
     Co-Author
     "Litigating International Antitrust Cases," J. von Kalinowski, Chapter, Antitrust Counseling and Litigation Techniques (2007 and update), Author
     "Private Antitrust Litigation," Chapter, Global Competition Review - Getting the Deal Through (2005), Co-Author
     "Advising Foreign Clients on US Antitrust Law," Chapter, Asia Paciﬁc Antitrust & Trade Review (2005), Co-Author
     "Antitrust Adviser," Two-volume treatise, 5th ed., Co-Editor
     "Business Torts & Unfair Competition," Chapter: Section 5 of the FTC Act, Co-Author
     Handbook (3d ed.) Chapter (New York), State Antitrust Practice and Statutes (three editions), Co-Author
     "Competition Damages Actions in the EU: Law and Practice," 2d ed., Contributor

Articles:

     "Cartel Damage Recovery: A Roadmap for In-House Counsel," Antitrust Magazine, [Winner, Concurrences Writing Award] (Fall 2017), Co-Author
     "SCWA Pursues Legal Action Against Companies Responsible for PFOS, PFOA and 1,4-Dioxane Contamination," Lexology (Nov. 2017), Co-Author
     "Horizontal conspiracy complaints face diﬀerent fates under Twombly 'plausibility' standard," Lexology, (Oct. 2015), Co-Author
     "After American Needle, Is Everything Old New Again?" Law360 (Aug. 4, 2010), Author
     "Can Anyone Keep a Secret Anymore? Beware the diﬀering privilege regimes in the global environment," New York Law Journal (Nov. 16, 2009), Author
     "The linkLine Decision: Section 2 Gets Squeezed Further," GCP: The Online Magazine for Global Competition Policy (April 2009), Author
     "Antitrust Injury in Robinson-Patman Cases: What's Left?" GCP: The Online Magazine for Global Competition Policy, (Nov. 2008), Author
     "One Year Post-'Twombly,' Trends Emerge," New York Law Journal (Aug. 25, 2008), Author
     "A Rule Of Reason For Vertical Price Fixing - Part II," The Metropolitan Corporate Counsel, Volume 15, No. 11 (Nov. 2007), Co-Authored with Fiona A. Schaeﬀer
     "A Rule Of Reason For Vertical Price Fixing - Part I," The Metropolitan Corporate Counsel, Volume 15, No. 10 (Oct. 2007), Author
     "Antitrust in Distribution - Tying, Bundling and Loyalty Discounts, Resale Pricing Restraints, Price Discrimination - Part I," The Metropolitan Corporate Counsel, Volume 14, No. 4 (April
     2006), Author



WHAT OTHERS SAY

Chambers

  Band 1, Antitrust: Mainly Plaintiﬀ, New York since 2015
  Leading Lawyer since 2006

Sources reported, "He's an expert in antitrust and how it's applied from a commercial perspective. He's an incredible partner." "He has a great reputation and is very collegial." "He is a very
good plaintiﬀs' lawyer." (Chambers US, Antitrust: Mainly Plaintiﬀ, New York, 2021)

"Co-chair of the antitrust group, Scott Martin lends plaintiﬀ clients his cutting-edge expertise in antitrust litigation honed over years of defense-side representation. He regularly appears in
state and federal jury and bench trials in the most complex of matters." (Chambers US, Antitrust: Mainly Plaintiﬀ, New York, 2020)

Legal 500

  Recommended Lawyer, Antitrust - Civil Litigation/Class Actions: Plaintiﬀ since 2015
                      Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 95 of 150
Sources have stated that Scott is "friendly, engaging, and spot-on," that "he is extremely polished, an expert in the ﬁeld and a pleasure to work with," and that "Melinda Coolidge and Scott
Martin go above and beyond at all hours to provide the best level of customer service. They are always there with an explanation.” (Legal 500 US, Antitrust - Civil Litigation/Class Actions:
Plaintiﬀ, 2020)

Best Lawyers

  Best Lawyer since 2012
     Antitrust Law
     Litigation - Antitrust

A past client commented, "I was extremely impressed with his knowledge and attentiveness as well as his ability to truly enjoy servicing his client in a productive and cost-eﬀective
manner."

Super Lawyers

  Super Lawyer, Antitrust Litigation in New York since 2006

Other

  Outstanding Antitrust Litigation Achievement in Private Law Practice: an honor he received by the American Antitrust Institute in 2016 for In re Air Cargo Antitrust Litigation.
  International Who’s Who of Competition Lawyers and Economists, Lawdragon, International Who’s Who of Business Lawyers, and others often reﬂect recognition of Scott’s work by his
  peers.

Clients, colleagues, and adversaries have referred to Scott in print variously as a "terriﬁcally talented and surefooted litigator" and "an astute operator who always adds value to
proceedings" while also serving as a "business-oriented lawyer who looks to see what the overall issues are and determines how best to approach the representation of those interests,
including common sense approaches to exit strategies where feasible."
                        Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 96 of 150

 Irving Scher
 Senior Counsel
 New York

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EXPERIENCE


Antitrust/Competition

Current Plaintiﬀ-Side Cases:

   In re American Express Anti-Steering Rules Antitrust Litigation
   In re Blue Cross Blue Shield Antitrust Litigation
   In re Contact Lens Antitrust Litigation
   In re Domestic Airline Travel Antitrust Litigation
   2301 M Cinema LLC d/b/a West End Cinema v. Silver Cinemas Acquisition Co.



Selected Prior Defense-Side Cases:

   United Magazine Co. v. Time Warner, Inc.
   In re Compact Disc Minimum Advertised Price Litigation
   In re Recorded Music Price Fixing Litigation
   Williamson Oil Co. v. Philip Morris
   In re Nine West Antitrust Litigation
   In re Lorazapam Antitrust Litigation
   In re Toys “R” Us Antirust Litigation
   Caribe BMW v. BMW AG
   Reisner v. General Motors Corp.




OVERVIEW

Experience

Irv is considered an antitrust icon, with many decades of extensive experience in counseling and all phases of antitrust, marketing, and trade practice litigation and appeals, often as lead counsel
in multi-party matters. He has been the lead defense counsel in numerous class actions and FTC and government enforcement agency investigations and cases across a wide range of industries.

Irv’s enthusiasm for and knowledge of competition law is unparalleled. He prides himself on developing a deep knowledge of his clients’ businesses, enabling him to guide them to pragmatic and
lawful business solutions. As a litigator, he advocates vigorously and impresses judges, co- counsel, and opponents with his legal and strategic acumen. He has been chosen to lead many times
by his peers, both in litigation and in the antitrust bar.

Clients

With competition expertise spanning the airline, retail, apparel, automotive, electronics, publishing, grocery, pharmaceutical, publishing, and recorded music industries, Irv has represented
numerous clients in signiﬁcant antitrust, marketing, advertising, and trade practice investigations, litigations, and counseling matters over many decades.



EDUCATION

Columbia Law School (Reviews Editor, Columbia Law Review, and recipient of National Scholarship and Gluck Scholarship)

City College of NY, B.A.



BAR ADMISSIONS

New York

First Circuit

Second Circuit

Third Circuit

Seventh Circuit

Ninth Circuit

D.C. Circuit

United States District Court for the Southern District of New York

United States District Court for the Eastern District of New York
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United States District Court for the Northern District of New York

United States Supreme Court



AFFILIATIONS

Editor, Hausfeld Competition Bulletin

Member, MLex Advisory Board

Co-Editor and Co-Author, Antitrust Adviser, a Thomson Reuters two-volume practical reference treatise

Author, "Living with the Robinson-Patman Act, Corporate Practice Series Portfolio," Bloomberg Bureau of National Aﬀairs, 2019

Adjunct Professor, NYU Law School, teaching an advanced antitrust course

Former Chair, American Bar Association (ABA) Section of Antitrust Law

Former Chair, New York State Bar Association (NYSBA) Antitrust Section

Former Co-Chair, Practicing Law Institute Annual Antitrust Institute

Vice Chair, Editorial Board, Antitrust Law Developments, ABA Section of Antitrust Law, 1975



NEWS

Two Hausfeld Competition Bulletin articles nominated by the Concurrences                         Best Lawyers 2021 recognizes six Hausfeld lawyers on both coasts
Antitrust Writing Awards 2021

                                                                                                 ANTITRUST / COMPETITION / ENVIRONMENTAL & PRODUCT LIABILITY /
ANTITRUST / COMPETITION / UNITED STATES, GERMANY, GERMANY / MAY 04 2021                          COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 20 2020

Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide                      WWL 2020 counts 9 Hausfeld lawyers among world's top competition plaintiﬀ
2020                                                                                             lawyers


COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / AUG 28 2020                                    ANTITRUST / COMPETITION /
                                                                                                 UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM / JUL 08 2020

Chambers and Partners USA (2020) again recognizes Hausfeld and its lawyers in                    Super Lawyers recognizes 21 Hausfeld lawyers spanning both coasts and multiple
its highest tier                                                                                 practice areas


ANTITRUST / COMPETITION / UNITED STATES / APR 24 2020                                            ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                                 ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS / UNITED STATES /
Four Hausfeld articles make Antitrust Writing Awards 2020 shortlist                              NOV 18 2019

                                                                                                 U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for 2020
ANTITRUST / COMPETITION / UNITED STATES, GERMANY, UNITED KINGDOM /
JAN 31 2020
                                                                                                 ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /
                                                                                                 UNITED STATES / NOV 01 2019

Fifteen Hausfeld lawyers named to Lawdragon Plaintiﬀ Financial Lawyer Guide                      Chambers and Partners USA (2019) recognizes Hausfeld and its lawyers in its
2019                                                                                             highest tier


COMMERCIAL & FINANCIAL DISPUTES / UNITED STATES / SEP 19 2019                                    ANTITRUST / COMPETITION / UNITED STATES / APR 29 2019

The Legal 500 US (2019) ranks Hausfeld as ﬁrst tier in 'Antitrust' for a 10th                    Five Hausfeld articles make the Antitrust Writing Awards 2019 shortlist
consecutive year

                                                                                                 ANTITRUST / COMPETITION / UNITED STATES, GERMANY, UNITED KINGDOM /
ANTITRUST / COMPETITION / UNITED STATES / MAY 30 2019                                            JAN 11 2019

U.S. News & World Report and Best Lawyers rank Hausfeld as a top ﬁrm for 2019                    Chambers and Partners USA (2018) recognizes Hausfeld and its lawyers


ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /                                      ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018
UNITED STATES / NOV 20 2018
                                                                                                 Hausfeld expands to New York, welcoming renowned antitrust litigators Scott
Six Hausfeld lawyers recognized in 2019 edition of 'Best Lawyers in America'                     Martin and Irving Scher


ANTITRUST / COMPETITION / COMMERCIAL & FINANCIAL DISPUTES /                                      ANTITRUST / COMPETITION /
ENVIRONMENTAL & PRODUCT LIABILITY / UNITED STATES / AUG 28 2018                                  UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
                                                                                                 BELGIUM /
                                                                                                 JUL 13 2015




EVENTS

Irv has been asked to speak on a wide variety of topics over the course of his career:

     "Penalties for Collusion: Can There Be an Overlap Between Fines and Damages?" The Global Antitrust Economics Conference (2016), Speaker
     Numerous New York State Bar Association Annual Meetings, Speaker
     Numerous ABA Antitrust Section Annual Spring Meetings, Speaker
     Annual Antitrust Institute, PLI (1977-2004), Co-Chair
     Dual Distribution, Law Journal Seminars (1992-2003), Speaker
     Category Management Guidelines, American Antitrust Institute (2003), Speaker
                       Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 98 of 150
PUBLICATIONS

Passage of Competitive Health Insurance Reform Act repeals 75 year old health                            Supreme Court to determine the extent of the FTC's authority to obtain monetary
insurers' federal antitrust exemption                                                                    relief


ANTITRUST / COMPETITION / FEB 25 2021                                                                    ANTITRUST / COMPETITION / UNITED STATES / NOV 19 2020

Umbrella liability: has its time come?                                                                   Can U.S. class action law serve as guidelines for the UK indirect purchaser
                                                                                                         Mastercard case?

ANTITRUST / COMPETITION / UNITED STATES / NOV 19 2020
                                                                                                         ANTITRUST / COMPETITION / UNITED STATES / AUG 18 2020

In defense of class actions: a response to Makan Delrahim's commentary on the                            Third Circuit rules against customer in Robinson-Patman Act case despite 10%
UK Mastercard case                                                                                       discount defendant provided to the customer's sole competitor


ANTITRUST / COMPETITION / UNITED STATES / JUN 09 2020                                                    ANTITRUST / COMPETITION / UNITED STATES / SEP 03 2019

Seventh Circuit revives monopolization and tying agreement suit against                                  Supreme Court rules that purchasers of apps can bring an antitrust suit against
Comcast                                                                                                  Apple for overcharges


ANTITRUST / COMPETITION / UNITED STATES / MAR 09 2020                                                    ANTITRUST / COMPETITION / UNITED STATES / MAY 16 2019

The Supreme Court appears ready to permit 100% cy pres awards in class actions                           Supreme Court to address cy pres only class action settlements
under very limited circumstances*

                                                                                                         ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018
ANTITRUST / COMPETITION / UNITED STATES / NOV 12 2018
                                                                                                         The role of comity in antitrust discovery
Ohio v. American Express Co.: The Supreme Court addresses anti-steering

                                                                                                         ANTITRUST / COMPETITION / UNITED STATES / MAY 22 2018
ANTITRUST / COMPETITION / UNITED STATES / AUG 16 2018

Third Circuit limits the breadth of its rule against “umbrella damages”


ANTITRUST / COMPETITION / UNITED STATES / FEB 14 2018




In addition, Irv has written extensively in a variety of legal publication over his career, including:

     "Competition Laws Outside the United States," two-volume treatise, American Bar Association (2020), Editor-In-Chief
     "Applying Amex: When Two-Sided Platforms Become One Market," Antitrust Magazine (Fall 2018), Co-Author
     "Litigating Indirect Purchasers Claims: Lessons for the EU from the U.S. Experience," Antitrust Magazine (Fall 2017), Co-Author
     "Damage Class Actions After Comcast: A View From the Plaintiﬀs' Bar," Antitrust Magazine, (Spring 2016), Co-Author
     "Living with the Robinson-Patman Act, Corporate Practice Series Portfolio," Bloomberg Bureau of National Aﬀairs (2019), Author
     "The FTC's Revised Fred Meyer Guides: Back to the Sixties," Antitrust Source (Feb. 2015), Author
     "Stepped Up Enforcement Against Inadequate Negative Option/Automatic-Renewal Disclosures," Orange County Business Journal (Nov. 17-23, 2014), Co-Author
     "Conscious Parallelism or Conspiracy," Issues in Competition Law and Policy, American Bar Association (2008), Co-Author
     "Anticipating Collateral Legal Risks Arising From FTC Enforcement Actions," Metropolitan Corporate Counsel (May 1999), Author
     "Franchising and the Robinson-Patman Act: Some Problems and Solutions," Antitrust Law Journal (1991), Author
     "Single Firm Conduct: The Government's and Antitrust Section's View," Antitrust Law Journal (1990), Author
     "The Major Antitrust Issues in the Decade Ahead," Antitrust Law Journal (1989), Author
     "How Sellers Can Live With the Robinson-Patman Act," Business Lawyer (1986), Author
     "Emerging Issues under the Antitrust Improvements Act of 1976," Columbia Law Review (1977), Author
     Author, "Opening State Courts to Class Actions: The Uniform Class Actions Act," Business Lawyer (1976)
     "New Directions in Buyer's Liability Under the Robinson-Patman Act," Antitrust Law Journal (1971), Author
     "Antitrust and Consumerism: What Is It All About?" Case Western Law Review (1970), Author
     "Manual of Federal Trade Regulations Aﬀecting Retailers," two-volume treatise published by National Retail Merchants Association (1969), Author
     Supplement to report of Attorney General's National Committee to Study the Antitrust Laws, American Bar Association (1968), Contributing Editor



PERSPECTIVES

The Supreme Court appears ready to permit 100% cy pres awards in class actions under very limited circumstances


ANTITRUST / COMPETITION / UNITED STATES / NOV 27 2018




WHAT OTHERS SAY

Chambers

  Senior Statesperson, Antitrust: USA – Nationwide since 2018
  One of only two Senior Statespeople, Antitrust: Mainly Plaintiﬀ – New York since 2018

"Irving Scher's clients beneﬁt from his decades of experience in the antitrust space and his singular knowledge of the law. A long-time defense-side practitioner, he now provides invaluable
advice in plaintiﬀ-side multidistrict class action litigation." (Chambers US, Antitrust: Mainly Plaintiﬀ, New York, 2020)

"Commands respect for his extensive experience litigating complex antitrust disputes for plaintiﬀ classes and individuals." (Chambers US, Antitrust: Mainly Plaintiﬀ, New York, 2019)

Who’s Who Legal
                       Case 2:13-cv-20000-RDP Document 2733-2 Filed 05/28/21 Page 99 of 150
"Irving Scher is a highly respected antitrust specialist and a mainstay of the North American market. He has standout experience advising clients in the airline, retail, automotive and
pharmaceutical sectors." (Who’s Who Legal, Competition - Plaintiﬀ - Legal Marketplace Analysis, 2020)

Best Lawyers

  Best Lawyer since 2006
     Antitrust Law
     Litigation - Antitrust
  Lawyer of the Year in New York City, Antitrust Law in 2015

Lawdragon

  Leading Plaintiﬀ Financial Lawyer since 2019

Super Lawyers

  Super Lawyer, Antitrust Litigation in New York since 2006

Other

  World’s Leading Competition Lawyer: an honor he received from the Euromoney Expert Guide in 2008.
 Kimberly Case
          Fetsick
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 Associate
 New York


  she / her / hers


     kfetsick@hausfeld.com

     +1 646 647 1286

     https://www.linkedin.com/in/kimberly-fetsick-3b502670/




EXPERIENCE


Antitrust/Competition

  In re Blue Cross Blue Shield Antitrust Litigation – In one of the largest and most complex antitrust class action cases ever litigated, Kimberly is part of the team representing tens of
  millions of subscriber plaintiﬀs alleging 36 insurer defendants conspired to allocate geographic territories to ensure higher premiums. On November 30, 2020 the Court granted
  preliminary approval to a proposed settlement agreement.
  In re Broiler Chicken Grower Antitrust Litigation – Kimberly represents a class of broiler chicken growers who allege a nationwide conspiracy among the ﬁve largest vertically-
  integrated poultry companies to suppress and maintain compensation for growing services below competitive levels.
  In re American Express Anti-Steering Rules Antitrust Litigation – Kimberly is part of the case team in this multidistrict litigation consolidated in the Eastern District of New York, and
  represents a class of merchant plaintiﬀs against American Express in connection with claims that the credit card company’s Anti-Steering Rules unreasonably restrain interbrand
  price competition among credit and charge card networks.



Commercial & Financial Disputes

  Boothe Farms, et. al. v. The Dow Chemical Company, et. al. – Kimberly represents rice farmers whose crops were harmed by defendants’ herbicide.
  Universal Life Insurance Cases – Kimberly represents life insurance policyholders in South Carolina, Tennessee, Florida, Texas, and Georgia alleging State Farm Life Insurance
  Company breached their contracts and charged cost of insurance rates based on impermissible factors.



Environmental & Product Liability

  Children v. the Climate Crisis: Chiara Sacchi et al. v. Argentina, Brazil, France, Germany, and Turkey – In which Hausfeld and co-counsel Earthjustice represent 16 children from around
  the world, including Greta Thunberg and Alexandria Villaseñor, in a complaint ﬁled before the UN Committee on the Rights of the Child alleging violations of children’s rights to life,
  health, and culture by ﬁve members of the G20 whose failure to reduce carbon emissions is perpetuating climate change.



Human Rights

  Kimberly is active in Hausfeld’s pro bono work and has conducted research and prepared pleadings for partner NGOs on various issues including voting rights and combating
  violence related to hate crimes, menstrual equity, and international children’s rights related to the climate crisis.




OVERVIEW

Experience

Kimberly was drawn to Hausfeld because of its elite position as a litigation ﬁrm tackling complex legal issues around the world, and its longstanding commitment to the public good.
Kimberly’s work spans multiple practice areas, including antitrust litigation, deceptive business practices and consumer protection, environmental threats, and civil and human rights.
Kimberly’s experience working for clients facing various legal challenges has allowed her to pursue creative and successful litigation strategies on their behalf.

Prior to joining Hausfeld, Kimberly clerked for Chief Justice F. Michael Kruse of the High Court of American Samoa and Chief Judge Julie Manning of the United States Bankruptcy
Court for the District of Connecticut. Through her respective clerkships, Kimberly gained experience in trial and appellate civil and criminal cases and bankruptcy cases, working on a
wide variety of legal issues.

Clients

Kimberly’s clients include a class of subscribers to Blue Cross Blue Shield health insurance, broiler chicken growers, rice farmers, a class of merchant plaintiﬀs bringing an action against
American Express, and a group of 16 child climate activists from over 10 diﬀerent countries bringing a petition to the United Nations Committee on the Rights of the Child.



EDUCATION

King’s College London, Dickson Poon School of Law, Master of Laws in Transnational Law (LL.M.), graduated with Merit, 2017

Georgetown University Law Center, J.D., 2015

University of Pittsburgh, B.A., summa cum laude, 2011
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BAR ADMISSIONS

New York

United States District Court for the Eastern District of New York

United States Court of Appeals for the Second Circuit



AFFILIATIONS

Member, New York State Bar Association

Member, American Bar Association

Articles Editor, Georgetown Journal of International Law (2014-2015)



NEWS

Hausfeld nominated for 'Litigation of the Year' and 'Litigator of the Year' by              The 16 Committee on the Rights of the Child petitioners, including Greta
GCR Awards 2021                                                                             Thunberg and Ridhima Pandey, applaud Dutch Supreme Court ruling in
                                                                                            Urgenda

ANTITRUST / COMPETITION / UNITED STATES / FEB 18 2021
                                                                                            HUMAN RIGHTS / ENVIRONMENTAL & PRODUCT LIABILITY /
Children urge Norway to block Arctic oil and gas drilling to protect their                  UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
rights to life and health                                                                   BELGIUM /
                                                                                            DEC 20 2019

ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS /
                                                                                            16 young people ﬁle UN human rights complaint on climate change
UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
BELGIUM /
MAY 13 2020                                                                                 ENVIRONMENTAL & PRODUCT LIABILITY / HUMAN RIGHTS /
                                                                                            UNITED STATES, FRANCE, GERMANY, UNITED KINGDOM, NETHERLANDS, SWEDEN,
                                                                                            BELGIUM /
                                                                                            SEP 23 2019




PUBLICATIONS

  "Left Behind: How Statelessness in the Dominican Republic Limits Children’s Access to Education," Georgetown Law Human Rights Institute (2014), Co-Author



WHAT OTHERS SAY

  Certiﬁcate of Appreciation for Outstanding Student Research: an honor she received from The First Global Forum on Statelessness in 2014.
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Firm Overview
Paul, Weiss, Rifkind, Wharton & Garrison LLP is a firm of more than 1,000 lawyers
with diverse backgrounds, personalities, ideas and interests who provide innovative
and effective solutions to our clients’ most complex legal and business challenges.
The firm represents some of the world’s largest publicly and privately held
corporations, financial institutions and asset managers, and clients needing pro bono
assistance.

Paul, Weiss is widely recognized as having market-leading practices in public M&A,
private equity, litigation, white-collar & regulatory defense, and restructuring, along
with equally strong practices in executive compensation, intellectual property,
personal representation, real estate and tax law.




                                                        London
                           Toronto
                                          New York
                                          Wilmington               Beijing
     San Francisco                        Washington, D.C.                         Tokyo

                                                                             Hong Kong




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Litigation
The Paul, Weiss Litigation Department has long been the first choice of clients around
the world for their most challenging and important disputes. We handle cases that
have the greatest impact and have achieved remarkable results for our clients,
whether in the courtroom, in arbitration or via creative out-of-court resolutions.
Track Record of Success
No other law firm in the world can approach our experience and record of success in the most complex, high-stakes litigation
matters across numerous practice areas. Our team includes many of the country’s most accomplished trial lawyers and former
senior government officials, and is uniquely positioned to handle sprawling government enforcement actions and parallel private
litigation. We are regularly entrusted with fast-moving, franchise-threatening matters because of our ability to develop and
execute a winning strategy, no matter the problem or adversary, and to see the matter through to the ultimate resolution,
whether at trial or before the Supreme Court.

We Try Cases
We are known first and foremost as trial lawyers, with the experience and confidence to take cases all the way—especially when
the stakes are the greatest. We regularly go up against the most skilled adversaries, winning landmark cases all over the country,
handling arbitrations here and abroad, and achieving appellate victories.

Strategic Approach
We do not merely represent clients in the matter at hand; rather, we carefully balance and weigh our clients’ business position,
risk and exposure and work with them to develop each case as a part of a comprehensive approach to their business goals. We
are sought out for our sound business counsel and comprehensive strategic advice on managing litigation risk and handling high-
stakes litigation. Our approach is resolutely forward-looking; we assess options and manage risks from the moment we are
retained.

Broad Capabilities
Our lawyers have handled countless complex competitor and class action disputes across a wide range of areas of potential
importance. These include, but are not limited to appeals; data privacy; consumer protection; government enforcement;
securities; M&A disputes; employment-related disputes; and contact disputes. We can guide on:

    –    breach of contract disputes                                      –   Anti-Kickback Statute lawsuits
    –    consumer fraud & false advertising actions                       –   securities fraud and shareholder derivative suits in
    –    unfair competition litigation                                        both state and federal courts
    –    data privacy and security class actions and                      –   government enforcement actions
         disputes                                                         –   State AG lawsuits
    –    trade secrets and noncompetition disputes                        –   ERISA, pension & benefits litigations
    –    product liability and mass torts litigation                      –   wage and hour litigations
    –    IP litigation (including patent, copyright and                   –   workplace culture litigations
         trademark)                                                       –   actions under the RICO Act
    –    appellate litigation                                             –   M&A litigation




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Anti-Corruption & FCPA
Our attorneys represent clients in some of the largest and most complex FCPA
matters, including a multitude of DOJ and SEC investigations and numerous internal
investigations relating to business practices around the globe, including in places such
as China and India.
Practitioners with Insider Insights
Our top-tier practitioners include former prosecutors and enforcement agency attorneys, most notably the former U.S. Attorney
General and the former deputy chief of the Fraud Section of the Criminal Division of the DOJ, who developed and ran the DOJ’s
modern FCPA enforcement program. Paul, Weiss’s team also includes nationally recognized trial lawyers and well-respected
former officials and attorneys from various government branches.

Investigations and Enforcement Proceedings
Our team can assist in internal investigations around the world and across virtually all industries, often avoiding full-scale
regulatory enforcement action. We regularly represent clients in enforcement proceedings and investigations before foreign
regulatory and enforcement agencies, such as the U.K. Serious Fraud Office, in conjunction with our legal partners around the
globe.

Compliance and Due Diligence
Our experience as compliance advisors can enable our clients to stay ahead of the enforcement curve. We have performed
hundreds of transactional due diligence and risk assessments related to anti-corruption compliance; we can design and assess
compliance programs, policies and procedures and conduct employee and board training. We can also help evaluate the
adequacy of business partner and third-party due diligence, structure joint venture compliance and mitigate risk in high-risk
businesses and geographical locations our clients might seek to enter.


Antitrust – Merger Clearance
With a deep bench of former antitrust enforcement officials, our powerhouse team is
equipped to assist in its most sensitive and highest-profile transactions. Our antitrust
group has played leading roles in obtaining clearance for high-profile mergers for
decades, including the most contested.

Insider Insights
Our clearance team includes prominent former Federal Trade Commission and senior Department of Justice officials. They can
bring unparalleled insight on the shifting regulatory and law enforcement priorities in the antitrust area; familiarity with career
antitrust personnel; and a detailed, practical understanding of internal clearance processes and emerging practices.

Full Spectrum of Transaction-Related Advice
We can help in on mitigating antitrust risk; managing invasive second requests and negotiating regulatory settlements. We can
also defend transactions in court, where we have a stellar track record of wins in contested situations. We can also advise on
comprehensive strategies when the company’s interests are implicated in another merger in the industry, as we have frequently
done for other major clients.
3 | PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP                                                                         paulweiss.com
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Our clearance team also includes a cadre of specialists with the expertise on merger filing obligations not only in the
U.S. under the Hart-Scott-Rodino Act and regulations, but also in jurisdictions across the globe.


Antitrust Litigation
As public scrutiny over alleged anticompetitive business practices grow, our uniquely
capable antitrust practice fuses technical legal analysis, public policy advocacy and a
commercial, strategic approach. We have the confidence, courtroom skill and
experience to handle the most complex, highest-stakes government and private
antitrust matters, including cases of first impression and litigation involving emerging
regulation.

Deeply Experienced Team
Our team includes prominent former officials at the Federal Trade Commission and Department of Justice including a former
Acting Assistant Attorney General who also served as the Principal Deputy Assistant Attorney General of the Antitrust Division of
the Department of Justice, as well as one of the nation’s foremost antitrust law professors and a former Chief of the DOJ.

Litigation and Trials
We handle high-stakes litigation across all areas of antitrust and competition including lawsuits involving challenges to mergers;
allegations of monopolization, price fixing, predatory pricing, bid rigging, and exclusive dealing; and claims pertaining to resale
price maintenance and trade secrets. We regularly try cases before juries and judges across the United States, producing
successful results, including landmark appellate decisions. Our collective antitrust trial experience cannot be matched.


Crisis Management
Paul, Weiss can assist in resolving crisis situations quickly, effectively and holistically.
In handling constellations of legal, reputational and business challenges, we offer a
coordinated approach and practical, commercial guidance that minimizes legal,
financial and reputational risks.

Significant Representations
Our team has safely guided some of the most significant U.S. and non-U.S. public and privately held companies, financial
institutions and asset management firms, boards and management teams through all manner of crises. In recent months, we
have advised clients on matters of the most urgent national importance, debate and controversy. In fact, Chambers USA recently
spotlighted two of Paul, Weiss partners as well as our Chairman as preeminent crisis managers nationally—three of only six so
highlighted.

Broad Expertise
In situations that are already public, we leverage experience with the press and before Congress, Inspectors General and
multiple law enforcement and regulatory agencies. We also frequently lead fast-moving and sensitive internal investigations,
enabling clients to take informed action to mitigate fallout. We can help with:


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    –    unfavorable media exposure or commentary                         –    preparing executives for public testimony
    –    product recalls                                                  –    abrupt changes in senior management
    –    crises related to environmental, social and                      –    sensitive cyber and data privacy incidents
         governance issues                                                –    whistleblower allegations
    –    catastrophic litigation outcomes                                 –    adverse financial reports and accounting problems
    –    attacks by activist shareholders                                 –    alleged employee or management misconduct or
    –    government investigations and congressional                           criminal matters
         inquiries


Data Innovation, Privacy & Cybersecurity
Our Data Innovation, Privacy & Cybersecurity team helps identify and mitigate
existing and emerging legal risks surrounding privacy regulation, cybersecurity,
consumer protection, antitrust and related areas. We can leverage our team’s deep
experience and knowledge in the area to provide compliance and diligence solutions
that minimize risk and to mitigate data-related crises when they occur.

Expansive Capabilities
Our team guides boards and senior executives, helping them understand fast-changing regulations, regulatory expectations,
disclosure obligations and industry standards; develop compliance frameworks to identify and address data collection, sharing,
use and retention practices that may give rise to privacy, consumer protection or other regulatory risks; analyze proposed
products, practices and business models; craft cybersecurity policies and procedures tailored to the external and internal risks of
the company; and implement crisis management and disaster recovery plans.

Crisis Management
Victims of significant data security incidents—or of accusations of widespread misuse of consumer data—can encounter a
barrage of challenges, including media scrutiny and reputational damage, federal and state regulatory investigations, and class
action and other complex commercial litigation. We offer a well-rounded crisis response team, leveraging our preeminent
litigation and white collar and regulatory defense practices.

High-Level Government Experience
The team includes a former Secretary for the U.S. Department of Homeland Security; a former member of the Special Counsel’s
Office, who led the team investigating Russian cyber, social media and intelligence efforts to influence the 2016 presidential
election; a former Treasury Department deputy general counsel with responsibility for data protection and cybersecurity
matters affecting the financial sector; and a former Assistant U.S. Attorney in the Southern District of New York who served as
Chief of the Complex Frauds and Cybercrime Unit, among others.

FTC Experience
We can assist in all aspects of FTC investigations, including consumer protection and competition, data protection, privacy,
advertising practices and antitrust. We have experience with the consumer financial regulations, such as TILA, FCRA and the
FDCPA, as to which the FTC and the CFPB generally share concurrent authority. Most of our matters are confidential and end
with no action by the Commission.




5 | PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP                                                                       paulweiss.com
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General Commercial Litigation (Including Trials)
With our deep bench of trial-tested lawyers in New York, San Francisco and
Washington, D.C., and experience helping the world’s most important companies
safely navigate their most complex, high-value disputes, Paul, Weiss is perfectly
positioned to help develop and execute winning litigation strategies across a
spectrum of this litigation.
Broad Expertise
Our lawyers have handled countless complex competitor and class action disputes across a wide range of areas of potential
importance. These include, but are not limited to antitrust; data privacy; consumer protection; securities; M&A disputes; and
contract disputes. We can guide on:

    –    breach of contract disputes                   the CCPA, GDPR and                           in both state and federal
    –    unfair competition litigation                 Section 230)                                 courts
         (including under the                      –   trade secrets &                          –   platform integrity disputes
         California UCL)                               noncompetition disputes                  –   State AG lawsuits
    –    data privacy and security                 –   IP litigation (including                 –   wage and hour litigations
         class actions and disputes                    patent, copyright and                    –   workplace culture
         (including issues related to                  trademark)                                   litigations
                                                   –   securities fraud and                     –   actions under the RICO Act
                                                       shareholder derivative suits             –   merger disputes




Patent and IP Litigation
Our patent litigators advise world-class, industry-leading companies, helping them
tackle novel, complex issues that push the boundaries of technological progress and
achievement. Our deep bench of experienced trial lawyers work alongside our IP
transactional lawyers representing companies from around the globe in their most
significant, high-value matters, helping them protect their intellectual property. Our
lawyers pair extensive experience in the courtroom and the boardroom with a
thorough understanding of science and technology.
Trial-Tested Lawyers
Our patent group has tried jury and bench trials in courts across the country, contested proceedings in the U.S. Patent and
Trademark Office, and Section 337 patent infringement litigations; we routinely handle Federal Circuit appeals. We have also
been counsel of record in more than 180 Patent Trial and Appeal Board (PTAB) proceedings, with more than 60 argued through
final hearing, and are widely recognized as thought leaders in the forum.



6 | PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP                                                                     paulweiss.com
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Copyright Protection
We offer substantial, cutting-edge experience in a spectrum of copyright cases, including royalty rate-setting proceedings,
copyright class actions and digital media copyright controversies. Clients rely on us to protect a wide variety of copyrighted
content, including film, music, broadcasting, publishing, software, fine art and digital media.

Non-Competition and Trade Secrets
Some of our clients greatest assets are its talented people. When a departure poses a threat to our client’s business, Paul, Weiss
can help. We have among the preeminent and most successful practices in the noncompetition and trade secrets area. In recent
years, we have handled more than 50 non-competition, non-solicitation and trade secrets disputes on behalf of some of the
most prominent companies in the world.

Trademarks, Trade Dress and Unfair Competition
Our clients developing product lines may be subject to trademark, trade dress and unfair competition claims. We have
successfully litigated numerous such disputes on behalf of major consumer product, fashion and entertainment companies.

Transactional IP and Licensing Expertise
Our versatile and experienced group understands the interplay of business objectives, practical pressures and timing and
possesses the technical and legal expertise in IP law to help our clients develop, acquire and license all types of IP asset classes.




Securities Litigation
Paul, Weiss has played a leading defensive role in nearly every high-profile securities
matter of the modern era. In each instance, we have helped our clients respond to
the fallout, mitigate crises and successfully resolve public and private litigations and
government investigations. We bring our collective wisdom to each and every
representation. Our clients would benefit from our experience handling virtually
every kind of securities-related challenge, including shareholder derivative suits, class
actions, complex parallel proceedings and opt-out claims.
An Unparalleled Reputation
Paul, Weiss is widely recognized as having the nation’s preeminent securities litigation and regulatory practices. For decades, our
lawyers have guided global corporations and financial institutions through a series of “bet-the-company” securities-related
crises, consistently reducing or eliminating their most damaging claims and negotiating favorable resolutions.

Deep Capabilities
Our clients benefit from our deep experience at all stages of the litigation process, including motions to dismiss, class
certification, summary judgment, settlements, trials and appeals, as well as before domestic and international investment
arbitration bodies. We defend clients in lawsuits arising under federal and state securities laws, as well as litigating securities-
related issues arising under other statutory schemes, including ERISA and the U.S. Bankruptcy Code. The team has vast
experience before all of the regulatory agencies and entities that clients are likely to face, including the SEC, U.S. Congress, and
various state Attorney General offices. Clients also frequently look to us to conduct sensitive internal investigations into issues
from alleged accounting irregularities and deficiencies in internal controls, to tax reporting and related-party transactions, to
suspicious trading activities and misappropriation of assets.


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A Record of Trial and Appellate Success
Our practice is differentiated because not only do we have unparalleled subject matter expertise, but we try cases, including
securities cases, and win them. Our team includes litigators who are widely recognized as some of the finest trial lawyers in the
country. Clients and adversaries know that we are prepared to take cases to trial and that we know how to win, which gives us a
tremendous advantage both in the courtroom and at the settlement table. In fact, we have successfully taken numerous multi-
billion dollar cases to verdict in recent years, collectively reducing our clients’ liability by scores of billions of dollars. Because of
our record of achievement, we are often pulled into litigation after a class has been certified and a matter is headed for trial.

Strategic Approach to Cases
At the outset of each new matter, we engage in comprehensive strategic planning with our clients to manage their risk and
exposure and to tailor our strategy to the matter’s unique facts, drawing on our institutional knowledge of the securities laws
and precedent. Because we leverage our past work so efficiently, we are a highly cost-effective choice of counsel for our clients.




Supreme Court & Appellate Litigation
Paul, Weiss’s Supreme Court and Appellate Litigation Practice is led by Kannon
Shanmugam, a former Assistant to the Solicitor General who has argued 31 cases
before the Supreme Court and who is widely regarded as one of the nation’s leading
appellate advocates.
We also have an unrivaled track record in appellate courts where the most significant business cases are litigated, such as the
U.S. Courts of Appeals for the Federal Circuit and the Second Circuit, the Appellate Division of the New York Supreme Court, and
the Delaware Supreme Court, and in the Ninth Circuit, where disputes involving technology companies are litigated. We have
successfully handled appeals involving administrative, antitrust, class action, criminal, ERISA, mergers and acquisitions, patent,
product liability and securities laws. Currently, our ranks include several former Supreme Court clerks and more than 70 former
clerks from federal courts of appeals.


Sustainability & Environmental, Social and
Governance (ESG) Advisory
Companies are increasingly facing pressure to strengthen their organizations’
resilience while simultaneously addressing social and environmental issues of
importance to customers, investors and other stakeholders. With our deep
understanding of ESG regulatory requirements, market trends and industry best
practices, Paul, Weiss is uniquely positioned to help develop and implement ESG
initatives and protect against legal and reputational risks.



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Expertise
Paul, Weiss’s Sustainability and Environmental, Social & Governance (ESG) Advisory Practice actively monitors both domestic
and international ESG-related regulatory developments in order to advise clients on responsive strategies and operations. We
employ rigorous quantitative analysis and sophisticated advocacy to help our clients navigate the obscure and subjective ESG
ratings and disclosure landscape. Our rigorous ESG due diligence approach expands beyond the traditional scope of datarooms
to quality-check and benchmark ESG data to better identify risks and opportunities. Our leading investigation and crisis
management practice goes beyond the triggering event to proactively identify the wide range of possible ESG issues that
may arise.

Breadth of Services
We work in tandem with the firm’s world-class practice groups to counsel public companies, executives and boards in order to
meet the entire breadth of their needs in the ESG ecosystem, including:

–   Reviews of publicly available statements and                   –    Evaluation of ESG liabilities and vulnerabilities in the
    assessments of consistency with internal policies and               M&A context
    practices                                                      –    Pre-litigation/pre-crisis investigations (e.g. in response
–   Reviews of codes of ethics, codes of conduct, and other             to notice letters)
    corporate policies to identify risks and opportunities         –    Drafting of ESG reports and disclosures with
–   Performance and disclosure benchmarking against ESG                 appropriate disclaimers that create ESG opportunities
    standards and industry peers                                        and minimize litigation and reputational risks
–   Integration of ESG polices, practices and reporting into       –    Crafting of internal and external communications to
    corporate governance structure                                      stay ahead of potential PR pitfalls
–   Development of ESG programs and strategies to                  –    Training internal and external company stakeholders
    address emerging legal and reputational risks                       on ESG regulations, trends, best practices, and business
–   Tabletop exercises to pressure test ESG resiliency and              implications
    preparedness


Dedicated Team of ESG-Focused Specialists
Our unique and sophisticated team of high-quality ESG-focused lawyers, data scientists and program managers has experience
implementing, expanding and formalizing ESG initiatives across industries and functions. Our culture ensures unparalleled
collaboration, teamwork and client service.

ESG Market and Regulatory Intelligence
We advise industry leaders in the marketplace. Our clients benefit from our broad network of diverse relationships and ESG
market intelligence, which provides unrivaled data about evolving trends and market dynamics. We are in regular discussions
with the leadership of ratings agencies, trade associations and standards organizations for deeper understanding of their
frameworks and strategic imperatives. We actively engage with regulators to help inform and shape the ESG regulatory
landscape.




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                                 WILLIAM A. ISAACSON                                               PRACTICES
                                 Partner
                                 Tel: +1-202-223-7313                                              Litigation
                                 Fax: +1-202-379-4937                                              Antitrust
                                 wisaacson@paulweiss.com
                                                                                                   International Arbitration




                                 Washington, DC
                                 2001 K Street, NW
                                 Washington, DC 20006-1047




Bill Isaacson, a partner in the Litigation Department, is widely considered                        EDUCATION
one of the most preeminent litigators of his generation. A Fellow of the                           J.D., University of Virginia
American College of Trial Lawyers, Bill was named a “Litigator of the Year” in                     School of Law
2016 and a “Litigator of the Week” three times by The American Lawyer.                             Margaret G. Hyde Award;
Chambers has called Bill a “celebrated trial lawyer” who is “highly                                Order of the Coif
recommended for his work in complex class actions.”                                                B.A., University of Redlands

                                                                                                   CLERKSHIP
Bill has successfully represented both plaintiffs and defendants in major
antitrust litigations; of the approximately dozen federal antitrust class actions                  Hon. Harrison L. Winter,
that have gone to trial and judgment in this century, he has tried five of them,                   U.S. Court of Appeals: Fourth
winning verdicts in each case. Global Competition Review has noted that                            Circuit

“arguably no antitrust lawyer in recent memory has had as much success for
both plaintiffs and defendants as Bill Isaacson.” Lawdragon writes that it is
“nearly impossible to find a more reliable antitrust litigator than Isaacson,
who has successfully handled several of the most high-profile cases in the past
two decades.”

EXPERIENCE

Bill's achievements include:

         winning a defense jury verdict as trial counsel for a leading technology company in the
         portable music industry in a high-profile antitrust class action seeking $1 billion;

         winning a $50 million verdict—later increased to $124 million in a judgment—as trial
         counsel in a three-and-a-half week jury trial in the District of Nevada for plaintiff
         Oracle against Rimini Street for copyright infringement;

         obtaining a historic judgment for college athletes in O’Bannon v. NCAA finding the
         NCAA in violation of the antitrust laws and ordering injunctive relief for NCAA
         athletes permitting the sharing of name, image and likeness monies. The Wall Street
         Journal wrote that Isaacson’s cross-examination of the President of the NCAA “laid

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         out, one by one” the “deeply embedded contradictions and occasional bits of outright
         absurdity” of the NCAA positions;

         representing the Ultimate Fighting Championship in defense of an antitrust class
         action being pursued by a group of mixed martial artists;

         winning a $162 million judgment, and $33 million for settling defendants, as trial
         counsel in the first antitrust action against Chinese companies for cartel conduct
         relating to products sold in the United States;

         achieving $220 million and $430 million in settlements, respectively, as co-lead
         counsel in antitrust class actions, In re: Municipal Derivatives Antitrust Litigation
         and In re: Polyurethane Foam Antitrust Litigation;

         winning summary judgment reversing a tentative decision for the defendant as
         counsel to plaintiff, comedian Garry Shandling, against Shandling’s former manager
         for breach of fiduciary duty, prompting Variety to declare that "Shandling Claims Get
         New Life in a Stunning Reversal”;

         winning a $261 million judgment, affirmed on appeal, in proceedings in the Southern
         District of Texas and the Fifth Circuit Court of Appeals to enforce an international
         arbitration award under the New York Convention;

         winning a $148.5 million jury verdict in an international price-fixing conspiracy and
         market-allocation case, Animal Science Products v. Mitsui & Co., in federal court in
         Washington, D.C.;

         winning a $34.5 million jury verdict in an antitrust case, In re Scrap Metal Antitrust
         Litigation.

AWARDS & RECOGNITIONS

Bill has achieved numerous industry awards over the years. Bill is among only 31 lawyers to be
named in the Lawdragon 500 each of the last 10 years; Law360 has twice named Bill a
“Competition MVP” and also has named him as a “Titan of the Plaintiff Bar.” Global
Competition Review has named him a “Litigator of the Week.” He is also recognized by The
Legal 500 as a “Hall of Fame Lawyer” in the Antitrust: Civil Litigation/Class Actions: Plaintiff
category, a “Leading Lawyer” in the Trial Lawyers category, and is recommended in the
Antitrust: Civil Litigation/Class Actions: Defense category. In college, he was a finalist at the
1982 National Debate Tournament.


Bill has spoken and presented regularly at legal conferences, including NYU Law School’s
conference on Antitrust and 21st Century Bigness, the ABA’s American Judicial Law Institute
for Antitrust (sponsored by University of California at Berkeley and the University of Chicago),
the American Antitrust Institute, the Sedona Conference, and MLEX Advisory Board, as well as
conducted mock trials for the Spring and Fall ABA Antitrust Conferences and the ABA
Economics Institute for Judges at George Mason University.




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Bill is a member and former Chair of the Board for Legal Counsel for the Elderly. In 2015, the
group recognized him with its individual Award for Sustained Excellence and Outstanding
Commitment. His pro bono work was featured in articles in the Washington Post in 2010 and
2017.




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About Zuckerman Spaeder LLP

"high-performance litigation"
-The Washington Post

Zuckerman Spaeder enjoys a reputation as one of the nation’s premier litigation firms, comprised of 80-
plus attorneys in four offices stretching from New York to Florida. We have earned this reputation by
successfully managing high stakes litigation disputes for over four decades. We are known for our trial
skill and for our ability to work effectively outside the courtroom to advance our clients’ positions with
prosecutors, regulators, and opposing counsel. Our lawyers routinely handle high-profile cases in class
actions, white-collar defense, government investigations, complex commercial disputes, health care
litigation, professional ethics disputes, and a range of other matters. We pursue cutting edge legal
theories and find creative solutions to complex legal problems. When the stakes are highest, clients
count on Zuckerman Spaeder.


"At the forefront of some of the most important legal battles of the
day"
-The National Law Journal


Trial-ready advocates
At our core, we are a tight-knit partnership of inspired and experienced trial lawyers. We regularly try
cases throughout the country in matters that capture headlines, change industries, and advance the
cause of justice for our individual clients. Year after year, more partners at our boutique firm receive
national and local recognition for our legal work than law firms many times our size. Over a third of our
lawyers have served in government positions as prosecutors, public defenders, regulators or
government officials presiding over important policy issues, which gives us valuable insight and
experience in trial tactics, criminal investigations, and regulatory matters.



Recent Recognitions
      2021 Best Law Firms, U.S. News & World Report
      2021 The Best Lawyers in America
      2020 D.C. Litigation Department of the Year, The National Law Journal
      2020 Benefits Group of the Year, Law360




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   2020 Health Group of the Year, Law360
   2020 White Collar Group of the Year, Law360
   2020 Chambers USA: America’s Leading Lawyers for Business




                                                        ABOUT ZUCKERM AN SPAEDER LLP | 2
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Cy Smith
Partner

Cy Smith has three decades of trial experience and is a Fellow of the
American College of Trial Lawyers. He primarily represents plaintiffs and
defendants in large, complex civil litigation in diverse industries such as
financial services and healthcare. In 2017, The National Law Journal
recognized Cy as a “trailblazer,” and more recently, the Delaware
Court of Chancery called his work “an exemplar of exactly how
                                                                              Baltimore
entrepreneurial plaintiffs’ contingent fee litigation ought to work,”
                                                                              410.949.1145
adding that his representation should be used to “instruct law students”      410.659.0436 (fax)
on how to practice.                                                           csmith@zuckerman.com

In 2020 and 2021, The New York Times and ABC covered Cy’s                     Practice Focus
representation of Black former NFL players who contend that                   Business Litigation
payments under the national class action concussion settlement have           White Collar Defense
                                                                              Employment Law and Litigation
been systematically tilted against Black players, using evaluations that
                                                                              False Claims Act
discriminate expressly on the basis of race.                                  Investigations
                                                                              Legal Profession & Ethics
Cy’s work for football retirees began in 2005 when he helped the family       Plaintiffs & Class Action
of the late Pittsburgh Steelers great Mike Webster win a multimillion-        Litigation
dollar judgment in retroactive benefits and other relief from the Bert        Securities & Commodities
Bell/Pete Rozelle NFL Player Retirement Plan.
                                                                              Education
                                                                              University of Virginia School of
The case was the first-ever win against the NFL pension plans, and
                                                                              Law, J.D., 1986
paved the way for today’s public, litigation, and legislative scrutiny of       Robert E. Goldstein Award
pro and amateur sports’ concussion crisis. Cy testified before the U.S.
House Judiciary Committee and has appeared in diverse media to                Dartmouth College, B.A., 1981
discuss pro football and concussions.                                           Sigurd Larmon Scholar
                                                                                Rufus Choate Scholar
As examples of Cy’s diverse practice, he currently represents a state           Longwood Cup
                                                                                Brooks Cup
university system as a defendant in a decade-long dispute related to
                                                                                Chase Peace Prize
the state’s historically black colleges, resulting in a seven-week trial        Ranked first nationally for
addressing a proposal for a multi-billion-dollar restructuring of that            intercollegiate debate,
system. He simultaneously has served as court-appointed lead                      1980-1981
counsel, class counsel, or steering committee member in a wide
variety of plaintiffs’-side class action and derivative proceedings.          Languages
                                                                              French
In other high-stakes cases, Cy represented the son of real estate
mogul and corporate raider Victor Posner in a multimillion-dollar
settlement in one of the largest will contests in U.S. history. More




                                                                                         CY SM ITH | 1
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recently, Cy represented an accountant in the Manila office of a global construction firm, who was
kidnapped and tortured after the employer refused either to pay his ransom or permit his family to do
so.

Outside the office, Cy is active in community affairs. 2019 marked the completion under his leadership
of a $13 million capital campaign for Beth Am Synagogue, located in Baltimore’s historic Reservoir Hill
neighborhood, where Cy earlier served as President. That campaign, Beth Am’s first, secured a multi-
million-dollar endowment for the congregation and funded a complete renovation of the synagogue’s
century-old structure.


Professional Leadership
      Fellow, American College of Trial Lawyers, 2017-present
      Member and President (2006-2007), Board of Governors, Federal Bar Association, Maryland
       Chapter
      Member, Criminal Justice Act Panel, U.S. District Court, District of Maryland, 1991-2008


Community Involvement
      President (2011-2013) and Member (2005-2020), Board of Trustees, Beth Am Synagogue; Co-
       Chair, Capital Campaign, 2013-2020
      Member and Vice Chair, Board of Directors, Baltimore Urban Debate League, 2004-2011
      Member and Chairman (2003-2004), Lawyers’ Campaign for the College Bound Foundation
      President, Gil Sandler Fund, Inc., 2008-present


Bar Admissions
      Maryland
      District of Columbia


Court Admissions
      U.S. Supreme Court
      U.S. Court of Appeals, Fourth Circuit
      U.S. Court of Appeals, Fifth Circuit
      U.S. Court of Appeals, Ninth Circuit
      U.S. District Court, District of Maryland
      U.S. District Court, District of Columbia
      U.S. District Court, Eastern District of Virginia




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     U.S. District Court, Western District of Virginia


Representative Matters
     Represented a class of investors suing their Delaware LLC’s managers for breach of fiduciary
      duty after the managers sold the LLC’s assets (consisting of “viaticated” life insurance policies)
      to themselves for a fraction of their value. The Delaware Chancery Court called the multi-
      million-dollar settlement “an exemplar” of effective litigation for Cy’s clients.
     Represented shareholders suing derivatively on behalf of Sinclair Broadcasting Group, who
      allege that the controlling shareholders in this public company engaged in sweetheart deals
      which doomed Sinclair’s proposed merger with Tribune Broadcasting. The court-approved
      settlement captured nearly $25 million for Sinclair and its shareholders – almost $5 million from
      a Sinclair insider – and enacted far-reaching changes in the company’s corporate governance.
     Represented a class of nursing home residents challenging Maryland’s refusal to provide
      deductions for Medicaid recipients’ pre-eligibility medical expenses for long-term care. The
      settlement—one of the two largest settlements or judgments ever against the state of
      Maryland—paid up to $16 million for the benefit of the class and bring the state into compliance
      with federal law.
     Represented a class of consumer borrowers alleging that their title insurance transactions were
      steered by kickbacks paid by a national title insurer in violation of the federal RESPA statute.
      After ten years of litigation – including three denials of class cert., two trips to the Ninth Circuit,
      and one near-death experience in the Supreme Court – Cy forged a settlement in which the title
      insurer consented to an injunction forbidding the payment of the challenged kickbacks, and
      gave certified class members twice what they had paid the defendant for title insurance.
     Represented the estate of ex-Pittsburgh Steelers great Mike Webster in the first-ever win
      against the National Football League’s (NFL’s) pension plan, proving that Mike had been
      crippled by multiple concussions from his NFL career. His win led to testimony before Congress
      and paved the way for today’s media, public, legislative and litigation scrutiny of pro football’s
      concussion crisis.
     Represented an accountant who was kidnapped, tortured, and held for ransom in the
      Philippines; his employer had refused both to pay the ransom demanded and to tell his family so
      that they could secure his release. The case settled on confidential terms after we won back-to-
      back victories in the U.S. Court of Appeals for the District of Columbia Circuit—and unearthed a
      video of our client’s imprisonment and torture.
     Served as counsel for the shareholder plaintiff in a case against the directors, senior officers,
      and accountants of a bank, resulting in a $10 million-plus settlement because of the bank's
      enormous losses from unsecured loans to an unscrupulous mobile-home retailer.
     Represented plaintiffs who won enforcement of a highly favorable pension plan amendment,
      defeating claims that it was the product of a federal labor racketeering conspiracy and resulting
      in one of the largest ERISA judgments ever in the U.S. Court of Appeals for the Fourth Circuit.




                                                                                         CY SM ITH | 3
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Recognitions
     Chambers USA: America’s Leading Lawyers for Business, Litigation: General Commercial
      (Maryland)
     2017 “Trailblazer,” The National Law Journal
     2009 Leadership in Law Award, The Daily Record
     AV® Peer Review Rated, Martindale-Hubbell
     Benchmark Litigation, Local Litigation Star (Maryland)
     The Best Lawyers in America, Commercial Litigation, Health Care Law, Legal Malpractice
      Law—Plaintiffs, ERISA Litigation
     Super Lawyers (Maryland), 2007; 2010-present




                                                                                CY SM ITH | 4
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                                 Cooper & Kirk
                                                 Lawyers
                                   A Professional Limited Liability Company
                                1523 New Hampshire Avenue, N.W.
                                     Washington, D.C. 20036
                          Telephone (202) 220-9600—Facsimile (202) 220-9601

        Cooper & Kirk, PLLC is a litigation boutique specializing in complex commercial,
regulatory, and constitutional disputes in both federal and state courts. Since its founding almost
25 years ago, Cooper & Kirk has successfully represented major American corporations and
government bodies in many of the most significant trials and appeals in the country, often against
the nation’s largest and most sophisticated law firms. The firm’s partners have also represented
many well-known public figures in a variety of disputes and controversies, including two former
United States Attorneys General, five United States Senators, and a former National Security
Advisor to the President. Prior to the firm’s founding, several of the firm’s partners worked
together at a major D.C. law firm where they also had significant trial and appellate experience.
With extensive experience and expertise in constitutional, commercial, antitrust, administrative,
and intellectual property law, the firm is thus uniquely suited to represent clients in complex, high-
stakes litigation.

        The key to our success is our people. Five of our 18 attorneys (and several more of our
recent alumni) have clerked for Justices of the United States Supreme Court, and three of our
associates will be clerking for Supreme Court Justices next term. Fifteen of our lawyers have
clerked for Judges of the federal courts of appeals. Many of the firm’s former members have gone
on to distinguished careers in public service, and include two United States Senators, two federal
court judges, two Associate Attorneys General of the United States, and a Solicitor General of the
United States.

        A number of our attorneys also have experience serving in senior federal and state
government positions. The firm’s chairman, Charles J. Cooper, served in the Department of
Justice, both as the Assistant Attorney General for the Office of Legal Counsel during the Reagan
Administration (1985–1988) and as the Principal Deputy Assistant Attorney General in the Civil
Rights Division (1981–1985). Mr. Cooper has consistently been named one of Washington’s most
prominent litigators by a variety of publications and organizations. One of our partners, Adam P.
Laxalt, recently served as Attorney General of the State of Nevada. Another, Peter A. Patterson,
joined the firm after serving in the White House Counsel’s Office as Associate Counsel to the
President.

         As the engagements listed below reflect, the firm has successfully litigated nationally
prominent cases that touch on a broad array of subject matters and raise a wide range of legal
issues. We first briefly describe our experience in the fields most directly relevant to the BCBS
litigation—antitrust and class actions—and then list a sampling of our more notable litigation
successes.
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       ANTITRUST

             Cooper & Kirk has an active antitrust practice. In addition to the BCBS Antitrust Litigation,
       representative engagements include:

         •    The State of Texas et al. v. Google, LLC (E.D. Tex. 2020).
              We represent the State of Montana in this action against Google for its monopolization of
              the online advertising technology marketplace.

         •    Novell, Inc. v. Microsoft Corporation (4th Cir. 2011).
              We represented Novell in a multi-billion dollar antitrust lawsuit against Microsoft. Novell
              alleged that Microsoft had engaged in anticompetitive behavior which prevented its
              WordPerfect and Quattro Pro software from being compatible with Windows 95 and thus
              inflicted billions of dollars of harm on Novell. We appealed the district court’s dismissal of
              the suit, and the Fourth Circuit reversed.

         •    Spectrum Stores, Inc. v. Citgo Petroleum Corporation (5th Cir. 2011).
              We represented United States gasoline retailers in a suit against Venezuela’s subsidiaries
              alleging that they conspired with Organization of Petroleum Exporting Countries (OPEC)
              member nations to fix prices of crude oil and refined petroleum products in the United States.

         •    Jung v. Association of American College of Medicine (D.C. Cir. 2004).
              We represented a putative nationwide class of medical residents who sued their employers
              for setting salaries at below market wages. The district court agreed that the National
              Residency Match Program, which assigns residents to a specific hospital, violated the
              Sherman Act. Congress then amended the antitrust laws and sanctioned the Match Program.
              The district court did not allow plaintiffs to amend the complaint to press price fixing claims.

         •    F. Hoffman-LaRoche, Ltd. v. Empagran S.A. (U.S. Sup. Ct. 2004).
              We filed an amicus brief in support of foreign victims of a cartel of vitamin producers. Our
              brief demonstrated that the exercise of American jurisdiction over such a controversy was
              fully consistent with the Department of Justice’s historical position on this issue.

         •    Advisory Practice.
              We have been retained to provide in-depth analysis of potential antitrust liability in a variety
              of contexts. These engagements have included full-scale briefing and argument before retired
              federal judges in assessing the strength of potential claims.




2   Cooper & Kirk Firm Resume                                                            www.cooperkirk.com
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      CLASS ACTIONS
        •    Bernstein v. Virgin America, Inc. (9th Cir. 2021).
             We represent a class of flight attendants in a suit against their employer, Virgin America, for
             failing to comply with several requirements of California labor law. Virgin opposed class
             certification and defended, in part, based on constitutional theories of preemption, choice of
             law, and the dormant commerce clause. The district court certified the class, rejected these
             defenses, and entered a $80 million judgment against Virgin. We were retained to assist in
             defending this judgment on appeal, and we successfully persuaded the Ninth Circuit to
             uphold class certification, apply California law, and reject Virgin’s preemption and dormant
             commerce clause arguments.

        •    Rodriguez v. Pan American Health Org. (D.D.C. 2020), appeal pending (D.C. Cir.).
             The firm represents a putative class of Cuban doctors in a damages action under the Traffic
             Victim Protection Act, alleging that the Pan American Health Organization participated in
             and profited from Cuba’s forced labor program for doctors trafficked to Brazil. The district
             court rejected PAHO’s claim of immunity from liability under the TVPA.

        •    In re U.S. Office of Personnel Management Data Security Breach Litig. (D.C. Cir. 2019).
             We represent the victims of the 2013 and 2014 breaches of OPM’s data network, a
             catastrophic network security failure that exposed the private information of more than 21
             million federal workers. We sued the Government and its contractor on behalf of a putative
             class of injured federal workers, alleging claims under the Privacy Act and other laws. The
             district court dismissed the suit for lack of standing and failure to state a claim. On appeal,
             we presented argument on behalf of the plaintiffs in consolidated cases in the D.C. Circuit
             and obtained a reversal of the district court’s dismissal. This case is pending on remand in
             the district court.

        •    St. Luke’s Health Network, Inc. v. Lancaster General Hospital (E.D. Pa. 2018).
             We represent a class of hospitals seeking to recover millions of dollars of payments from a
             state fund established to reimburse hospitals for a portion of the costs incurred to provide
             charity care to Pennsylvania’s sickest uninsured patients. We allege that the class members
             were improperly underpaid because other hospitals inflated their qualifying expenses to
             recover a larger portion of the limited fund available to cover charity care. This case is
             pending in district court.

        •    Pieper v. United Health Group Inc. (D. Minn. 2017).
             We represented plaintiffs in a putative class action asserting various state law claims arising
             from the alleged failure of the defendant insurance companies to authorize certain treatments
             for hepatitis C. The putative class was estimated to include more than 1,000 individuals. The
             plaintiffs successfully settled and dismissed their claims.




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        •    St. Bernard Parish Gov’t v. United States (Ct. Fed. Claims 2015).
             We represented a class of plaintiffs in both liability and damages trials before the United
             States Court of Federal Claims, arguing that the U.S. Army Corps of Engineers’ Mississippi
             River–Gulf Outlet project greatly exacerbated flooding in New Orleans during Hurricane
             Katrina, and thereby effected a temporary taking of plaintiffs’ properties for which
             compensation was required under the Fifth Amendment to the United States Constitution.

        •    Jung v. Association of American College of Medicine (D.C. Cir. 2004).
             See above for a description of this antitrust class action.

        •    Clark v. United States (Ct. Fed. Claims 2001).
             We represented a putative class of National Guardsmen who were improperly denied
             compensation for correspondence courses they were required to complete. The Court of
             Federal Claims dismissed the case, but the Federal Circuit reversed and reinstated the claims.

        •    Bolin v. Sears, Roebuck & Co. (5th Cir. 2000).
             We represented a group of plaintiffs in a class action against Sears, challenging Sears’
             bankruptcy collection procedures as contrary to numerous federal laws. After a remand from
             the Fifth Circuit, the case settled.

      NOTABLE LITIGATION VICTORIES
           We have won scores of significant victories for our clients in a wide range of cases. Some of
      our more notable litigation successes include the following:

        •    Collins v. Mnuchin (5th Cir. 2019) (U.S. Sup. Ct. 2021).
             We represent shareholders of Fannie Mae and Freddie Mac in a suit challenging the
             “Net Worth Sweep,” the Government’s decision in 2012 to expropriate the companies’ net
             worth in perpetuity, thereby nationalizing the companies and destroying the equity interests
             of their private shareholders. After the district court ruled for the Government, we appealed
             and obtained a reversal from the en banc Fifth Circuit. The court ruled that Federal Housing
             Finance Agency’s structure is unconstitutional and that the district court wrongly dismissed
             our claim that the Net Worth Sweep exceeded the FHFA’s statutory authority. Both we and
             the Government successfully sought Supreme Court review of aspects of the Fifth Circuits
             decision. We argued the case before the Supreme Court and are awaiting a decision.

        •    Immigrant Legal Resources Center v. City of McFarland (9th Cir. 2020).
             We successfully appealed a preliminary injunction that barred our client, a government
             contractor, from accepting immigration detainees to the facility it owned and operated
             pursuant to a contract with the Federal Government.




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         •    Jones v. Governor of Florida (11th Cir. 2020).
              We successfully represented the Governor and the Secretary of State of Florida in an appeal
              of a district court order striking down a Florida law requiring felons to complete all terms of
              their sentences before having their voting rights restored. The Eleventh Circuit took the
              extraordinary action of granting our petition for initial hearing en banc, and it reversed the
              district court’s decision in advance of the November 2020 election.

         •    Boeing Co. v. United States (Fed. Cir. 2020).
              We successfully appealed the dismissal of Boeing’s challenge to the application of a Cost
              Accounting Standard to the calculation of payments due under cost-based government
              contracts. The case, which is currently on remand in the Court of Federal Claims, could
              reverse tens of millions of dollars in expense payments for Boeing and other affected
              government contractors.

         •    United States v. Bolton (D.D.C. 2020).
              We successfully defeated an attempt by the United States Department of Justice to enjoin the
              publication of the memoir written by Ambassador John Bolton, the former National Security
              Advisor to former President Donald Trump.

         •    Shell Oil Co. v. United States (Fed. Cl. 2020), appeal pending (Fed. Cir.).
              We obtained a $1.6 million award on summary judgment for the Federal Government’s
              breach of its contractual obligation to indemnify four major oil companies for environmental
              response costs arising from the production of aviation fuel for the Government during World
              War II. If upheld on appeal, the judgment will likely open the way for our client oil
              companies to recover an addition $50–60 million.

         •    North Carolina State Conference of the NAACP v. Raymond (4th Cir. 2020).
              We represent leaders of the North Carolina General Assembly in defending the
              constitutionality of North Carolina’s voter ID law. We convinced the Fourth Circuit to allow
              our clients to intervene in an appeal of a district court order preliminarily enjoining the law,
              and the Fourth Circuit reversed the district court. We also represent the legislative leaders in
              parallel state court litigation.

         •    TennCare Litigation (1996–Present).
              In a series of a lengthy district court trials and appeals to the Sixth Circuit in several different
              cases, we successfully represented Tennessee’s efforts to reform its Medicaid system. As a
              result of these victories, the state has saved billions of dollars.

         •    North Carolina Election Cases.
              We successfully represented leaders of the North Carolina General Assembly in several cases
              attacking various aspects of North Carolina election law in the lead up to the November 2020
              election. The courts refused to grant most of the relief sought by the plaintiffs in these cases.



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         •    In re Kemp (8th Cir. 2018).
              We represented an Arkansas Supreme Court justice who, along with her colleagues, was
              sued by a state trial judge for allegedly violating his First Amendment rights by permanently
              forbidding him from presiding over death penalty cases. The District Court denied our
              motion to dismiss, and we successfully obtained a writ of mandamus from the Eighth Circuit
              ordering the dismissal of the case.

         •    Democratic Senatorial Campaign Committee, et al. v. Michael Ertel, in his official
              capacity as Florida Secretary of State, et al. (N.D. Fla. 2018).
              On behalf of the National Republican Senatorial Committee and Florida Senator Rick Scott,
              we successfully defended challenges to several Florida election regulations that create
              standards for election canvassing boards to attempt to determine voter intent when the voter
              has not properly filled out their ballot. As a result of these victories, Florida’s Elections
              Canvassing Commission certified Senator Scott as the winner of the state’s 2018 Senate race.

         •    Reyes v. Sessions (D.D.C. 2018).
              We represented a client who had previously been convicted of white-collar securities
              offenses, and we argued that the offenses fell into a statutory exemption from federal laws
              that forbid felons from possessing firearms. The District Court agreed with our argument,
              and the Government chose not to appeal.

         •    Susquehanna Int’l Grp., LLP v. SEC (D.C. Cir. 2017).
              We represented petitioners challenging the SEC’s approval of the Options Clearing
              Corporation’s capitalization plan pursuant to the APA. The U.S. Court of Appeals for the
              D.C. Circuit held that the SEC abused its discretion, and on remand, the SEC vacated its
              order and disapproved the rule.

         •    Grace v. District of Columbia (D.C. Cir. 2017).
              We represented a resident of the District of Columbia and the Pink Pistols, an LGBT firearm
              rights group, in a Second Amendment challenge to the District of Columbia’s firearm
              carriage laws. We successfully urged the District Court to enter a preliminary injunction
              against the District’s carriage laws. On appeal, the D.C. Circuit affirmed the lower court’s
              ruling and converted its order into a permanent injunction striking down the District’s law.

         •    Shell Oil Company, et al. v. United States (Fed. Cir. 2017).
              We represented Shell, Unocal, Atlantic Richfield Co., and Chevron-Texaco in a major
              contract dispute with the United States government. Our clients sought compensation for
              environmental remediation costs they incurred as a result of their performance of World War
              II contracts for the federal government. In 2017, the Court of Federal Claims awarded our
              clients $99.5 million in damages, and in July 2018, the Federal Circuit unanimously affirmed.




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        •    Berger v. HHS (E.D.N.C. 2017).
             We represented members of the North Carolina state legislature and successfully obtained a
             temporary restraining order preventing expansion of the state’s Medicaid program.
             Following entry of the TRO, expansion efforts were abandoned, saving the State hundreds
             of millions of dollars.

        •    Howell v. McAuliffe (Va. Sup. Ct. 2016).
             We successfully represented six voters, including the Speaker of the Virginia House of
             Delegates and the Majority Leader of the Virginia Senate, in a challenge to the Governor of
             Virginia’s en masse restoration of certain civil rights, including the right to vote, to convicted
             felons. After expedited briefing and oral argument, the Supreme Court of Virginia ruled that
             the text and history of Virginia’s clemency power prohibited the Governor from restoring
             civil rights en masse.

        •    Shank v. Health Care Services, Inc. (N.D. Ill. 2016).
             We represented a class of individuals afflicted with hepatitis C whose healthcare insurer
             denied them access to a miracle cure for their disease. We obtained a settlement seeking to
             facilitate the ability of every member of the class to access this cure.

        •    SpaceX v. United States (Ct. Fed. Claims 2014).
             We successfully represented the United Launch Alliance (a joint venture of Boeing and
             Lockheed) in defending against SpaceX’s bid protest challenging the award and execution
             of a five-year contract with the Air Force, valued at $11 billion, for the launch of 28 national
             security satellites. The case involved a voluminous, and extraordinarily complex, classified
             administrative record. SpaceX ultimately agreed to a settlement under terms that honored all
             of the Air Force’s contractual obligations to ULA.

        •    Advance America, Cash Advance Centers v. FDIC (D.D.C. 2014).
             We represented small-dollar lenders in a suit challenging the legality of the federal
             government’s “Operation Choke Point,” a policy under which the banking regulatory
             agencies placed improper coercive regulatory pressure on financial institutions to terminate
             the accounts of lawful businesses, including small dollar lenders. The government abandoned
             the program and settled the case following the close of discovery.

        •    Shepard v. Madigan (7th Cir. 2012).
             We represented a resident of Illinois in her challenge to that state’s ban on the carriage of a
             firearm outside the home. The Seventh Circuit held that the law was unconstitutional.

        •    Gen. Dynamics Corp. v. United States (U.S. Sup. Ct. 2011).
             We represented Boeing in a dispute with the Department of Defense over the government’s
             default termination of a $4.8 billion contract to build the carrier-based A-12 stealth attack
             plane for the Navy. We successfully persuaded the Supreme Court to throw out a ruling
             sustaining the default termination that could have forced Boeing and General Dynamics to
             pay nearly $3 billion to the Government.

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        •    AmBase. v. United States (Ct. Fed. Claims 2011).
             We represented AmBase Corporation in a claim against the United States. The case arose
             out a governmental breach of contract that caused AmBase to lose its entire property interest
             in its wholly owned subsidiary, Carteret Bancorp. After a two-month trial, the Court of
             Federal Claims awarded $205 million, and the case subsequently settled for $180 million.

        •    Boeing v. United States (GAO 2008).
             We represented Boeing in a successful challenge to the Department of Defense’s $40 billion
             award of a contract to replace the United States’ aging fleet of aerial refueling tankers to a
             competing bidder. On rebid, Boeing won the contract.

        •    The Duke Lacrosse Case (M.D.N.C. 2008).
             We brought this case against Duke University and the City of Durham on behalf of 38
             members of the 2006 lacrosse team, who had been falsely accused of participation in a rape.
             After Duke’s motion to dismiss had been denied and extensive discovery had been taken
             over the course of over three years, the case settled on confidential terms.

        •    216 Jamaica Ave., LLC v. S & R Playhouse Realty Co. (6th Cir. 2008).
             We successfully represented a commercial property owner in a landmark case involving the
             enforcement of gold clauses in long-term commercial leases. Gold clauses were a common
             feature of early twentieth century contacts and allowed landlords to index rental payments to
             the value of gold. The Sixth Circuit held that transfer of a lessee’s interest constituted a
             novation and revived the gold clause from the original lease contract. After this favorable
             ruling from the Sixth Circuit, the case settled.

        •    American Capital v. United States (Ct. Fed. Claims 2005).
             After a three-week trial involving significant expert testimony, we won a $109 million
             verdict against the United States. The case involved complex damages issues relating to the
             cost of performance of a contract that the government breached. The United States Court of
             Appeals subsequently affirmed the liability judgment and upheld a damages award of more
             than $40 million.

        •    Citizens Federal v. United States (Ct. Fed. Claims 2005).
             After a two-week trial involving significant expert testimony, we won an $18 million verdict
             against the United States. The case involved quantification of mitigation costs resulting from
             the government’s breach of contract.

        •    Rossello, et al. v. Calderon, et al. (1st Cir. 2004).
             We successfully represented the Governor-Elect of Puerto Rico in a recount dispute in
             connection with the 2004 elections. The opposing candidate for governor challenged the
             validity of several thousand ballots. After a three-week trial and appeal, our client prevailed
             and served as the Commonwealth’s governor.




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         •    Ford Motor Company v. United States (Fed. Cir. 2004).
              We successfully represented Ford Motor Company in a breach of contract suit against the
              United States arising from a World War II contract for the manufacture of B-24 Liberation
              Bombers. Ford sought to recover the environmental cleanup costs it had incurred in
              connection with Ford’s performance of the cost-plus-a-fixed-fee contract. After a favorable
              ruling from the Federal Circuit Court of Appeals, the case settled.

         •    United States ex rel. Thompson v. Columbia Healthcare, Inc., et al. (D.D.C. 2003).
              We represented a relator and who secured a settlement of $225 million from Columbia HCA
              for falsely seeking and obtaining Medicare reimbursements. Of the total settlement, our
              client received $47 million.

         •    City of New York v. Clinton (U.S. Sup. Ct. 1998).
              We represented New York City and several health care providers and associations in their
              challenge to the constitutionality of the Line Item Veto Act. The Supreme Court held that
              the Act violated the Presentment Clause of the Constitution and reinstated the appropriation
              that was worth approximately $2.1 billion.

         •    United States v. Winstar Corporation (U.S. Sup. Ct. 1996).
              We represented the Winstar Corporation and the Statesman Savings Holding Corporation in
              claims against the United States for breach of its contractual obligations to our clients arising
              out of their acquisition of failed savings and loan institutions from government regulators.
              We represented these clients in the Court of Federal Claims (where the United States was
              found liable), in the Federal Circuit (affirming the findings of liability after rehearing the
              case en banc), and in the Supreme Court. The Supreme Court upheld the findings of liability
              and remanded the cases for determination of damages by the lower court.




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                                           OUR PROFESSIONALS

              The following attorneys (one of whom, Howard C. Nielson, Jr., has since been appointed
      to the federal bench) have devoted significant time and energy to the firm’s representation of the
      Subscriber Class in the BCBS Antitrust Litigation. Additional information about the firm’s
      professionals can be found on the firm’s website (www.cooperkirk.com).

      PARTNERS

              CHARLES J. COOPER is a founding member and the chairman of Cooper & Kirk,
      PLLC, “one of the Nation’s leading litigation boutiques” (Above The Law 2017). With over 40
      years of legal experience in government service and private practice, he has argued eight cases
      before the United States Supreme Court and dozens of appeals before each of the 13 federal courts
      of appeals and several state supreme courts. He has been lead trial counsel in numerous complex,
      weeks-long trials in federal courts throughout the country. Named by the National Law Journal as
      one of the 10 best litigators in Washington D.C., Mr. Cooper’s work has been reported in numerous
      press accounts, and he has been called a “powerhouse attorney” (Fortune 2015), “a hard-nosed
      litigator” (Washington Post 2017), and “one of the country’s most in-demand civil litigators and a
      Washington legal institution unto himself” (The American Spectator 2014). He is a member of the
      Alabama, Georgia, and District of Columbia bars, as well as the bars of the U.S. Supreme Court,
      all 13 federal circuit courts of appeals, and many federal district courts.

               After graduating from the University of Alabama School of Law in 1977, where he ranked
      first in his class and served as Editor-in-Chief of the Alabama Law Review, Mr. Cooper began his
      career as a law clerk to Judge Paul Roney on the Fifth Circuit Court of Appeals and to Justice
      William H. Rehnquist in 1978–79. He then practiced law in Atlanta for two years before joining
      the Civil Rights Division of the U.S. Department of Justice, where he served as the Deputy
      Assistant Attorney General in charge of, among other things, appellate matters. In 1985 President
      Reagan appointed him to the position of Assistant Attorney General for the Office of Legal
      Counsel, which is the office responsible for providing legal opinions and advice to the White
      House, the Attorney General, and Executive Branch departments and agencies on issues covering
      the full spectrum of federal constitutional, statutory, and regulatory law.

            In 1988 he returned to private practice as a litigation partner in the Washington, D.C. office
      of McGuireWoods. From 1990 until the founding of Cooper & Kirk in 1996, he was a partner at
      Shaw Pittman (now Pillsbury Winthrop Shaw Pittman), where he headed the firm’s Constitutional
      and Government Litigation Group.

              Mr. Cooper has represented a wide range of public and private clients in highly complex
      constitutional, civil rights, antitrust, healthcare, banking, intellectual property, elections, campaign
      finance, administrative, commercial, and government contract cases. He has led trial teams in cases
      that have won judgments and settlements valued in the billions of dollars and that have established
      ground-breaking constitutional precedents.

              Much of Mr. Cooper’s practice has involved representing high-profile clients in nationally
      prominent matters, including: 38 members of the Duke Lacrosse team falsely accused of rape by
      officials of Duke University and the City of Durham; government officials such as Attorney

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       General John Ashcroft, Attorney General Jeff Sessions, and Ambassador John Bolton; several
       Governors and United States Senators; over 100 Members of Congress; and many state, territorial,
       and local government bodies and officials. He has also represented and advised government
       officials and public figures in connection with sensitive private issues that needed to be, and were,
       resolved without becoming matters of public record.

               In 1998 Chief Justice Rehnquist appointed Mr. Cooper to the Standing Committee on Rules
       of Practice and Procedure of the Judicial Conference of the United States, where he served for
       seven years. He also served as a Public Member, appointed by President George H.W. Bush, of
       the National Commission on Judicial Discipline and Removal. He is a member of numerous
       professional associations, including the American Law Institute (since 1993) and the American
       Academy of Appellate Lawyers (since 1996). He is also an active member of the Federalist Society
       and the Republican National Lawyers Association, which in 2010 named him Republican Lawyer
       of the Year and in 2016 honored him with its Edwin Meese III Award.

               Mr. Cooper has published scores of articles and spoken extensively on constitutional and
       legal policy topics. He has appeared before congressional committees on 24 occasions, testifying
       as an expert on a wide variety of legal issues, including the Chevron doctrine of judicial deference
       to administrative agencies, the diversity of citizenship jurisdiction of federal courts, statehood bills
       for Puerto Rico and the District of Columbia, and the impeachment of President Clinton.

               Mr. Cooper has served as lead trial and/or appellate counsel in many of the firm’s cases in
       the following practice areas:

       Administrative Law
       Antitrust and Unfair Trade Practices
       Banking and Financial Institutions
       Class Actions
       Commercial
       Constitutional Litigation
           Separation of Powers
           Federalism
           First Amendment (Free Speech and Religion Clauses)
           Second Amendment
           Fifth Amendment (Due Process and Takings Clauses)
           Ninth Amendment
           Tenth Amendment
           Eleventh Amendment
           Fourteenth Amendment
           Twenty-Fourth Amendment
       Contract Disputes
       Copyrights
       Election Law/Campaign Finance
       False Claims Act/Qui Tam
       Government Contracts
       Health Care
       Intellectual Property

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       National Security
       Patents
       State and Local Government Representation
       Telecommunications


       Education

       J.D., University of Alabama School of Law in 1977 (first in class; editor-in-chief, Alabama Law
       Review)
       B.S., University of Alabama School of Business Administration in 1974 (with honors)


       Clerkships

       1978–1979: Justice William H. Rehnquist, United States Supreme Court
       1977–1978: Judge Paul Roney, United States Court of Appeals for the Fifth Circuit


       Bar Admissions

       District of Columbia
       Alabama
       Georgia


               MICHAEL W. KIRK has extensive civil litigation experience representing a wide range
       of clients on a variety of constitutional, statutory, contractual, commercial and tort matters.

               Mr. Kirk has appeared regularly in cases brought against the federal government. He is
       currently representing subsidiaries of Chevron Corporation in a suit in the Court of Federal Claims
       asserting that the United States must indemnify them for tens of millions of dollars environmental
       cleanup costs incurred at three different Oil Refineries. He is also currently representing The
       Boeing Company in a suit in the Court of Federal Claims challenging the application of a cost
       accounting regulation that costs Government contractors hundreds of millions of dollars in
       equitable adjustments imposed by Federal contracting officers. Mr. Kirk successfully represented
       Shell Oil Company, Atlantic Richfield, Union Oil Company, and Texaco in a lawsuit against the
       Federal Government seeking to recover environmental clean-up expenses arising from World War
       II contracts to provide aviation fuel. Following trial, the Court of Federal Claims awarded the Oil
       Companies $99.5 million, and the United States Court of Appeals for the Federal Circuit affirmed
       the judgment in toto. Mr. Kirk represented Ford Motor Company in a similar lawsuit against the
       Federal government arising from a World War II contract to build B-24 Bombers. While the Court
       of Federal Claims initially dismissed Ford’s suit, Mr. Kirk persuaded the United States Court of
       Appeals for the Federal Circuit to reverse and remand with instructions that judgment be entered
       in favor of Ford. And Mr. Kirk served as lead trial counsel for American Capital Corporation in a
       lawsuit against the United States for breach of contract arising from an agreement entered by the
       Government in an effort to address the savings and loan crisis of the 1980s. Following trial, the

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       Court of Federal Claims awarded plaintiffs $109 million, and the United States Court of Appeals
       affirmed the liability judgment and upheld a damages award of more than $40 million.

              Mr. Kirk is also currently representing The GEO Group, Inc. in lawsuits challenging
       California and Washington state statutes that purport to prohibit contracts with the Federal
       Government to operate federal detention facilities that will generate over $2.7 billion in revenue
       for GEO.

                Mr. Kirk has also represented state and local governments in numerous complex
       constitutional and statutory cases involving such varied issues as Medicaid, school desegregation,
       and prison reform. He has successfully represented the State of Tennessee in several cases
       involving its Medicaid program, saving the State hundreds of millions of dollars in annual
       expenditures by convincing the federal courts to vacate onerous injunctive decrees that had
       crippled the State’s efforts to reform its program. He has successfully represented public school
       districts in Marion County, Florida; Baton Rouge, Louisiana; Rockford, Illinois; and Oklahoma
       City, Oklahoma in their efforts to obtain unitary status and end long-running school desegregation
       cases. In the civil rights arena, Mr. Kirk served as lead trial counsel on behalf of a plaintiff in
       securing the largest verdict ever returned against a suburban Maryland police department.

               Mr. Kirk has an extensive appellate practice, and he has argued cases before the United
       States Courts of Appeals for the District of Columbia, Federal, Third, Sixth, Seventh, and Ninth
       Circuits.

              Mr. Kirk served as law clerk to Judge James L. Ryan of the United States Court of Appeals
       for the Sixth Circuit. He received his J.D. degree, cum laude, in 1988 from Northwestern
       University. He served as Executive Editor of The Journal of Criminal Law and Criminology, and
       is a member of the Order of the Coif. He earned an A.B. degree, cum laude, from Georgetown
       University in 1985.

               Mr. Kirk is a member of the Bars of the State of New York, the District of Columbia, the
       United States Supreme Court, the United States Courts of Appeals for the First, Third, Fourth,
       Fifth, Sixth, Seventh, Ninth, Eleventh, District of Columbia and Federal Circuits, the United States
       District Court for the District of Columbia, and the United States Court of Federal Claims.

               VINCENT J. COLATRIANO has extensive civil litigation experience representing a
       wide range of clients before a number of administrative agencies and federal and state trial and
       appellate courts on a variety of constitutional, statutory, administrative, contractual, tort,
       intellectual property, and commercial matters.

               Mr. Colatriano has appeared regularly in cases brought against the federal government. He
       has represented numerous financial institutions and other companies in so-called “Winstar” cases
       against the United States. Mr. Colatriano has helped the plaintiffs in those cases recover hundreds
       of millions of dollars in damages. Mr. Colatriano served as one of the trial counsel for AmBase
       Corporation and its subsidiary Carteret Bancorp in a Winstar lawsuit against the United States for
       breach of contract arising from an agreement entered by the Government in an effort to address
       the savings and loan crisis of the 1980s. Following trial, the U.S. Court of Federal Claims awarded


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      the plaintiffs more than $200 million in damages. Mr. Colatriano has also successfully represented
      other companies in government contract cases against the United States.

             Mr. Colatriano has also represented property owners in litigation brought against the
      United States under the Fifth Amendment’s “takings” clause, which prohibits the taking by the
      government of property for a public use without the payment of just compensation.

              Mr. Colatriano has also represented plaintiffs in litigation, before both the U.S. Court of
      Federal Claims and the U.S. Court of Appeals for the Federal Circuit, seeking compensation from
      the federal government as a result of the Government’s unauthorized use of inventions covered by
      valid patents. He has also helped to analyze whether provisions of federal patent reform legislation
      run afoul of various provisions of the United States constitution.

              Mr. Colatriano has also represented state governments in numerous constitutional,
      statutory, administrative law, and commercial matters involving such complex issues as the
      disposal of nuclear waste, compliance with oil and gas leases, and the commerce clause. For
      example, Mr. Colatriano participated in the representation of the State of Alabama in proceedings
      before the Supreme Court of Alabama in a matter involving fraud and breach of contract claims
      arising out of oil and gas leases entered by the State. This representation raised numerous complex
      issues involving such matters as the law of fraud, the proper construction of royalty clauses in oil
      and gas leases, and the constitutionality of punitive damages awards. Mr. Colatriano also
      represented the State of Nevada in complex litigation concerning the federal government’s
      proposal to dispose of nuclear waste at a facility at Yucca Mountain in Nevada; that matter
      involved numerous complex questions concerning constitutional, statutory, and administrative law
      issues.

             Mr. Colatriano also has extensive experience representing clients in proceedings before
      administrative agencies and has worked on cases before such agencies as the U.S. Nuclear
      Regulatory Commission (in matters involving the Atomic Energy Act and the Nuclear Waste
      Policy Act) and the U.S. Department of Agriculture (in matters involving the Animal Welfare Act).

             Mr. Colatriano was awarded his B.A. degree in Political Science, summa cum laude, from
      George Washington University in 1987, and was elected to Phi Beta Kappa. In 1990, he received
      his J.D. degree from the National Law Center, George Washington University, with highest
      honors. He was a member of the George Washington Law Review, the Phi Delta Phi International
      Legal Fraternity, and the Order of the Coif. Mr. Colatriano is a member of the Bars of the State of
      Maryland and the District of Columbia.

              HOWARD C. NIELSON, JR. (FORMER PARTNER) was elevated to the federal bench
      in October 2019, and now serves as a Judge on the United States District Court for the District of
      Utah. Judge Nielson brought extensive litigation, government, and academic experience to the
      field of constitutional law to his practice of law at Cooper & Kirk. He litigated numerous cases in
      a variety of other areas, including government contracts, antitrust, and administrative law. He
      played a leading role in drafting the Subscriber Plaintiffs’ summary judgment briefing on the
      applicable standard of review.



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       Before joining Cooper and Kirk, Mr. Nielson served from 2001 to 2005 at the U.S. Department of
       Justice. From 2001 to 2003 he was Counsel to the Attorney General, in which capacity he advised
       the Attorney General on a variety of legal matters and supervised high-profile litigation relating to
       national security and other departmental priorities. In 2003 he was appointed Deputy Assistant
       Attorney General for the Office of Legal Counsel, which provides legal opinions and informal
       advice to the White House, the Attorney General, and Executive Branch Departments and
       Agencies on issues covering the full spectrum of international, constitutional, statutory, and
       regulatory law. Mr. Nielson served in this capacity for two years, during which time his work
       involved a broad range of issues relating to national security and other areas of constitutional,
       statutory, and international law.

               Prior to his work at the Justice Department, Mr. Nielson practiced law from 1999 to 2001
       as an associate in the Issues and Appeals Practice Group at Jones, Day, Reavis & Pogue (now
       Jones Day) in Washington, D.C. He worked on a variety of litigation and other matters, especially
       in the areas of constitutional and employment law. Before that time, he served as a law clerk to
       Judge J. Michael Luttig of the United States Court of Appeals for the Fourth Circuit, and to Justice
       Anthony M. Kennedy. Mr. Nielson graduated from the University of Chicago Law School in 1997,
       where he served as articles editor on the University of Chicago Law Review, was a Mombusho
       Scholar at Kobe University Graduate School of Law from 1992 to 1994, and received his B.A.
       from Brigham Young University in 1990.

                BRIAN W. BARNES has litigated high-stakes cases at all levels of the federal court
       system and has also argued numerous cases in state trial and appellate courts. He was the principal
       author of the briefs for the petitioners in Collins v Mnuchin, a multi-billion-dollar administrative
       law case challenging the nationalization of Fannie Mae and Freddie Mac, which is currently
       pending in the United States Supreme Court. In related litigation, Mr. Barnes deposed several of
       the current and former senior executives for Fannie Mae and Freddie Mac, including both
       companies’ former CEOs. Mr. Barnes also played a central role representing shareholders in
       disputes over the scope of the government’s discovery obligations in the Fannie Mae/Freddie Mac
       litigation, successfully persuading the Court of Federal Claims to order the government to show
       plaintiffs’ counsel most of the documents the government attempted to withhold under the
       deliberative process and bank examination privileges.

                Mr. Barnes also has extensive experience representing plaintiffs in suits filed under the
       Racketeer Influenced and Corrupt Organizations Act (“RICO”). He briefed and argued St. Luke’s
       Health Network v. Lancaster General Hospital, 967 F.3d 295 (3d Cir. 2020), in which the Third
       Circuit reversed dismissal of RICO claims filed as part of a putative class action against a hospital
       that allegedly defrauded a Pennsylvania program that subsidizes care for indigent patients. Mr.
       Barnes also helped pioneer the use of RICO to sue state-legalized marijuana businesses: he filed
       the first such case, successfully argued the case on appeal after it was dismissed, and later helped
       try the case to a jury on remand. See Safe Streets Alliance v. Hickenlooper, 859 F.3d 865 (10th
       Cir. 2017).

              Mr. Barnes has also worked on a wide range of other matters. He has briefed and argued
       cases concerning state preemption of local gun regulations in the trial and intermediate appellate
       courts of Illinois and Pennsylvania. In litigation over the Department of Education’s Title IX

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      regulations, Mr. Barnes represents intervenors who are defending the regulations. And he has an
      active practice advising institutional investors on the probable outcomes of market-moving
      litigation in both state and federal courts.

             Mr. Barnes clerked for Justice Samuel Alito during the Supreme Court’s 2012 Term and
      was previously a law clerk to Judge Thomas Griffith of the D.C. Circuit. He is a graduate of Yale
      Law School, where he was an Articles Editor for the Yale Law Journal and a member of the Yale
      Supreme Court Clinic. Mr. Barnes received his B.A. from Yale College and is a member of the
      Colorado and District of Columbia bars.

               HALEY N. PROCTOR has focused on complex commercial litigation and
      constitutional and administrative law. She has authored briefs at all levels of state and federal
      courts and has argued cases in state and federal appellate courts. She is currently representing
      the largest equity investor in a billion-dollar real estate development project in New York City
      in an effort to recover its investment after a wrongful foreclosure. Ms. Proctor also represents a
      putative class of medical doctors from Cuba, who were trafficked to Brazil and granted asylum
      in the United States. She developed a successful due process challenge to Operation Choke Point,
      a program by the Department of Justice and federal banking regulators to pressure financial
      institutions to deny short-term lenders access to the banking system. Ms. Proctor rejoined Cooper
      & Kirk in 2015 after clerking for Justice Clarence Thomas of the United States Supreme Court
      during the October 2014 term. She previously clerked for Judge Thomas B. Griffith of the United
      States Court of Appeals for the D.C. Circuit. She graduated from Yale Law School in 2012 and
      from Yale College, magna cum laude, in 2009. In law school, she was a semifinalist in the Morris
      Tyler Moot Court Competition. Ms. Proctor is a member of the bars of the Commonwealth of
      Virginia, the State of Oklahoma, and the District of Columbia.


      OF COUNSEL

              HAROLD SMITH REEVES focuses on complex litigation in the fields of administrative
      law, class action litigation, antitrust, and constitutional law. Mr. Reeves was a member of the
      Cooper and Kirk team that represented the United Launch Alliance in its successful defense of a
      $26 billion launch services contract with the Department of Defense against a bid protest by
      SpaceX. He was part of the team that represented a group of small-dollar, short term lenders in
      their challenge to Operation Choke Point, the effort by the Department of Justice and federal
      banking regulators to deny them access to the national banking system. Mr. Reeves also
      represented market participants in the securities industry in a successful APA challenge to the
      SEC’s approval of the recapitalization plan of the Options Clearing Corporation.

              After clerking for Judge Douglas H. Ginsburg on the United States Court of Appeals for
      the District of Columbia Circuit, he worked in the Washington, D.C. office of Mayer, Brown, and
      Platt, and then with Skadden, Arps, Slate, Meagher, and Flom. While at Skadden, he worked on a
      variety of white-collar criminal defense, administrative law, and constitutional law matters,
      including the suit brought by the heirs of Abraham Zapruder to obtain just compensation for the
      Government’s Taking of the Zapruder Film of the Kennedy Assassination that resulted in a $17
      million award for the family, and the defense of President Clinton in the Paula Jones litigation.


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              Mr. Reeves graduated summa cum laude, from Princeton University, where he was
      salutatorian of the Class of 1991. He received his J.D., with honors, from The University of
      Chicago Law School in 1996. While at Chicago, he served as articles editor on the Law Review
      and published on the economic analysis of virtual property rights and Internet boundary definition.
      In addition to his J.D., Mr. Reeves has advanced degrees in Philosophy (PhL, Catholic University
      of America), Theology (STB, Pontificia Università di S. Tomasso d’Aquino), and Classics (M.A.,
      PhD, University of Virginia). His doctoral dissertation was on the use of the traditional portrait of
      the tyrant in Roman imperial political biography.

      ASSOCIATE

               DAVIS COOPER has represented clients in high stakes litigation in a range of areas,
      including constitutional law, takings, antitrust, and government contracts. He also has an active
      practice representing injured individuals in single-event, pharmaceutical, and medical device
      cases. Mr. Cooper has earned the accolades of his peers, clients, and courts, including seven top
      trial lawyer and six top 40 under 40 awards. In 2016, Florida Governor Rick Scott appointed Mr.
      Cooper to Florida’s 20th Circuit Judicial Nominating Commission. Mr. Cooper served in that role
      until July 2019, when Florida Governor Ron DeSantis appointed him to the Second District Court
      of Appeal Judicial Nominating Commission. He received his undergraduate degree and law degree
      from the University of Alabama. Mr. Cooper is a member of the Florida and District of Columbia
      bars.




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About Greg Davis Law

Greg Davis Law, located in Montgomery, Alabama, represents individual and business clients in
securities, antitrust, consumer litigation and other complex litigation cases in federal and state
courts throughout the United States and has achieved numerous successful outcomes.


Greg L. Davis

Greg attended the University of Alabama (B.A. 1983) with a major in Anthropology and
attended Cumberland School of Law in Birmingham, Alabama (J.D. 1988). He began his legal
carrier as a law clerk for the Honorable J. Gorman Houston, Jr. at the Alabama Supreme Court.

Greg has spent his entire carrier working on a variety of complex litigation cases.


Representative Matters

   •   Represented a Hispanic construction worker’s estate after he lost his life on a worksite
       when the scaffold, he was working on fell, causing him to fall 37 feet to his death. A
       weeklong trial resulted in a 3.2 million-dollar jury verdict awarded to his widow and two
       young sons.

   •   Represented an individual against a large national pharmacy after they had miss-filled
       and overdosed her on a high-powered prescription steroid. After more than a 7-day trial
       the jury awarded the individual 2.5 million.

   •   Represented an individual in a defamation case obtaining 5-million-dollar jury verdict.

   •   Represented a trucking company for misrepresentations made about the manufacturer’s
       assembly processes and obtained a 1.4 million dollar jury verdict.

   •   Represented investors who were defrauded in a Ponzi scheme, resulting in a 4.5 million-
       dollar verdict.

   •   Represented a class of consumers in a false advertising case against Nutella for
       representing that their product was a healthy and nutritious breakfast. Settlement
       achieved.

   •   Represented a class of financial institutions whose debit and credit card holder’s personal
       and financial information was compromised as a result of a data breach which occurred
       as a direct result of Mapco Service Station having failed to take appropriate security
       measures to protect customer data within its computer network.
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   •   Represented a class of financial institutions whose credit and debit card holders personal
       and financial information were compromised in a breach of Target Corporation’s
       database. In re Target Corporation Data Security Litigation MDL No. 2522 (D. Minn.)
       A $59 million settlement achieved involving data breach of personal and financial
       information of approximately 110 million credit and debit cardholders.

   •   Represented a number of individuals in a mass tort action filed against a vitamin
       manufacturer and the mixing company who mistakenly added over a thousand times the
       ingredient amount of selenium to the formula during the manufacturing process, causing
       those who took the vitamin/supplement to lose all of their hair overnight. In re Total
       Body Litigation.



Court Admissions
U. S. Supreme Court.
U.S. Court of Appeals, Eleventh Circuit
U.S. District Court Middle District of Alabama
U.S. District Court Northern District of Alabama
U.S. District Court Southern District of Alabama
Admitted to Practice in All State Courts in Alabama


Personal
Greg is married to Heather Coleman Davis and they enjoy spending time with their five children.
Greg is an avid outdoorsman with a lifelong love of hunting and fishing, a purple martin buff, a
gardener, a muscle car enthusiast, an Alabama Crimson Tide football fan, and he loves to build
things.

Contact Information
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Montgomery, Alabama 36117
(334) 832-9080
gldavis@gregdavislaw.com
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About Us
Foote, Mielke, Chavez & O’Neil, LLC (FMCO) is a highly regarded boutique
complex civil litigation law firm with a large national footprint. Founding partners
Kathleen Chavez and Robert Foote pride themselves on having established one of
the most recognized and innovative complex litigation law firms in the United                    $20+ Billion
States. FMCO has offices in Geneva, Chicago, and Washington D.C. FMCO’s                         for our Clients
attorneys offer a diverse array of skills, knowledge, determination, compassion,            Including from: judgments, verdicts,
                                                                                            mediations, arbitrations,
curiosity, experience, and creativity. In our complex practice, we routinely provide        administrative proceedings, and
legal representation to governments, individuals, employees, trusts, unions, and            settlements

corporations. Our lawyers have impressive academic credentials, as well as
                                                                                            Practice Areas
decades of experience in national, multi-district, class, collective, and complex
civil litigation.                                                                           •       Complex Civil Litigation
Innovative Approach                                                                         •       Class, Collective and Mass Tort
                                                                                            •       Antitrust/Competition
FMCO offers its clients a unique and unconventional approach to litigation. We              •       Unfair Trade Practices
believe that tough problems are solved through innovative approaches, flexibility,          •       Contract Law
                                                                                            •       Consumer Fraud
collaboration and the hard work and concentrated efforts of a committed team of             •       Technology and Internet Law
lawyers. We work closely with our clients to achieve successful outcomes, from              •       RICO
                                                                                            •       Environmental Law
record-setting recoveries to important changes in policies and practices. Our               •       Qui Tam (whistleblower claims)
attorneys understand that achieving optimal outcomes often requires flexibility,            •       Intellectual Property Law
                                                                                            •       Employment Law
“out-of-the-box” thinking, and innovative approaches to litigation and dispute              •       Civil Rights
resolution efforts.                                                                         •       Insurance Law
                                                                                            •       FINRA Arbitrations
FMCO Cases                                                                                  •       Equal Employment Opportunity
                                                                                                    (“EEOC”) charges
FMCO seeks out the kinds of cases many lawyers run away from — interesting                  •       Illinois Department of Human
cases that offer us a chance to get creative, think deeply, challenge unclear or                    Rights (“IDHR”) charges.

inconsistent precedent, shape the direction of our state and federal law, and achieve       Reputation for Excellence
transformative justice. We are not afraid of, or opposed to, forging the path; to the
contrary, we pride ourselves on being innovators and leaders. FMCO is committed             Numerous recognitions, distinctions,

to exceptional advocacy and relentlessly pursuing justice, in the most challenging          and inclusion in selective and peer-

scenarios. Transformative litigation is often high risk, requiring years of hard            reviewed organizations, such as
                                                                                            Super Lawyers®, Leading Lawyers®
work, substantial financial expenditures, and a tireless commitment to obtaining
justice for your clients. FMCO understands what it takes to achieve success and
is willing to spend the resources necessary to achieve record-setting results in cases
involving novel, emerging and complex legal issues.
                                                                                                www. FMCOLAW.com



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                                   KATHLEEN C. CHAVEZ


                                       KCC@FMCOLAW.COM         (630)232-7450              WWW.FMCOLAW.COM


                                   PROFESSIONAL EXPERIENCE

                                                                                            Education & Training
                                Ms. Chavez is nationally recognized as a
                                                                                            Northwestern University
                                highly skilled trial attorney who has extensive             School of Law
                                experience in all aspects of complex civil                  J.D., 1998
                                litigation. She has spent her career advocating
                                                                                            Northern Illinois University
                                for the rights of plaintiffs, including infants,            B.S., Finance, 1995
children, individuals, employees, and governmental entities, who have been
injured or suffered loss due to fraud, deception, unfair competition,                       Duke Law, Bolch Judicial
                                                                                            Institute, Mass Tort MDL
discrimination, harassment, illegal pay practices, environmental                            Certification and Advanced
contamination, breach of contract, defective products, automobile accidents                 Mass Tort MDL Certification
and a host of other injustices.
                                                                                            Licenses & Admissions
 •   Class, Collective, and                 Her practice is focused on complex
     Complex Civil Cases
                                    civil cases (including class, multi-plaintiff,          State Bar of Illinois
 •   Competition/Antitrust          mass tort and individual) involving
                                                                                            State Bar of California
 •   Consumer Fraud                 competition, consumer fraud, unfair trade
 •   Unfair Trade Practices
                                    practices,     environmental,      technology,          District of Columbia Bar
                                    trademark, qui tam, civil rights, breach of
 •   Environmental                  contract, Racketeering Influenced and                   United States Federal Court of
                                                                                            Claims
 •   Technology/Intellectual        Corrupt Organizations Act (“RICO”),
 •   Wage and Hour                  employment, wage and hour, insurance and                United States Court of
                                    other state and federal statutory and common            Appeals for the 7th Circuit
 •   Insurance
 •    Property
                                    law claims. Ms. Chavez is actively involved
                                                                                            United States District Court
                                    in all aspects of her cases and has extensive           for the Northern District of
 •   Employment Law                 experience in every stage of litigation, such           Illinois
 •   Civil Rights                   as: initial case investigation, preparing
                                                                                            Trial Bar for the United States
 •   Contract Law                   pleadings, legal research, crafting strategies,         District Court for the
                                    discovery, e-discovery, document review,                Northern District of Illinois
 •   Racketeering Influenced
     and Corrupt Organizations      motion practice, witness preparation,
                                    depositions, trial (including class action,             United States District Court
     Act (RICO)                                                                             for the Central District of
                                    multi-plaintiff, collective, federal, state, and
 •   EEOC and IDHR Charges                                                                  Illinois
                                    administrative),           appeals           and
                                    mediation/settlements.                                  United States District Court
                                                                                            for the Southern District of
                                                                                            Illinois
Ms. Chavez is a member of the American Bar Association (“ABA”), the
Chicago Bar Association (“CBA”), the Federal Bar Association (“FBA”), the


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National Employment Lawyers Association (“NELA”) and the Kane County Bar Association
(“KCBA”) and the Women’s Bar Association of Illinois (“WBAI”). Ms. Chavez’s has received
numerous recognitions and distinctions, and inclusion in selective and peer-reviewed
organizations, such as: Super Lawyers®, Leading Lawyers®; Top 25 Women National Women
Trial Lawyers; Top 100 National Trial Lawyers; Top 20 Illinois Verdicts; Leading Women
Lawyers; Top Employment Lawyers for Employees, Chicago Lawyer Magazine; Top 10 % of
Lawyers in the USA; Lawyers of Distinction Board of Directors; Top Women Lawyers, Chicago
Lawyer Magazine; Esteemed Lawyers of America® and Lawyers of Distinction; Illinois 16th and
18th Judicial Circuit Arbitrator; certification as an American Arbitration Association (“AAA”)
Employment Panel Arbitrator; and Illinois State Bar Association 40 Hour Mediation Certification.
Ms. Chavez is a frequent lecturer at conferences, symposiums, and other continuing legal
education (CLE) programs.

CASES

Ms. Chavez frequently serves in leadership roles, on leadership committees, and as a team member
in some of the most challenging and transformative complex civil litigation nationwide. Ms.
Chavez has utilized her diverse experience and unique background to consistently provide
invaluable contributions in cases that require the cooperation and collaboration of multiple
plaintiffs’ counsel. Whether as a leader or a team member, Ms. Chavez consistently offers an
unparalleled level of advocacy, energy, enthusiasm, and commitment to her clients. Recoveries
from the cases in which she has been involved (including verdicts, judgments, and settlements)
exceed $15 billion dollars and involve a diverse range of complex civil claims, for example:

In Re Blue Cross Blue Shield Antitrust Litigation, MDL 2406: Plaintiff’s Steering Committee
(PSC) member in nationwide class action by subscribers alleging antitrust/competition claims.

In Re Testosterone Replacement Therapy Products Liability Litigation, MDL 2545: Plaintiff’s
Steering Committee (PSC) member in nationwide mass tort action involving pharmaceuticals.

Tipsword v. I.F.D.A. Services, Inc., et al., served as co-Lead counsel for the consumer class in
resolving a $58 million dollar claim, before Judge G. Patrick Murphy of the Southern District of
Illinois, for damages occasioned by the collapse of the Illinois Funeral Directors Association Pre-
Need Trust.

Annoereno, et al., v. Claire’s Stores, Inc., 14-cv-07744: Lead counsel for nationwide collective
and class action alleging Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and similar state wage
and overtime laws.

In Re Jimmy John’s Overtime Litigation, 14-cv-05509: leadership counsel in nationwide collective
and class action alleging Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and similar state wage
and overtime laws, as well as claims challenging the validity of non-competition agreements. The
case drew significant attention because the non-competition agreements were expansive in scope,
geography, and were unfairly restricting entry-level employees’ ability to seek alternative



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employment. Illinois and other states successfully challenged and resolved the non-compete claims
of thousands of workers.
LaFleur v. Dollar Tree Stores, Inc., 12-cv-00363, in the United States District Court for the
Eastern District of Virginia: co-Lead Counsel in nationwide collective and class action alleging
Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and similar state wage and overtime laws.

Havlish v. bin Laden, Docket No. 03-MDL- 1570 (S.D. NY): counsel for surviving families of those
killed in the 9/11 attacks on the World Trade Centers. Plaintiffs obtained a $6 billion dollar
judgment. The Court found the Islamic Republic of Iran, its Supreme Leader Ayatollah Ali
Hosseini Khameni, the former Iranian President Ali Akbar Hashemi Rafsanjani, and other Iran
Agencies and instrumentalities all materially aided and supported al Qaeda before and after 9/11.

In Nash et al v. CVS Corporation, in the United States District Court for the District of Rhode
Island served as Co-Lead Settlement Counsel on behalf of current and former assistant managers
and assistant store managers claiming they were not properly paid overtime because they were
misclassified by the company as “exempt” from federal and state overtime pay requirements. The
case was brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and similar state
wage and overtime laws. The case was settled, and the defendant agreed to pay up to $34 million
into a fund for class member claims.

In Re Managed Care Litigation, MDL 1344: before Judge Frederico Moreno of the Southern
District of Florida, counsel for nationwide class of physicians and medical associations alleging
civil conspiracy in violation of RICO, brought against nine of the largest managed care companies
in the United States.

Westgate Ford Truck Sales v. Ford Motor Company, Docket No. 02-CV-483526 (Ohio Cir. Ct.):
served as a member of the trial team that resulted in a $2 billion dollar judgment on behalf of class
of dealers who purchased medium duty of heavy-duty trucks from the defendant. The case was
tried as a breach of contract action alleging a systematic breach of the dealers Sales and Service
Agreements which required Ford to sell products to every dealer using prices, charges and
discounts that are published in advance. The class alleged that Ford breached the agreement
through the operation of a pricing program known as the Competitive Price Assistance Program.
The judgment was reversed.

Barnes v. Canadian National Railway Company, et al.: served as co- Lead Class Counsel in the
Northern District of Illinois and recovered $3 million and important nonmonetary relief (i.e.,
training, monitoring, reporting, etc.) on behalf of a class of African American railroad workers
subjected to racial discrimination in the workplace. The complaint maintained the defendants’
conduct was unlawful under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e et seq., and the Civil Rights Act of 1866, as amended, 42 U.S.C. § 1981 & § 1981(A).

In Re Insurance Brokerage Antitrust Litigation, MDL 1663: served as counsel to a class of
plaintiff policyholders who alleged the insurance brokerage firms and companies conspired with
one another to allocate customers and markets resulting in artificially inflated premiums paid by



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policyholders. Plaintiffs brought claims under the RICO Act, 18 U.S.C. § 1962(c) and (d), Section
1 of the Sherman Act, 15 U.S.C. § 1, and similar state laws.

In Re Lupron Marketing and Sales Practices Litigation, MDL 1430: served as class settlement
counsel in a class action against the manufacturer and marketers of the drug Lupron. The Court
approved a $150 million settlement for patients, insurance companies and health and welfare
benefit plans that purchased the drug. Plaintiffs successfully claimed the defendants engaged in a
scheme to artificially inflate the average wholesale price. Plaintiffs maintained such claims under
RICO 18 U.S.C. § 1962(c) and (d) as well as the consumer protection laws of 34 states.

Amft v. United States Dep’t of Transp., EEOC Case No. 210-2004-00139X: Lead counsel in class
administrative action against the Federal Aviation Administration (FAA) asserting gender -based
Title VII claims.

Bolden v. Walsh Construction Company, Docket No. 06-cv-4104 (N.D. IL): co-Lead counsel in
class action maintaining the defendants’ conduct was unlawful under Title VII of the Civil Rights
Act of 1964, as amended, 42 U.S.C. § 2000e et seq., and the Civil Rights Act of 1866, as amended,
42 U.S.C. § 1981 & § 1981(A).

Byas, et al. v. Union Pacific Railroad, Docket No. 06-CV-475 (S.D. IL): co-Lead Counsel
representing a class of employees asserting race discrimination claims under Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq., and the Civil Rights Act of 1866, as
amended, 42 U.S.C. § 1981 & § 1981(A).

Douglas Powers and Suzan McCarthy, et al., v. U.S. Department of Transportation, Agency,
EEOC Case Nos. 210-2002-6091X: Lead Counsel representing a nationwide class of air traffic
controllers alleging age and gender claims action against the Federal Aviation Administration
(FAA).

Academy of Motion Picture Arts and Sciences v. GoDaddy.com, Inc., Docket No. 10-CV-3738
(C.D. CA), served as co-Lead counsel in intellectual property litigation involving cybersquatting
and infringements.

In Re Google AdWords Litigation, Docket No. 08-CV-03369 (N.D. CA): counsel in nationwide
class action involving internet advertising practices.

Lincoln Adventures, LLC v. Those Certain Underwriters at Lloyd’s London, Docket No. 2:08-cv-
00235-CCC-PS: class counsel in nationwide class action involving insurance brokerage and RICO
claims.

McManus, et al. v Countrywide Financial Corp., et al.: Docket No. 09-CV-1705 (N.D. Ill.): Lead
Counsel in nationwide class and collective action alleging violations of the Fair Labor Standards
Act, 29 U.S.C. § 201, et seq., and similar state wage and overtime laws.




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U.S. Equal Employment Opportunity Commission, et al., v. Gonnella Baking Co., No. 08-CV-5240
(N.D. Ill.); co-Lead counsel with the EEOC on claims alleging violations of Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

UBID, Inc. v. The GoDaddy Group, Inc., and GoDaddy.com, Inc., Docket No. 1:09-CV-02123
(N.D. Ill.): co-Lead Counsel in case involving cybersquatting and intellectual property claims.

Vulcan Golf, LLC, et al. v. Google Inc., Docket No. 07-CV-3371 (N.D. Ill.): co-Lead counsel in
case involving cybersquatting and intellectual property claims.

Municipal and Government Litigation

Representing a group of 24 states against Major Oil Companies in Qui Tam Litigation across the
country, including:

   •   State of Colorado, et al, v. ConocoPhillips Company, Docket No. 12-CV-0451 (CO Cir.
       Ct.)

   •   State of Montana, et al, v. BP plc, et al., Docket No. DDV-2011-193 (MT Cir. Ct.)

   •   State of South Dakota, et al, v. BP plc, et al., Docket No. 10-257(S.D. Cir. Ct.)

DeKalb County, et al. v. Federal Housing Finance Agency, et al, Docket No. 3:12-cv-50227 (N.D.
Ill.)

Ms. Chavez has participated and served as counsel in many complex, class action and MDL
matters, including but not limited to:

Vennett, et al. v. American Intercontinental University, et al., Docket No. 05-CV-4889 (N.D. Ill.)
United States of America ex. rel. Mark Eugene Duxbury et al., v. Ortho Biotech Products, L.P.,
Docket No. 03-CV-12189-RWZ (D. Mass.)
Carter v. Allstate, Docket No. 02 L 717 (Ill. Cir. Ct.)
Dremak, et al. v. Groupon, Inc., Docket No. 11-CH-876 (Ill. Cir. Ct.)
Potts v. United Parcel Service, Inc., Docket No. 07-cv-3949 (N.D. Ill.)
In Re Sears Roebuck & Co. ERISA Litigation, Docket No. 1:02-cv-08324 (N.D. Ill.)
Love, et al. v. Blue Cross and Blue Shield Association, et al., Dkt No.: 03-CV-21296 (S.D. FL)
Whitworth, et al. v. Nationwide Mutual Ins. Co., Dkt No. 00CVH-08-6980 (Oh. Ct. Com. Pl.)
Tipsword v. Merrill Lynch, et al., Docket No. 3:09-CV-00390 (S.D. Ill.)
In Re Air Cargo Shipping Service Antitrust Litigation, MDL 1775
In Re Bayer Corp. Products Litigation, MDL 2023
In Re Comcast Set-Top Box Litigation, MDL 2034
In Re Household Goods Movers Antitrust Litigation, MDL 1865
In Re Insurance Brokerage Antitrust Litigation, MDL 1663
In Re Lupron Marketing and Sales Practices Litigation, MDL 1430
In Re Managed Care Litigation, MDL 1334


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In Re Neurontin Marketing and Sales Practices Litigation, MDL 1629
In Re OxyContin Antitrust Litigation, MDL 1603
In Re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL 1720
In Re Pharmacy Benefits Manager Antitrust Litigation, MDL 1782
In Re Pre-Filled Propane Tank Litigation, MDL 2086
In Re RC2 Corp. Toy Lead Paint Products Liability Litigation, MDL 1893
In Re Sulzer Hip Prosthesis and Knee Prosthesis Liability Litigation, MDL 1401
In Re Text Messaging Antitrust Litigation, MDL 1997
In Re U.S. Foodservice, Inc., Price Litigation, MDL 1894
In Re Wholesale Grocery Products Antitrust Litigation, MDL 2090
In re TikTok Consumer Privacy Litigation, MDL 2948

PRESENTATIONS & LECTURES

•   Attorney-Client Privilege and the Work Product Doctrine, LawPracticeCLE (January 2021)
•   Advanced Employee Handbook Drafting, LawPracticeCLE (September 2020)
•   Social Media & the Law: Intellectual Property, Employment and the Duty of Professionals,
    LawPracticeCLE (January 2020)
•   Understand and Effectively Maximize Job-Protected Leave Entitlement Under the Family
    Medical Leave Act of 1993, as amended (“FMLA”); LawPracticeCLE (January 2020)
•   When a “Gig” Becomes a “Gaffe”: Protecting Worker Rights in the 21st Century American
    Workplace, Northern Illinois University law Review Symposium, Lyft-ing the Veil on a
    Worker’s Status in the Gig Economy (April 2019)
•   Workplace Changes and Challenges: Hot Topics and Emerging Employment Law Issues;
    LawPracticeCLE (March 2019)
•   Hasta La Vista v. I’ll Be Back: empowering employees to Understand and Effectively Maximize
    Job-Protected Leave Entitlement Under the Family Medical Leave Act of 1993, as amended
    (“FMLA”); LawPracticeCLE (March 2019)
•   Drafting Employee Handbooks: Navigating the Complicated Practicality of the Employee
    Handbook; LawPracticeCLE (December 2018)
•   Keep This Between Us: The Attorney-Client Privilege and Work Product Doctrine;
    LawPracticeCLE (December 2018)
•   A Lawyer’s Guide to the Employee Handbooks; mylawCLE and Wolters Kluwer CLE
    Broadcast (October 2017)
•   HIPAA Law for Lawyers: A Must-Know Guide to New Compliance Requirements; mylawCLE
    and Wolters Kluwer CLE Broadcast (September 2017)
•   Understanding the Basics and Not-So-Basics of the Attorney-Client Privilege and Work
    Product Doctrine; mylawCLE and Wolters Kluwer CLE Broadcast (September 2017)
•   International Trademark Registration: Advantages and Disadvantages of International
    Registration (IR) Through the Madrid Protocol; mylawCLE and Wolters Kluwer CLE
    Broadcast (September 2017)
•   Sexual Harassment and Hostile Work Environments; Kane County Bar Association CLE
    Presentation (May 2017)




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